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                                      Docket No. 16-4040
                                               In the
         United States Court of Appeals
                                               for the

                                   Tenth Circuit
                       THE SCO GROUP, INC., a Delaware corporation,

                                               Plaintiff Counterclaim Defendant-Appellant,

                                                – v. –

               INTERNATIONAL BUSINESS MACHINES CORPORATION,

                                                         Defendant Counterclaimant-Appellee.
                               _____________________________
       Appeal from a Decision of the United States District Court for the District Of Utah, Salt
       Lake City, Case No. 2:03-cv-00294-DN, Honorable David O. Nuffer, U.S. District Judge

                         SEALED APPELLANT’S APPENDIX
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                                      US District Court Electronic Case Filing System
                                                 District of Utah (Central)
                                     CIVIL DOCKET FOR CASE #: 2:03-cv-00294-DN


  SCO Grp, et al v. Inti Bus Mach Inc                                                              Date Filed: 03/25/2003
  Assigned to: Judge David Nuffer                                                                  Jury Demand: Both
  Referred to: Magistrate Judge Paul M. Warner (Settlement)                                        Nature of Suit: 190 Contract: Other
  Demand: $0                                                                                       Jurisdiction: Diversity
  Case in other court: 3rd Dist SL Cnty, 030905199
                      Tenth, 16-04040
  Cause: 28: 1441 Notice of Removal- Contract Dispute
  Plaintiff
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    Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 47
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                                                                                                   (202)237-2727
                                                                                                   TERMINATED: 0911512006
                                                                                                   ATTORNEY TO BE NOTICED

  Counter Claimant
  International Business Machines                                             represented by Alan L. Sullivan
  Corporation                                                                                (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                                   David R. Marriott
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                                                                                                  PRO HAC VICE
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                                                                                                  ATTORNEY TO BE NOTICED


  V.
  Counter Defendant
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  seo Group                                                                   represented by Brent O. Hatch
 formerly known as                                                                           (See above for address)
  Caldera Systems                                                                            LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                                   Mark J. Heise
                                                                                                   (See above for address)
                                                                                                   TERMINATED: 0712212003
                                                                                                   LEAD ATTORNEY

                                                                                                   Aldo Noto
                                                                                                   (See above for address)

                                                                                                   Daniel P. Filor
                                                                                                   (See above for address)
                                                                                                   TERMINATED: 0811612006
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   David Boies
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   David K. Markarian
                                                                                                   (See above for address)

                                                                                                   Devan V. Padmanabhan
                                                                                                   (See above for address)

                                                                                                   Edward J. Normand
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Frederick S. Frei
                                                                                                   (See above for address)

                                                                                                   J. Matthew Donohue
                                                                                                   (See above for address)
                                                                                                   TERMINATED: 0610212006
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   John J. Brogan
                                                                                                   (See above for address)
                                                                                                   TERMINATED: 1211412009
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   John K. Harrop
                                                                                                   (See above for address)

                                                                                                   MarkF James
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Michael Macmanus

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                                                                                                   (See above for address)

                                                                                                   Robert A. Magnanini
                                                                                                   (See above for address)
                                                                                                   PRO HAC VICE
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Robert Silver
                                                                                                   (See above for address)

                                                                                                   Sashi Bach Boruchow
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Stephen Neal Zack
                                                                                                   (See above for address)

                                                                                                   Stuart H. Singer
                                                                                                   (See above for address)
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   David S. Stone
                                                                                                   (See above for address)
                                                                                                   PRO HAC VICE
                                                                                                   ATTORNEY TO BE NOTICED

                                                                                                   Scott E. Gant
                                                                                                   (See above for address)
                                                                                                   TERMINATED: 0911512006
                                                                                                   ATTORNEY TO BE NOTICED
  Movant
  G2 Computer Intelligence                                                    represented by Michael P. O'Brien
  TERMINATED: 03/0112016                                                                     (See above for address)
                                                                                             LEAD ATTORNEY
                                                                                             ATTORNEY TO BE NOTICED

                                                                                                   Andrew H. Stone
                                                                                                   (See above for address)


   Date Filed               #       Docket Text
   03/2512003                   2 DISCLOSURE STATEMENT Under FRCP 7.1 filed by Caldera Sys (tsh) (Entered:
                                    03/26/2003)
  03/25/2003                    1 Notice of Removal assigned to Judge Kimball Receipt no.: 128211 (blk) (Entered:
                                    03/0112004)
   03/26/2003                       Clerk's mailing of certificate of acknowledgment of alternative dispute resolution
                                    option. Mailed or faxed to plaintiff Caldera Sys, defendant Inti Bus Mach Inc (tsh)
                                    (Entered: 03/26/2003)
   03/26/2003                       Memo ofrecusal signed by Judge PGC (tsh) (Entered: 03/27/2003)
   03/26/2003                       Case reassigned to Judge Dale A. Kimball (tsh) (Entered: 03/27/2003)
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   03/27/2003                  3. NTC ofrecusal of Judge Paul G. Cassell and reassignment to Judge Dale A. Kimball.
                                    cc: atty (alt) (Entered: 03/28/2003)
   03/27/2003                  ~    Motion and Order signed by Judge Paul G. Cassell, 03/27/03 Granting motionIPHV for
                                    Attorney Evan R. Chesler, Thomas G. Rafferty on behalf of defendant IntI Bus Mach
                                    Inc cc:attys (tsh) (Entered: 03/28/2003)
  03/27/2003                  ~     Certificate of election filed by plaintiff Caldera Sys Refer to: normal litigation track
                                    (tsh) (Entered: 03/3112003)
   03/3112003                  Q Certificate of election filed by defendant Intl Bus Mach Inc Refer to: normal litigation
                                 track (tsh) (Entered: 04/0112003)
   04/01/2003                 1 Joint motion by Caldera Sys, IntI Bus Mach Inc to extend time to dft to respond to
                                    complaint until 4/20103 (alp) (Entered: 04/03/2003)
   04/02/2003                 .8 Order granting [7-1] joint motion to extend time to dft to respond to complaint until
                                    4120103, answer due set for 5:00 4/20103 for Intl Bus Mach Inc signed by Judge Dale A.
                                    Kimball, 4/2103 cc:atty (alp) (Entered: 04/03/2003)
   04/04/2003                  2 Amended Joint motion by Caldera Sys, IntI Bus Mach Inc to extend time to dft to
                                    respond to complaint to 4/30103 (alp) (Entered: 04/08/2003)
   04/07/2003                10     Order granting [9-1] joint motion to extend time to dft to respond to complaint to
                                    4/30103, answer due set for 5:00 4/30103 for Intl Bus Mach Inc signed by Judge Dale A.
                                    Kimball, 4/4103 cc:atty (alp) (Entered: 04/09/2003)
   04/14/2003                11 Motion and Order signed by Judge Dale A. Kimball, 04114103 Granting motionIPHV
                                    for Attorney Fred O. Goldberg, Leonard K. Samuels on behalf of plaintiff Caldera Sys
                                    cc:attys (tsh) (Entered: 04/16/2003)
   04/25/2003                12 Notice of filing by Intl Bus Mach Inc's counsel re: registration and name change (alp)
                                (Entered: 04/28/2003)
   04/30/2003                13. Answer to Complaint by IntI Bus Mach Inc; jury demand (alp) (Entered: 05/0112003)
   04/30/2003                14 Motion and Order signed by Judge Dale A. Kimball, 4130103 Granting motionIPHV for
                                Attorney Mark J. Heise, Stephen Neal Zack, Debra Weiss Goodstone, David Boies on
                                behalf of plaintiff Caldera Sys cc:attys (asp) (Entered: 05/02/2003)
   05/20/2003                12 Amended Answer to Complaint by IntI Bus Mach Inc: amends [13-1] answer; jury
                                    demand (ce) (Entered: 05/22/2003)
   06113/2003                17     Certificate of service by Intl Bus Mach Inc re: 1st set of Interrogs and req for prod/docs
                                    (alp) (Entered: 06/17/2003)
   06/16/2003                16 Magistrate Notice of Hearing Initial Pretrial Conference set for 9:308113/03 To be held
                                before Judge Nuffer cc:atty (Ntc generated by: Chambers) (alp) (Entered: 06/16/2003)
   0611612003                .lli Motion by Caldera Sys to amend complaint (alp) (Entered: 06117/2003)
   06116/2003                19     Memorandum by Caldera Sys in support of [18-1] motion to amend complaint (alp)
                                    (Entered: 06117/2003)
   06/24/2003                20     Certificate of service by Caldera Sys re: 1st Req for ProdIDocs and 1st set Interrogs
                                    (alp) (Entered: 06/25/2003)
   07/07/2003                21     Memo in Response by IntI Bus Mach Inc to [18-1] motion to amend complaint (ksp)
                                    (Entered: 07/08/2003)
   07/10/2003                22     Order granting [18-1] motion to amend complaint signed by Judge Dale A. Kimball,
https://ecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                               121103
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                                    7/10/03. cc:atty (ce) (Entered: 07/11/2003)
  07/10/2003                 23     Scheduling order. Setting;Joining of parties, amending of pleadings on 10/1/03 ;
                                    Deadline for filing of all motions 11/10/04 ; Discovery cutoff 10/22/04 ; Attorney
                                    Conference by 3/11/05 ; Final Pretrial Conference for 2:30 3/28/05 ; 5 Week Jury Trial
                                    for 8:30 4/11/05. Rule 26(f)(1) cnfheld. Expert witness disclosure dates set. Not
                                    referred to ADR. Discovery limits set. Signed by Judge David Nuffer 7/10/03 cc:atty.
                                    (ksp) (Entered: 07/11/2003)
   07/19/2003                24     REPORT of Attorney Planning Meeting (ksp) (Entered: 07/22/2003)
   07/22/2003                25     Amended complaint by Caldera Sys added party(ies): SCO Grp . jury demand (kpf)
                                    (Entered: 07/23/2003)
   08/04/2003                26     Certificate of service by SCO Grp in re: PIa's responses to dfts first set of interrogatories
                                    and first request for the production of documents (kpf) (Entered: 08/06/2003)
   08/06/2003                27     Answer by IntI Bus Mach Inc to amended complaint; jury demand (tsh) (Entered:
                                    08/07/2003)
   08/06/2003                27     Counterclaim by IntI Bus Mach Inc against SCO Grp (tsh) (Entered: 08/07/2003)
   08/14/2003                28     Certificate of service by IntI Bus Mach Inc in e: IBMS Responses & Objections to
                                    SCO's First Request for the Production of Documents and First Set ofInterrogatories
                                    (kpf) (Entered: 08/18/2003)
   08/25/2003                29     Stipulation by IntI Bus Mach Inc, SCO Grp stip to extend time for pIa to respond to dft
                                    counterclaim -to 9/25/03 (ksp) (Entered: 08/26/2003)
   08/26/2003                30     Order granting [29-1] stipulated motion to extend time for pIa to respond to dft
                                    counterclaim -to 9/25/03 signed by Judge Dale A. Kimball, 8/26/03 cc:atty (ksp)
                                    (Entered: 08/28/2003)
   08/28/2003                31     Return of service executed re: Subpoena served on Canopy Group c/o Ralph Yanno on
                                    8/26/03 (ksp) (Entered: 08/29/2003)
   09/08/2003                32     Stipulation/Motion by IntI Bus Mach Inc, Caldera Sys stipulated to amend [23-1]
                                    Scheduling order (blk) (Entered: 09/09/2003)
   09/08/2003                33     Order granting [32-1] stipulation motion to amend [23-1] Scheduling order signed by
                                    Judge David Nuffer (see order for details) , 09/08/03 cc:atty (blk) (Entered: 09/09/2003)
   09/09/2003                34     Objections by Canopy Grp to dft IBM's subpoena dated 08/26/03 (kvs) (Entered:
                                    09/10/2003)
   09/10/2003                35     Order of Reference signed by DAK 9/9/03, 636(b)(1)(A). Mag Judge to hear &
                                    determine any nondispositive pretrial matters. cc:atty (alt) (Entered: 09/10/2003)
   09/10/2003                       Case referred to magistrate under 28:636(b)(1)(A). (alt) (Entered: 09/10/2003)
   09/15/2003                36     Case referred to Judge Brooke C. Wells cc: atty (blk) (Entered: 09/16/2003)
   09/16/2003                37     Certificate of service re: Second Set of INterrogatories and Second Request for
                                    Production of Docs by IntI Bus Mach Inc (blk) (Entered: 09/17/2003)
   09/16/2003                38     Stipulated Protective Order (see order for details) Signed by Judge Dale A. Kimball
                                    09/16/03 cc: atty (blk) (Entered: 09/18/2003)
   09/22/2003                39 Motion by SCO Grp to extend time to resp to dft IBM's ans to the amd cmp and
                                counterclaim-pIa IBM's cntrclms against SCO to 10/15/03 (Entered: 09/23/2003)
   09/23/2003                40     Order granting [39-1] motion to extend time to resp to dft IBM's ans to the amd cmp
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                               131103
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                                    and counterclaim-pIa IBM's cntrclms against SCO to 10/15/03 signed by Judge Dale A.
                                    Kimball, 9123103 cc:atty (alt) (Entered: 09/24/2003)
   09/25/2003                41     Amended counterclaim by IntI Bus Mach Inc against SCO Grp : amending [27-1]
                                    counter claim (blk) (Entered: 09/26/2003)
   09/26/2003                42     Motion by SCO Grp to extend time until 2/4/04 for pIa to amd pleadings and add parties
                                    (ce) (Entered: 09129/2003)
   09/29/2003                43     Order granting [42-1] motion to extend time until 2/4/04 for pIa to amd pleadings and
                                    add parties signed by Judge Dale A. Kimball, 09129/03 cc:atty (blk) (Entered:
                                    09/30/2003)


   1010112003                44 Motion by IntI Bus Mach Inc to compel Discovery (blk) (Entered: 10103/2003)
   1010112003                45     Memorandum by IntI Bus Mach Inc in support of [44-1] motion to compel Discovery
                                    (blk) (Entered: 10103/2003)
   10/0112003                46     Exhibits filed by defendant IntI Bus Mach Inc RE: [45-1] support memorandum (blk)
                                    (Entered: 10103/2003)
   10103/2003                47     Certificate of service re: pIa's req for admissions by SCO Grp (alt) (Entered:
                                    10106/2003)
   1011012003                48     Certificate of service by IntI Bus Mach Inc re: first supplemental responses and
                                    objections to SCO's first set of interrogatories (kvs) (Entered: 10/14/2003)
   1011412003                49     Motion by SCO Grp to extend time to respond to IBM's Amended Counterclaims
                                    Against SCO (blk) (Entered: 10/15/2003)
   10/15/2003                50     Order granting [49-1] motion to extend time to respond to IBM's Amended
                                    Counterclaims Against SCO signed by Judge Dale A. Kimball, 10115103 cc:atty (blk)
                                    (Entered: 10115/2003)
   10/16/2003                21 Motion by SCO Grp to extend time to respond to dft IBM's second set of interrogatories
                                    and second request for production of documents (blk) (Entered: 10/16/2003)
   10117/2003                52     Motion by SCO Grp to extend time to 10/24/03 for pIa to resp to motlcompel (alt)
                                    (Entered: 10117/2003)
   10/17/2003                53     Memorandum by IntI Bus Mach Inc in opposition to [52-1] motion to extend time to
                                    10/24/03 for pIa to resp to mot/compel (alt) (Entered: 10/17/2003)
   10/20/2003                54     Substitute Motion by SCO Grp to extend time to respond to dft IBM's motion to compel
                                    discovery up to and including 10/24/03 (blk) (Entered: 10/2112003)
   10/23/2003                55     Memorandum by SCO Grp in opposition to [44-1] motion to compel Discovery (blk)
                                    (Entered: 10/24/2003)
   10/23/2003                56 Certificate of service re: pIa's supp responses to dft's first set of interrogs by SCO Grp
                                (blk) (Entered: 10/24/2003)
   10/23/2003                57     Certificate of service re: pIa's supp responses to dft's second set of interrogs and second
                                    set of requests for prod of docs by SCO Grp (blk) (Entered: 10/24/2003)
   10/24/2003                58     Answer by SCO Grp to amended counterclaim: [41-1] amended claim (blk) (Entered:
                                    10/28/2003)
   10/28/2003                59     Order granting [54-1] motion to extend time to respond to dft IBM's motion to compel
                                    discovery up to and including 10/24/03 signed by Judge Brooke Wells, 10/28/03 cc:atty

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                                    (blk) (Entered: 10/29/2003)
   10/30/2003                60     Certificate of service re: Dft IBM's third set of interrogatories and third request for prod
                                    of docs by Inti Bus Mach Inc (blk) (Entered: 10/3012003)
   1013012003                61     Certificate of service by Inti Bus Mach Inc re: subp served on Baystar Capital, The
                                    Yankee Group, Renaissance Research Group, Deutsche Bank Securities (ce) (Entered:
                                    10/3112003)
   10/3112003                62     Minute entry:,Counsel for both parties present. Discussion held re: status of discovery.
                                    Parties to reconvene for a status conference set for 11/21103 at 10:00 a.m. before Judge
                                    Wells. If at that time it is determined that a hearing should be held re: Motion to Compel
                                    (docket entry #44), that hearing will be set for 12/5/03 at 10:00 a.m. Court adjourned.
                                    status conference set for 10:00 11121103 , Motion hearing set for 10:00 12/5/03 for [44-
                                    1] motion to compel Discovery; Judge: BCW Court Reporter: Electronic Tape No.: 29
                                    Log No.: 6030-6325 Court Deputy: alp (alp) (Entered: 10/3112003)
   11103/2003                63     Reply by Inti Bus Mach Inc to response to [44-1] motion to compel Discovery (blk)
                                    (Entered: 11104/2003)
   11103/2003                64     Addendum to [63-1] response reply filed by Inti Bus Mach Inc. (blk) (Entered:
                                    11104/2003)
   11104/2003                65     Certificate of service re: Dft IBM's Responses and Objections to SCO's First Request
                                    for Admissions by Inti Bus Mach Inc (blk) (Entered: 11/04/2003)
   11104/2003                66     Motion by SCO Grp to Compel Discovery (blk) (Entered: 11/0512003)
   1110412003                67     Memorandum by SCO Grp in support of[66-1] motion to Compel Discovery (blk)
                                    (Entered: 11105/2003)
   11106/2003                68     Second Motion by Inti Bus Mach Inc to compel discovery (blk) (Entered: 11107/2003)
   11106/2003                68     Notice of filing re: Certificate of Compliance with rule 37(a)(2)(A) by Inti Bus Mach
                                    Inc (blk) (Entered: 11107/2003)
   11106/2003                69     Memorandum by Inti Bus Mach Inc in support of [68-1] motion to compel discovery
                                    (blk) (Entered: 11/07/2003)
   11107/2003                70     Exhibits filed by plaintiff SCO Grp RE: [68-1] motion to compel discovery (blk)
                                    (Entered: 11107/2003)
   11110/2003                71     Magistrate Notice of Hearing status conference set for 10:00 11121103 To be held before
                                    Judge Wells cc:atty (Ntc generated by: JD) (blk) (Entered: 11112/2003)
   1111012003                72 Magistrate Notice of Hearing Motion hearing set for 10:00 12/5/03 for [68-1] motion to
                                compel discovery, set for 10:0012/5/03 for [66-1] motion to Compel Discovery, set for
                                10:00 12/5/03 for [44-1] motion to compel Discovery To be held before Judge Wells
                                cc:atty (Ntc generated by: JD) (blk) (Entered: 11112/2003)
   11110/2003                73     Motion by Inti Bus Mach Inc to strike the 5th, 15th, and 19th affirmative defenses
                                    asserted by the SCO Grp in its Answers to IBM' Amended Counterclaims (blk)
                                    (Entered: 11112/2003)
   11110/2003                74     Memorandum by Inti Bus Mach Inc in support of[73-1] motion to strike the 5th, 15th,
                                    and 19th affirmative defenses asserted by the seo Grp in its Answers to IBM'
                                    Amended Counterclaims (blk) (Entered: 11112/2003)
   11110/2003                76     Certificate of service of Discovery by SCO Grp (blk) (Entered: 11112/2003)
   11/1112003                75     Certificate of service re: Subpoenas for discovery by SCQ Grp (blk) (Entered:
https:llecf.utd.uscQurts.gov/cgi-binIDktRpt.pl?153746270523261-L_1_1-1                                                               151103
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                                    11112/2003)
   11118/2003                77     Motion and Order signed by Judge Dale A. Kimball, 11118/03 Granting motionlPHV
                                    for Attorney David K. Markarian on behalf of pIa SCO Grp cc:attys (blk) Modified on
                                    11124/2003 (Entered: 11118/2003)

   11119/2003                79     Memorandum by Intl Bus Mach Inc in opposition to [66-1] motion to Compel
                                    Discovery (blk) (Entered: 11120/2003)
   11120/2003                78     AMENDED Magistrate Notice of Hearing Reset status conference for 9:00 11/21103.
                                    Time change only. To be held before Judge Wells cc:atty (Ntc generated by: JD) (blk)
                                    (Entered: 11120/2003)
   1112112003                80 Minute entry:Counsel present. After discussion with counsel, the motion to compel
                                hearing will remain set for 12/5/03 at 10:00. Court Adjourned. ; Judge: BCW Court
                                Reporter: Electronic Tape No.: 38 Log No.: 4098-4716 Court Deputy: alp (alp)
                                (Entered: 1112112003)
   11124/2003                .8.l Memorandum by SCO Grp in opposition to [68-1] motion to compel discovery (blk)
                                    (Entered: 11125/2003)
   11125/2003                82     Memorandum by SCO Grp in opposition to [73-1] motion to strike the 5th, 15th, and
                                    19th affirmative defenses asserted by the SCO Grp in its Answers to IBM' Amended
                                    Counterclaims (blk) (Entered: 11126/2003)
   11126/2003                83     Motion by SCO Grp to extend time for pIa to respond to dft IBM's third set of
                                    interrogatories and third request for production of documents (blk) (Entered:
                                    12/0112003)
   12/0112003                84 Reply by SCO Grp to response to [66-1] motion to Compel Discovery (blk) (Entered:
                                12/03/2003)
   12/0212003                92     Certificate of service by SCO Grpn re: resplobj to IBM's third set of
                                    interrogatorieslrequest for production of docs (ekg) (Entered: 1211 012003)
   12/03/2003                85     Certificate of service re: Subpoenas Duces Tecum upon Northrop Grumman Corp; Sun
                                    Microsystems, Inc.; Schwartz Communications, Inc. for the production of documents by
                                    12116/03 by Intl Bus Mach Inc (blk) (Entered: 12/04/2003)
   12/03/2003                86     Reply Memorandum in Support by Intl Bus Mach Inc to response to [68-1] motion to
                                    compel discovery (blk) (Entered: 12/04/2003)
   1210312003                87 Declaration of Todd M. Shaughnessy Re: [68-1] motion to compel discovery (blk)
                                (Entered: 12/04/2003)
   12/04/2003                90     CORRECTED Certificate of service by SCO Grp re: second request for
                                    production/interrogatories (kvs) (Entered: 1211 0/2003)
   12/05/2003                88     Minute entry: Counsel for both parties present. The Court hears arguments re: Motion to
                                    Compel (#68). Court GRANTS motion. Plaintiff is to provide responseslaffidavits
                                    within 30 days of the entry of this order. All other discovery is to be postponed until the
                                    order has been complied with. An order reflecting this ruling is to be prepared by
                                    counsel for defendant. A motion hearing is scheduled for 1123/04 at 10:00 a.m. Court is
                                    adjourned. granting [68-1] motion to compel discovery, Motion hearing set for 10:00
                                    1123/04 for [66-1] motion to Compel Discovery, set for 10:00 1123/04 for [73-1] motion
                                    strike the 5th, 15th, and 19th affirmative defenses asserted by the SCO Grp in its
                                    Answers to IBM' Amended Counterclaims, set for 10:001123/04 for [83-1] motion to
                                    extend time for pIa to respond to dft IBM's third set of interrogatories and third request
                                    for production of documents; Judge: BCW Court Reporter: Dawn Brunner-Hahn Court

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                                    Deputy: alp (alp) (Entered: 12/05/2003)
   1210512003                91     Notice of attorney appearance for SCO Grp by Kevin P McBride (kvs) (Entered:
                                    12/1012003)
   12/0912003                89     Magistrate Notice of Hearing Motion hearing set for 10:00 1123/04 for [83-1] motion to
                                    extend time for pIa to respond to dft IBM's third set of interrogatories and third request
                                    for production of documents, set for 10:00 1123/04 for [73-1] motion to strike the 5th,
                                    15th, and 19th affirmative defenses asserted by the SCO Grp in its Answers to IBM'
                                    Amended Counterclaims, set for 10:00 1123/04 for [66-1] motion to Compel Discovery,
                                    set for 10:00 1123/04 for [52-1] motion to extend time to 10124/03 for pIa to resp to
                                    mot/compel, set for 10:00 1123/04 for [51-1] motion to extend time to respond to dft
                                    IBM's second set of interrogatories and second request for production of documents, set
                                    for 10:00 1123/04 for [44-1] motion to compel Discovery To be held before Judge Wells
                                    cc:atty (Ntc generated by: JD) (blk) (Entered: 12110/2003)
   1211012003                93     Reply by Intl Bus Mach Inc to response to [73-1] motion to strike the 5th, 15th, and
                                    19th affirmative defenses asserted by the SCO Grp in its Answers to IBM' Amended
                                    Counterclaims (blk) (Entered: 1211112003)
   12/12/2003                94     Order granting [68-1] motion to compel discovery, granting [44-1] motion to compel
                                    Discovery. The SCO Group is hereby ORDERED: 1) To respond fully and in detail to
                                    Interrogatory Nos. 1-9 as stated in IBM's First Set ofInterrogatories. 2) To respond fully
                                    and in detail to Interrogatory Nos 12 and 13 as stated in IBM's Second Set of
                                    Interrogatories. 3) IBM is to provide SCO a list of requested documents as stated in
                                    IBM's First and Second Requests for the Production of Documents and SCO is to
                                    produce all requested documents. 4) To identify and state with specificity the source
                                    code(s) that SCO is claiming form the basis of their action against IBM. This is to
                                    include identification of all Bates numbered documents previously provided. 5) To the
                                    extent IBM's requests call for the production of documents or are met by documents
                                    SCO has already provided, SCO is to identify with specificity the location of responsive
                                    answers including identification of the Bates numbered documents previously provided
                                    if applicable. 6) If SCO does not have sufficient information in its possession, custody,
                                    or control to specifically answer any ofIBM's requests that are the subject of this order,
                                    SCO shall provide an affidavit setting forth the full nature of its efforts, by whom thy
                                    were taken, what further efforts it intends to utilize in order to comply, and the expected
                                    date of compliance. SCO is required to provide such answers and documents within
                                    thirty days from the date of this order. All other discovery, including SCO's Motion to
                                    Compel is hereby STAYED until this Court determines that SCO has fully complied
                                    with this Order. The Court will hold a hearing on the forgoing issues January 23,2004
                                    at 10:00 a.m. Signed by Judge Brooke C. Wells, 12/12103 cc:atty (blk) (Entered:
                                    12112/2003)
   12118/2003                95    Order, for transcript of proceedings for hearing held 12/05103, before the magistrate
                                   judge in the above entitiled case, to be prepared by a certified court reporter and paid for
                                   by the clerk's office, USDC, signed by Judge Brooke C. Wells, 12/16/03 cc:atty (blk)
                                   (Entered: 1211912003)
   0111312004                96 Notice of Compliance with Court Order of 12112103 by SCO Grp (blk) (Entered:
                                0111512004)
   01/13/2004                97     Declaration of Ryan E. Tibbitts Re: [96-1] file notice (blk) (Entered: 01115/2004)
   01120/2004                99     Certificate of service by SCO Grp re: pIa's revised supplemental response to dft's first
                                    and second set of interrogatories. (blk) (Entered: 01126/2004)
   0112112004                98     Magistrate Notice of Hearing Motion hearing set for 10:002/6/04 for all pending

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                                    motions: [83-1] motion to extend time for pia to respond to dft IBM's third set of
                                    interrogatories and third request for production of documents, set for 10:00 2/6/04 for
                                    [73-1] motion to strike the 5th, 15th, and 19th affirmative defenses asserted by the SCO
                                    Grp in its Answers to IBM' Amended Counterclaims, set for 10:002/6/04 for [66-1]
                                    motion to Compel Discovery, set for 10:002/6/04 for [52-I] motion to extend time to
                                    10/24/03 for pia to resp to mot/compel, set for 10:00 2/6104 for [51-I] motion to extend
                                    time to respond to dft IBM's second set of interrogatories and second request for
                                    production of documents To be held before Judge Wells cc:atty (Ntc generated by: JD)
                                    (blk) (Entered: 01122/2004)
   01126/2004                       Transcript of Proceedings for date(s) of 12/05103. Court Reporter: Dawn E. Brunner-
                                    Hahn (blk) (Entered: 0112612004)
   02/0412004               100     Motion by SCO Grp for leave to file Amended Pleadings (blk) (Entered: 02/05/2004)
   02/04/2004               101     Notice of filing Pia's exhibits for use at hearing on 2/6/04 by SCO Grp (blk) (Entered:
                                    02/05/2004 )
   02/04/2004               102     Memorandum by SCO Grp in support of [100-1] motion for leave to file Amended
                                    Pleadings (blk) (Entered: 02/05/2004)
   02/05/2004               103     Status Report on SCO's Compliance with the Court's December 12,2003 Order filed by
                                    IntI Bus Mach Inc (blk) (Entered: 02/06/2004)
   02/06/2004              104      Minute entry: Counsel for both parties present. The Court hears statements re:
                                    compliance with previous order as to discovery and SCO's motion for discovery
                                    (d.e.#66). The Court takes the matter under advisement and an order will be
                                    forthcoming. ; Judge: BCW Court Reporter: Ed Young Court Deputy: alp (alp)
                                    (Entered: 02/09/2004)
   02/17/2004               105     Notice of filing of change ofatty address by SCO Grp cc: DQA (alt) (Entered:
                                    02118/2004)
   02119/2004               106     Response Memorandum by IntI Bus Mach Inc to SCO's [100-1] motion for leave to file
                                    Amended Pleadings (blk) (Entered: 02/20/2004)

   02/2512004               107     Order granting [100-1] motion for leave to file Amended Pleadings signed by Judge
                                    Brooke C. Wells, 2/25104 cc:atty (blk) (Entered: 02/26/2004)
   02/27/2004               108     Second Amended complaint by SCO Grp; no parties added. Amends [108-1] amended
                                    complaint; jury demand (blk) (Entered: 03/0112004)
   03/03/2004               109     Order regarding SCO's Motion to Compel Discovery and IBM's Motion to Compel
                                    Discovery; (Please see the order for all information, as this is an extensive order).
                                    Ordering both parties to file affidavits re compliance with this order; and additional
                                    memoranda addressing the impact of the second amended complaint and IBM's
                                    subsequent answer on IBM's Motion to Strike the 5th, 15th, and 19th Affirmative
                                    Defenses asserted by SCO in its Answers to IBM's Amended Counterclaims. IBM is to
                                    file its initial memoranda with the court withing 60 days of the entry of this order. SCO
                                    will then have 15 days to respond. IBM will have 7 days to reply to this response.
                                    Following the additional briefing, the Court will contact parties to schedule a hearing
                                    regarding IBM's motion to strike SCO's affirmative defenses. (Please see the order for
                                    all information, as this is an extensive order) Signed by Judge Brooke C. Wells, 3/3/04
                                    cc:atty (blk) (Entered: 03/03/2004)
   03/05/2004               110 ADDENDUM to Stipulated Protective Order Signed by Judge Dale A. Kimball 315104
                                cc: atty (blk) Modified on 03/05/2004 (Entered: 03/05/2004)


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   03/09/2004               114 Minute entry: Teleconference held in chambers at the request of both parties; Judge:
                                BCW (alp) (Entered: 03112/2004)
   03/10/2004              ill Motion and Order signed by Judge Dale A. Kimball, 311 0104 Granting motionIPHV for
                                    Attorney Scott E. Gant on behalf of counter-defendant SCO Grp, plaintiff SCO Grp
                                    cc:attys (blk) (Entered: 03110/2004)
   0311112004               112 Amended answer by SCO Grp to amended counterclaim: amends [58-1] counter
                                answer (blk) (Entered: 0311212004)
   03/1112004               113     Exhibits filed by plaintiffSCO Grp RE: [108-1] second amended complaint. (blk)
                                    (Entered: 03/12/2004)
   03/12/2004               115     Stipulation by SCO Grp, IntI Bus Mach Inc to extend time for dft IBM to respond to
                                    Second Amended Complaint up to and including3/19/04 (blk) (Entered: 03115/2004)
   03115/2004               116     Order granting [115-1] stipulation motion to extend time for dft IBM to respond to
                                    Second Amended Complaint up to and including 3/19/04 signed by Judge Dale A.
                                    Kimball, 3115104 cc:atty (blk) (Entered: 0311512004)
   03/1912004               117     Stipulation and joint motion by Inti Bus Mach Inc, SCO Grp to extend time to respond
                                    to second amended complaint up to and including 3/26104 (blk) (Entered: 03/22/2004)
   03/22/2004               118     Order granting [117-1] stipulation motion to extend time to respond to second amended
                                    complaint up to and including 3/26104 signed by Judge Dale A. Kimball, 3/22/04
                                    cc:atty (blk) (Entered: 03/24/2004)
   03/24/2004               120 Motion by SCO Grp to bifurcate (blk) Modified on 03/26/2004 (Entered: 03/26/2004)
   03/2412004               121     Memorandum by SCO Grp in support of[120-1] motion to bifurcate (blk) (Entered:
                                    03/26/2004)
   03/24/2004               122 Notice of service of Subpoenas Duces Tecum by Inti Bus Mach Inc (blk) (Entered:
                                03/26/2004)
   03/25/2004               119 Acceptance of service of Subpoena Duces Tecum as to Inti Bus Mach Inc 3125104 (blk)
                                (Entered: 03/26/2004)
   03/26/2004               123     Motion by Inti Bus Mach Inc to amend [41-1] amended counterclaim (asp) (Entered:
                                    03/29/2004)
   03/26/2004               124 Order granting [123-1] motion to amend [41-1] amended counterclaim signed by Judge
                                Dale A. Kimball, 3/26/04 cc:atty (asp) (Entered: 03/29/2004)
   03/26/2004               125     Certificate of service re: 4th req for prod/docs & 4th set ofinterrogs by SCO Grp (alt)
                                    (Entered: 03/30/2004)
   03/26/2004               126 Answer by Inti Bus Mach Inc to 2ND amended complaint (alt) (Entered: 03/30/2004)
   03/29/2004               127 2ND Amended counterclaim by Inti Bus Mach Inc: amending [41-1] amended claim
                                (alt) (Entered: 03/30/2004)
   03/30/2004               128     Certificate of service by Inti Bus Mach Inc re: fourth set of interrogatories and fourth
                                    request for production of documents (blk) (Entered: 03/30/2004)
   04/05/2004               129 Motion by SCO Grp to amend [23-1] Scheduling order (blk) (Entered: 04/06/2004)
   04/05/2004               130 Memorandum by SCO Grp in support of [129-1] motion to amend [23-1] Scheduling
                                order (blk) (Entered: 04/06/2004)

   04/07/2004               131     Certificate of service re: Sco's Objections to EBM's Amended Notice of Deposition by

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                                    SCO Grp (blk) Modified on 04/08/2004 (Entered: 04/08/2004)
   0411212004               132 Response by Intl Bus Mach Inc to [120-1] motion to bifurcate (blk) (Entered:
                                04113/2004)
   0411512004               133     Certificate of service of pIa's objections to IBM's notice of deposition by SCO Grp (blk)
                                    (Entered: 04115/2004)
   04/1512004               134 Stipulation by SCO Grp, Intl Bus Mach Inc to extend time for SCO to respond to IBM's
                                Amended Counterclaims up to and including 4/23104; and for IBM to respond to SCO's
                                Motion to Amend the Scheduling Order up to and including 4/30104. (blk) (Entered:
                                0411612004)
   04/15/2004               134 Order granting [134-1] stipulation motion to extend time for SCO to respond to IBM's
                                Amended Counterclaims up to and including 4123/04; and for IBM to respond to SCO's
                                Motion to Amend the Scheduling Order up to and including 4/30104. signed by Judge
                                Dale A. Kimball, 4115104 cc:atty (blk) (Entered: 04116/2004)
   04119/2004               135     Certificate of service re: responses to third set of interrogatories by SCO Grp (blk)
                                    (Entered: 04/20/2004)
   0411912004               136     Objections by S2 Strategic Consult to Subpoena Duces Tecum directed to S2 Strategic
                                    Consulting, and Response (blk) (Entered: 04/20/2004)
   0411912004               137 Reply by SCO Grp to response to [120-1] motion to bifurcate (blk) (Entered:
                                04/20/2004)
   04/19/2004               138 Declaration of Chris Sontag Re: [109-1] order Ordering both parties to file affidavits re
                                compliance with this order; and additional memoranda addressing the impact of the
                                second amended complaint and IBM's subsequent answer on IBM's Motion to Strike the
                                5th, 15th, and 19th Affirmative Defenses asserted by SCO in its Answers to IBM's
                                Amended Counterclaims. IBM is to file its initial memoranda with the court withing 60
                                days of the entry of this order. SCO will then have 15 days to respond. IBM will have 7
                                days to reply to this response. Following the additional briefing, the Court will contact
                                parties to schedule a hearing regarding IBM's motion to strike SCO's affirmative
                                defenses. (Please see the order for all information, as this is an extensive order) (blk)
                                (Entered: 04/20/2004)
   04/20/2004               139 Declaration of Todd M. Shaughnessy Re: [109-1] order Ordering both parties to file
                                affidavits re compliance with this order; and additional memoranda addressing the
                                impact of the second amended complaint and IBM's subsequent answer on IBM's
                                Motion to Strike the 5th, 15th, and 19th Affirmative Defenses asserted by SCO in its
                                Answers to IBM's Amended Counterclaims. IBM is to file its initial memoranda with
                                the court withing 60 days of the entry of this order. SCO will then have 15 days to
                                respond. IBM will have 7 days to reply to this response. Following the additional
                                briefing, the Court will contact parties to schedule a hearing regarding IBM's motion to
                                strike SCO's affirmative defenses. (Please see the order for all information, as this is an
                                extensive order), [109-2] relief (blk) (Entered: 04/2112004)
   04/20/2004               140     Certificate of service re: second supp rsponses and obj to SCO's first set of intemogs;
                                    responses and obj to SCO's second set of interrogs and second request for the prod of
                                    docs; and responses and obj to SCO's third set of interrogs and third request for the prod
                                    of docs by Intl Bus Mach Inc (blk) (Entered: 0412112004)
   04123/2004              141      Answer by SCO Grp to [127-1] second amended counterclaim (blk) (Entered:
                                    04/2612004)
   04/23/2004              142 Motion by SCO Grp to dismiss counterclaim, or, in the alternative to separate, or to
                               stay counts 9,10 and 14 of the counterclaim-pIa IBM's second amended counterclaims
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                                    against SCO (blk) (Entered: 04/2612004)
   04/23/2004               143     Memorandum by SCO Grp in support of[142-1] motion to dismiss counterclaim, [142-
                                    2] motion or, in the alternative to separate, [142-3] motion or to stay counts 9,10 and 14
                                    of the counterclaim-pIa IBM's second amended counterclaims against SCO (blk)
                                    (Entered: 04/2612004)
   04/2612004               144 Corrected/Amended [142-1] motion to dismiss counterclaim, [142-2] motion or, in the
                                alternative to separate, [142-3] motion or to stay counts 9,10 and 14 of the
                                counterclaim-pIa IBM's second amended counterclaims against SCO. Amended Motion
                                is entitled: CORRECTED Motion to Dismiss, or to Stay Count Ten of Counterclaim-
                                PIa Ibm's Second Amended Counterclaims Against SCO, by SCO Grp (blk) (Entered:
                                04/27/2004)
   05/03/2004               145     Certificate of service re: responses and objections to SCO's 4th set of requests for the
                                    production of docs and 4th set of interrogatories by Inti Bus Mach Inc (blk) (Entered:
                                    05/04/2004)
   05/05/2004               146 Stipulation by SCO Grp, Inti Bus Mach Inc stip re: briefing for pending motions (kvs)
                                (Entered: 05/0612004)
   05/0612004               147     Order granting [146-1] stipulated motion re: briefing for pending motions signed by
                                    Judge Dale A. Kimball, 5/6104 cc:atty (alt) (Entered: 05/06/2004)
   05/14/2004               148     Memorandum by IntI Bus Mach Inc in opposition to [129-1] motion to amend [23-1]
                                    Scheduling order (blk) (Entered: 05117/2004)
   05114/2004               149 Certificate of service re: fifth request for the production of docs by Inti Bus Mach Inc
                                (blk) (Entered: 05117/2004)
   05/14/2004               150 Stipulation by Intl Bus Mach Inc to amend [147-1] order setting briefing on pending
                                motions. Stipultated to the following: IBM's Memo in Opposition to SCO's Motion to
                                Dismiss due 5118/04; SCO's Reply Memo in Support of its Motion to Dismiss due
                                611104. (blk) (Entered: 05117/2004)
   05118/2004               151     Order granting [150-1] stipulation motion to amend [147-1] order setting briefing on
                                    pending motions. Stipultated to the following: IBM's Memo in Opposition to SCO's
                                    Motion to Dismiss due 5118/04; SCO's Reply Memo in Support of its Motion to Dismiss
                                    due 611104. signed by Judge Dale A. Kimball, 5/17/04 cc:atty (blk) (Entered:
                                    05118/2004)
   05118/2004               152     Cross-motion by Inti Bus Mach Inc for partial summary judgment on claim for
                                    declaratory judgment of non-infringement (blk) (Entered: 05119/2004)
   05118/2004               153     Memorandum by Intl Bus Mach Inc in support of [1 52-1] cross motion for partial
                                    summary judgment on claim for declaratory judgment of non-infringement (blk)
                                    (Entered: 0511912004)
   05118/2004               154 Declaration of Daniel Frye Re: [152-1] cross motion for partial summary judgment on
                                claim for declaratory judgment of non-infringement (blk) (Entered: 0511912004)
   05/18/2004               155     Memorandum by Intl Bus Mach Inc in opposition to [144-1] amended motion to
                                    Dismiss, [144-2] amended motion or to Stay Count Ten of Counterclaim-Pia Ibm's
                                    Second Amended Counterclaims Against SCO, (blk) (Entered: 0511912004)
   05118/2004               156 Declaration of Amy F. Sorenson Re: [155-1] opposition memorandum (blk) (Entered:
                                05/1912004)
   05/1912004              157 Declaration of Todd M. Shaughnessy Re: [152-1] cross motion for partial summary
                               judgment on claim for declaratory judgment of non-infringement. (Please Note: This is
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             21/103
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                                    an oversized document and has been placed in an expandable folder next to the case
                                    file.) (blk) Modified on 05119/2004 (Entered: 05119/2004)
   05/26/2004              158 Notice of Hearing filed: Motion hearing set for 10:306/8/04 for [142-2] motion or, in
                               the alternative to separate, set for 10:30 6/8/04 for [129-1] motion to amend [23-1]
                               Scheduling order To be held before Judge Kimball cc:atty ( Ntc generated by: KJ) (blk)
                               (Entered: 05/27/2004)

   05/26/2004               159 Notice of Hearing filed: Motion hearing set for 3:008/4/04 for [152-1] cross motion for
                                partial summary judgment on claim for declaratory judgment of non-infringement, set
                                for 3:008/4/04 for [144-1] amended motion to Dismiss, set for 3:008/4/04 for [142-1]
                                motion to dismiss counterclaim To be held before Judge Kimball cc:atty (ntc generated:
                                KJ) (blk) (Entered: 05/27/2004)
   05/26/2004              160      Stipulation by seo Grp to amend [151-1] briefing order as follows: seo's reply memo
                                    in support of motion to dismss due 6114/04. (blk) (Entered: 05/27/2004)
   05/27/2004               161     Order granting [160-1] stipulation motion to amend [151-1] briefing order as follows:
                                    seo's reply memo in support of motion to dismss due 6114/04. signed by Judge Dale A.
                                    Kimball, 5/27/04 cc:atty (blk) (Entered: 05/27/2004)
   05/28/2004               162     Motion and Order signed by Judge Dale A. Kimball, 5/28104 Granting motionIPHV for
                                    Attorney Robert Silver on behalf of plaintiff seo Grp, counter-defendant seo Grp
                                    cc:attys (blk) (Entered: 05/2812004)
   05/28/2004               163     Memorandum RE: Discovery filed by seo Grp (tsh) (Entered: 06/0112004)
   05/28/2004              164 Ex parte motion by seo Grp for leave to file overlength reply memo in support of pIa's
                               Motion to Amend the Scheduling Order (tsh) (Entered: 06/0112004)
   05/28/2004                       Proposed document from seo Grp entitled PIa's Reply Memo in Support of Motion to
                                    Amend the Scheduling Order (tsh) (Entered: 06/0112004)
   05/28/2004              165      Certificate of service by seo Grp re: PIa's Response to Dft's Fourth Set of
                                    Interrogatories (tsh) (Entered: 06/01/2004)
   06/02/2004              166      Order granting [164-1] ex parte motion for leave to file overlength reply memo in
                                    support of pIa's Motion to Amend the Scheduling Order signed by Judge Dale A.
                                    Kimball, 6/2/04 cc:atty (blk) (Entered: 06/03/2004)
   06/0212004               167 Reply by seo Grp to response to [160-1] stipulation motion to amend [151-1] briefing
                                order as follows: seo's reply memo in support of motion to dismss due 6114/04. (blk)
                                (Entered: 06/03/2004)
   06/03/2004              168      Expedited Motion by seo Grp for protective order (blk) (Entered: 06/04/2004)
   06/03/2004              168      Memorandum by seo Grp in support of [168-1] expedited motion for protective order
                                    (blk) (Entered: 06/04/2004)
   06/03/2004              169      Motion and Order signed by Judge Dale A. Kimball, 6/3/04 Granting motion/PHV for
                                    Attorney David S. Stone on behalf of counter-defendant seo Grp, plaintiff seo Grp
                                    cc:attys (blk) (Entered: 06/04/2004)
   06/03/2004              170      Motion and Order signed by Judge Dale A. Kimball, 6/3/04 Granting motionIPHV for
                                    Attorney Robert A. Magnanini on behalf of counter-defendant seo Grp, plaintiff seo
                                    Grp cc:attys (blk) (Entered: 06/04/2004)
   06/03/2004              171      Motion and Order signed by Judge Dale A. Kimball, 6/3/04 Granting motionIPHV for
                                    Attorney Michael Macmanus on behalf of counter-defendant seo Grp, plaintiff seo

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                                    Grp cc:attys (blk:) (Entered: 06104/2004)
   0610412004               172 Memorandum by Intl Bus Mach Inc in opposition to [168-1] motion for protective order
                                (blk) (Entered: 0610412004)
   06104/2004               174 Reply by SCO Grp to response to [168-1] motion for protective order (tsh) (Entered:
                                06107/2004)
   06107/2004               173     Motion and Order signed by Judge Dale A. Kimball, 6/7/04 Granting motionlPHV for
                                    Attorney Frederick S. Frei, John K. Harrop, Aldo Noto on behalf of counter-defendant
                                    SCO Grp, plaintiffSCO Grp cc:attys (tsh) (Entered: 06107/2004)
   06108/2004               175     Minute entry: Counsel for both parties contact the Court by telephone re: expedited
                                    motion for protective order (d.e. # 168). Court hears arguments and DENIES the motion
                                    due to lateness of the objection and inconvenience to the parties already scheduled for
                                    deposition. Counsel for defendant is to prepare an order. denying [168-1] motion for
                                    protective order; Judge: BCW Court Reporter: nla Tape No.: nla Log No.: nla Court
                                    Deputy: alp (alp) (Entered: 06108/2004)
   06108/2004               176 Minute entry: Motion hearing held for [142-2] motion or, in the alternative to separate,
                                held for [129-1] motion to amend [23-1] Scheduling order [142-2] motion or, in the
                                alternative to separate taken under advisement [129-1] motion to amend [23-1]
                                Scheduling order taken under advisement; Judge: DAK Court Reporter: Kelly Hicken
                                Court Deputy: Kim Jones (kj) (Entered: 06108/2004)
   06109/2004                       Transcript of Proceedings for date( s) of 10/31103 Status Cnf. Court Reporter: Geri
                                    Jardine (blk) (Entered: 0610912004)
   06109/2004                       Transcript of Proceedings for date( s) of 11121103 Status Cnf. Court Reporter: Geri
                                    Jardine (blk:) (Entered: 06109/2004)
   06/10/2004               177     Order granting in part, denying in part [129-1] motion to amend [23-1] Scheduling
                                    order. Denying [120-1] motion to bifurcate. Scheduling Order amended as follows:
                                    discovery due set for 4/22/05 , motion filing deadline set for 5/20105 , Final Pretrial
                                    Conference set for 2:30 1011 0105 , 5-Week Jury trial set for 8:30 1111105 See filelimage
                                    for further deadlines. Signed by Judge Dale A. Kimball, 6110104 cc:atty (tsh) (Entered:
                                    06/10/2004)
   06/1412004               178 Amended Notice of Hearing filed: Final Pretrial Conference reset for 2:3010111105 To
                                be held before Judge Kimball cc:atty ( Ntc generated by: KJ) (blk) (Entered:
                                06114/2004)
   06114/2004               179     Stipulation by SCO Grp re: briefing for pending motions (blk:) (Entered: 06114/2004)
   06114/2004               180 Certificate of service by SCO Grp re: response to IBM's fifth request for production of
                                docs. (blk) (Entered: 06/15/2004)
   06/14/2004               181     Order granting [179-1] stipulation motion re: briefing for pending motions signed by
                                    Judge Dale A. Kimball, 6114/04 cc:atty (blk) (Entered: 0611512004)
   06116/2004               182     Order denying [168-1] motion for protective order signed by Judge Brooke C. Wells,
                                    6115/04 cc:atty (blk) (Entered: 06/1712004)
   06/2112004               183     Stipulation by SCO Grp re: Briefing for pending motions. Pending motions are: IBM's
                                    Partial Motion for Summary Jgm; SCO's Motion to Dismiss, and SCO's Memorandum
                                    Regarding Discovery. Stipulated that briefing should proceed as follows: IBM's
                                    supplemental mem opp to motion to dismiss due 6/28/04; IBM's response to SCO's
                                    memo re discovery due 6/23/04; SCO's reply memo re discovery due 7112/04; IBM's
                                    reply memo in support of motion for summary jgm due 7/26104; SCO's reply memo in

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                                    support of motion to dismiss due 7/26/04; and SCO's reply memo in support of motion
                                    to dismiss due 7/26/04j (blk) (Entered: 06/22/2004)
   06/22/2004               185     Order granting [183-1] stipulation motion re: Briefing for pending motions. Pending
                                    motions are: IBM's Partial Motion for Summary Jgm; SCO's Motion to Dismiss, and
                                    SCO's Memorandum Regarding Discovery. Stipulated that briefing should proceed as
                                    follows: IBM's supplemental mem opp to motion to dismiss due 6/28/04; IBM's
                                    response to SCO's memo re discovery due 6/23/04; SCO's reply memo re discovery due
                                    7/12/04; IBM's reply memo in support of motion for summary jgm due 7/26/04; SCO's
                                    reply memo in support of motion to dismiss due 7/26/04; and SCO's reply memo in
                                    support of motion to dismiss due 7/26/04j signed by Judge Dale A. Kimball, 6/22/04
                                    cc:atty (blk) (Entered: 06/23/2004)
   06/23/2004               184 Order affs and decls intended for use at depos must be produced to opposing pty at least
                                48 hrs prior to depo signed by Judge Brooke C. Wells, 6/22104 cc:atty (alt) (Entered:
                                06/23/2004)
   06/23/2004               186 Response by Intl Bus Mach Inc to [163-1] memo re: discovery filed by SCO (blk)
                                (Entered: 06/24/2004)
   06/25/2004               187     Certificate of service by SCO Grp re: PIa's Amended Responses to Dft's Fourth Set of
                                    Interrogatories (tsh) (Entered: 06/28/2004)
   06/28/2004               188     SUPPLEMENTAL Memorandum by Intl Bus Mach Inc in opposition to [144-1]
                                    amended motion to Dismiss, [144-2] amended motion or to Stay Count Ten of
                                    Counterclaim-PIa Ibm's Second Amended Counterclaims Against SCO, (tsh) (Entered:
                                    06/29/2004)
   07/06/2004               189 Ex parte motion by SCO Grp for leave to file overlength memorandum re: renewed
                                motion to compel (blk) (Entered: 07/07/2004)
   07/06/2004               190 Renewed Motion by SCO Grp to compel discovery (blk) (Entered: 07/07/2004)
   07/06/2004                       Proposed document from SCO Grp entitled: Memorandum in Support of PIa's Renewed
                                    Motion to Compel. (overlength doc. pending order allowing to file) (blk) (Entered:
                                    07/07/2004)
   07/06/2004               191     SEALED DOCUMENT: Exhibits G,H,I and J to memorandum in support of pIa's
                                    renewed motion to compel. (blk) (Entered: 07/07/2004)
   07/07/2004               192     Order granting [189-1] ex parte motion for leave to file overlength memorandum re:
                                    renewed motion to compel signed by Judge Dale A. Kimball, 7/7/04 cc:atty (blk)
                                    (Entered: 07/08/2004)


   07/0712004               193     Memorandum by SCO Grp in support of [190-1] motion to compel discovery (blk)
                                    (Entered: 07/08/2004)
   07107/2004               194 Certificate of service re: production of documents by SCO Grp (blk) (Entered:
                                07/08/2004)
   07108/2004               195     Rule 56(f) Motion & Further Memorandum by SCO Grp in opposition to [152-1] cross
                                    motion for partial summary judgment on claim for declaratory judgment of non-
                                    infringement (blk) (Entered: 07/09/2004)
   07/08/2004               195     Rule 56(f) Motion by SCO Grp in further opposition to IBM's Motion for Partial
                                    Summary Jgm (blk) (Entered: 07/0912004)
   07/08/2004               196 Ex parte motion by SCO Grp for leave to file overlength memorandum in opposition to
                                IBMs' Motion for Summary Judgment on its tenth counterclaim for declaratory jgm of
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                                    non-infringement (blk) (Entered: 07/09/2004)
   07/08/2004                       Proposed document from SCO Grp entitled: Memorandum in Opposition to Dft IBM's
                                    Motion for Summary Jgm on its Tenth Counterclaim for Declaratory Jgm on Non-
                                    Infringement (blk) (Entered: 07/09/2004)
  07/08/2004                197     SEALED DOCUMENT: Declaration in Support of SCO's Opposition to IBM's Cross-
                                    Motion for Partial Summary Jgm 195 . Declaration and Exhibits filed under seal. (blk)
                                    (Entered: 07/09/2004)
  07/08/2004               198      SEALED DOCUMENT: Declarations in Support of SCO's Motion for Continuance
                                    Pursuant to Rule 56(f) 195 . Declarations and exhibits filed under seal. (blk) (Entered:
                                    07/09/2004)
   07/08/2004              199 Declaration of John Harrop Re: [195-1] motion in further opposition to IBM's Motion
                               for Partial Summary Jgm, [195-1] opposition memorandum (blk) (Entered: 07/09/2004)
   07/0912004              200      Certificate of service [199-1] declaration, [198-1] document(s), [197-1] document(s),
                                    [0-0] received proposed document, [196-1] ex parte motion for leave to file overlength
                                    memorandum in opposition to IBMs' Motion for Summary Judgment on its tenth
                                    counterclaim for declaratory jgm of non-infringement, [195-1] motion in further
                                    opposition to IBM's Motion for Partial Summary Jgm, [195-1] opposition memorandum
                                    by SCO Grp (blk) (Entered: 07/09/2004)
   07/0912004              201      Order granting [196-1] ex parte motion for leave to file overlength memorandum in
                                    opposition to IBMs' Motion for Summary Judgment on its tenth counterclaim for
                                    declaratory jgm of non-infringement signed by Judge Dale A. Kimball, 7/9/04 cc:atty
                                    (kvs) (Entered: 07112/2004)
   07/0912004              206      Memorandum by SCO Grp in opposition to [152-1] cross motion for partial summary
                                    judgment on claim for declaratory judgment of non-infringement (blk) (Entered:
                                    07/14/2004)
   07/09/2004              206      Exhibits filed by plaintiffSCO Grp RE: [206-1] opposition memorandum. Vols 1-5. All
                                    exhibits are oversized and placed on the shelf in an expandable folder next to the case
                                    file with the exception of vol 5. Vol 5 is SEALED and placed in the sealed file room.
                                    (blk) (Entered: 07/14/2004)

   0711212004              202      Ex parte motion by SCO Grp for leave to file overlength memorandum re: Discovery
                                    (blk) (Entered: 07/13/2004)
   07/12/2004                       Proposed document from SCO Grp entitled: Reply Memorandum RE: Discovery (blk)
                                    (Entered: 07113/2004)
   07112/2004              203      SEALED DOCUMENT filed by SCO entitled: Delaration of Chris Sontag in Support of
                                    Reply Memorandum Regarding Discovery (blk) Additional attachment(s) added on
                                    8/4/2005 (blk, ). Modified on 8/4/2005 by unsealing document and adding document
                                    image (blk, ). (Entered: 07/13/2004)
   07113/2004              204      Order granting [202-1] ex parte motion for leave to file overlength memorandum re:
                                    Discovery signed by Judge Dale A. Kimball, 7/13/04 cc:atty (blk) (Entered:
                                    07113/2004)
   07/13/2004              205      Reply by SCO Grp to response to [190-1] motion to compel discovery (blk) (Entered:
                                    07113/2004)
   07/22/2004              207      Stipulation by SCO Grp, Intl Bus Mach Inc Stip to amend the deadlines for briefing
                                    (jmr) (Entered: 07/26/2004)

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   07/26/2004              208      Order granting [207-1] stipulated motion to amend the deadlines for briefing signed by
                                    Judge Dale A. Kimball, 7/26104 cc:atty (alt) (Entered: 07/26/2004)
   07/27/2004              209 Notice of Hearing filed by defendant Intl Bus Mach Inc: Motion hearing set for 2:00
                               9115/04 for [144-1] amended motion to Dismiss, set for 2:009/15/04 for [144-2]
                               amended motion or to Stay Count Ten of Counterclaim-PIa Ibm's Second Amended
                               Counterclaims Against SCO" set for 2:009115/04 for [152-1] cross motion for partial
                               summary judgment on claim for declaratory judgment of non-infringement To be held
                               before Judge Dale A. Kimball cc:atty ( Ntc generated by: Atty) (blk) (Entered:
                               07/28/2004)

   07130/2004              210      Certificate of service by Intl Bus Mach Inc re: Dft's Fifth Set ofInterrogatories (tsh)
                                    (Entered: 08/02/2004)
   08/04/2004              211      Magistrate Notice of Hearing Motion hearing set for 10:009/2/04 for [190-1] motion to
                                    compel discovery To be held before Judge Wells cc:atty (Ntc generated by: JD) (blk)
                                    (Entered: 08/04/2004)
   08/04/2004              212      Motion by Inti Bus Mach Inc to strike the 7112/04 Declaration of Christopher Sontag
                                    (blk) (Entered: 08/05/2004)
   08/0412004              213      Memorandum by Intl Bus Mach Inc in support of[212-1] motion to strike the 7112/04
                                    Declaration of Christopher Sontag (blk) (Entered: 08/05/2004)
   08/04/2004              214      Declaration of Joan Thomas Re: [212-1] motion to strike the 7/12/04 Declaration of
                                    Christopher Sontag (blk) (Entered: 08/05/2004)
   08/04/2004              215      Motion by Intl Bus Mach Inc for leave to file overlength opposition memorandum to
                                    SCO's renewed Motion to Compel (blk) (Entered: 08/05/2004)
   08/04/2004              217      Memorandum by IntI Bus Mach Inc in opposition to [190-1] motion to compel
                                    discovery (blk) (Entered: 08/05/2004)
   08/04/2004              218      Certificate of service re: discovery by IntI Bus Mach Inc (blk) (Entered: 08/05/2004)
   08/0412004              219      Declaration of Amy F. Sorenson Re: [217-1] opposition memorandum (blk) (Entered:
                                    08/05/2004)
   08/04/2004              220      SEALED DOCUMENT by IBM entitled: Exhibits to Declaration of Amy F. Sorenson
                                    [219-1] (blk) Modified on 08/06/2004 (Entered: 08/05/2004)
   08/05/2004              216      Order granting [215-1] motion for leave to file overlength opposition memorandum to
                                    SCO's renewed Motion to Compel signed by Judge Dale A. Kimball, 8/5/04 cc:atty
                                    (blk) (Entered: 08/05/2004)
   08/09/2004              221      Errata to [213-1] support memorandum filed by IntI Bus Mach Inc. (blk) (Entered:
                                    0811 0/2004)
   08112/2004              222      Stipulation by Intl Bus Mach Inc to amend briefing for pending motions (blk) (Entered:
                                    08/13/2004)
   08/13/2004              223      Magistrate Notice of Hearing Motion hearing set for 10:00 9114/04 for [212-1] motion
                                    to strike the 7112/04 Declaration of Christopher Sontag, set for 10:00 9114/04 for [190-
                                    1] motion to compel discovery To be held before Judge Wells cc:atty (Ntc generated
                                    by: JD) (blk) (Entered: 08/13/2004)
   08/13/2004              224      Order granting [222-1] stipulation motion to amend briefing for pending motions signed
                                    by Judge Dale A. Kimball, 8113/04 cc:atty (blk) (Entered: 08/13/2004)
   08/13/2004              225      Motion by Intl Bus Mach Inc for partial summary judgment on Breach of Contract
https:flecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                              261103
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                                    Claims. (Oral Argument Requested) (blk) (Entered: 08116/2004)

   08/13/2004              226      Motion by Intl Bus Mach Inc for leave to file overlength memorandum in support of
                                    motion for partial summary jgm on breach of contract claims (blk) (Entered:
                                    08116/2004)
   0811312004              227      Declaration of Todd M. Shaughnessy Re: [225-1] motion for partial summary judgment
                                    on Breach of Contract Claims. (Oral Argument Requested) (blk) (Entered: 08116/2004)
   08/13/2004                       Proposed document from Intl Bus Mach Inc entitled: Memorandum in Support of
                                    Motion for Partial Summary Jgm re: Breach of Contract (blk) (Entered: 08116/2004)
   08113/2004              228      Exhibits filed by defendant Intl Bus Mach Inc RE: [227-1] declaration of Todd M.
                                    Shaughnessy. (3 volumes of exhibits, oversized, placed in expandable folders next to
                                    case file.) (blk) (Entered: 08/16/2004)
   08/1312004              232 REDACTED Memorandum by Intl Bus Mach Inc in support of [225-1] motion for
                               partial summary judgment on Breach of Contract Claims. (blk) (Entered: 08/18/2004)
   08/1312004              234      SEALED DOCUMENT entitled: IBM's Sealed Exhibits to the Declaration of Todd M.
                                    Shaughnessy in Support of Motion for Partial Summary Jgm on Breach of Contract
                                    Claims (blk) (Entered: 08/18/2004)
   08/1312004              235      Declarations of Kathleen Bennett, Thomas L. Cronan III, Randall Davis, Michael J.
                                    Defazio, David W. Frasure Re: [225-1] motion for partial summary judgment on Breach
                                    of Contract Claims. Volume 1 of2. (blk) Modified on 08118/2004 (Entered: 08118/2004)
   08/13/2004              236      Declarations of Geoffrey D. Green, Ira Kristenberg, Richard A. McDonough III, Jeffrey
                                    W. Mobley, Scott Nelson, David P. Rodgers, Roger C. Swanson, Joan Thomas, Steve
                                    Vuksanovich, Otis L. Wilson Re: [225-1] motion for partial summary judgment on
                                    Breach of Contract Claims. Volume 2 of2. (blk) (Entered: 08118/2004)
   08/1612004              229      Order granting [226-1] motion for leave to file overlength memorandum in support of
                                    motion for partial summary jgm on breach of contract claims signed by Judge Dale A.
                                    Kimball, 8116104 cc:atty (blk) (Entered: 08/17/2004)
   0811612004              230      SEALED DOCUMENT entitled: IBM's Memorandum in Support of Motion for Partial
                                    Summary Jgm on Breach of Contract Claims. (blk) (Entered: 08117/2004)
   08/16/2004              231      REDACTED Memorandum by Inti Bus Mach Inc in support of [233-1] IBM's Motion
                                    for Partial Summary Jgm on its Counterclaim for Copyright Infringement (Eighth
                                    Counterclaim) (blk) Modified on 08118/2004 (Entered: 08118/2004)
   08/16/2004              233      Motion by Intl Bus Mach Inc for partial summary judgment on its counterclaim for
                                    copyright infringement (eighth counterclaim) (blk) (Entered: 0811812004)
   08116/2004              237 Declaration of Amy F. Sorenson Re: [233-1] motion for partial summary judgment on
                               its counterclaim for copyright infringement (eighth counterclaim) (blk) (Entered:
                               08118/2004)
   08/16/2004              238      Exhibits filed by defendant Intl Bus Mach Inc RE: [237-1] declaration of Amy F.
                                    Sorenson (blk) (Entered: 08118/2004)
   08/1612004              239      SEALED DOCUMENT entitled: Sealed exhibits to declaration of Amy F. Sorenson
                                    [237-1] (blk) (Entered: 08118/2004)
   08/16/2004              240 Declaration of Kathleen Bennett Re: [233-1] motion for partial summary judgment on
                               its counterclaim for copyright infringement (eighth counterclaim) (blk) (Entered:
                               08118/2004)

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   08/16/2004              241      SEALED DOCUMENT entitled: Memorandum in Support of IBM's Motion for Partial
                                    Summary Judgment on its Counterclaim for Copyright Infringement (Eighth
                                    Counterclaim) [233-1] (blk) (Entered: 08/18/2004)
   0811612004              242      Certificate of service [232-1] support memorandum by Intl Bus Mach Inc (blk)
                                    (Entered: 08118/2004)
   0811612004              243      SEALED DOCUMENTS: 9 boxes of SEALED Exhibits filed by IBM to Declaration of
                                    Amy F. Sorenson in Support ofIBM's Motion for Partial Summary Jgm on its
                                    Counterclaims for Copyright Infringment (Contains exhibits 5.1-5.3, 6.1-9.3,10.1, 10.3,
                                    11.1-20.3) Clerk's Note: These boxes are housed in the 5th floor sealed room of the
                                    courthouse. (blk) (Entered: 08118/2004)
   0811712004              244      Addendum to [231-1] redacted support memorandum filed by Intl Bus Mach Inc . (blk)
                                    (Entered: 08118/2004)
   08/19/2004              245      SEALED Ex parte motion by SCO Grp for leave to file a supplemental memo re:
                                    discovery (tsh) (Entered: 08/22/2004)
   0811912004                       SEALED Proposed documents from SCO Grp entitled Supplemental Mmeorandum re:
                                    Discovery, Declaration of Jeremy O. Evans, and Declaration of Barbara L. Howe (tsh)
                                    Modified on 08/22/2004 (Entered: 08/22/2004)
   08/19/2004              287      SEALED DOCUMENT filed by SCO entitled: Supplemental Memorandum Regarding
                                    Discovery (blk) (Entered: 09/1312004)
   08119/2004              288      SEALED DOCUMENT filed by SCO entitled: Declaration of Jeremy O. Evans in
                                    Support ofPlalCntlclmdft SCO's Supplemental Memorandum Regarding Discovery
                                    (blk) (Entered: 09/13/2004)
   08119/2004              289      SEALED DOCUMENT filed by SCO entitled: Declaration of Barbara L. Howe in
                                    Support ofPlalcntclmdft SCO's Supplemental Memorandum Regarding discovery (blk)
                                    (Entered: 09/13/2004)
   08/2312004              246      Motion by Intl Bus Mach Inc to strike materials submitted by SCO in opposition to
                                    IBM's cross-motion for partial summary jgm (blk) (Entered: 08/24/2004)
   08/23/2004              247      Memorandum by Intl Bus Mach Inc in support of [246-1] motion to strike materials
                                    submitted by SCO in opposition to IBM's cross-motion for partial summary jgm (blk)
                                    (Entered: 08/24/2004)
   08/23/2004              248      Ex parte motion by Intl Bus Mach Inc for leave to file overlength memorandum in
                                    support of motion to strike (blk) (Entered: 08/24/2004)
   08/23/2004              249      Declaration of Randall Davis Re: [246-1] motion to strike materials submitted by SCO
                                    in opposition to IBM's cross-motion for partial summary jgm (blk) (Entered:
                                    08/24/2004)
   08/23/2004              250      Reply Declaration of Todd M. Shaugnessy Re: [152-1] cross motion for partial
                                    summary judgment on claim for declaratory judgment of non-infringement (blk)
                                    (Entered: 08/24/2004)
   08/23/2004              251      SEALED Exhibits filed by defendant Intl Bus Mach Inc RE: [250-1] reply declaration
                                    of Todd M. Shaughnessy (blk) (Entered: 08124/2004)
   08/23/2004              252      SEALED DOCUMENT entitled: Declaration of Brian W. Kernighan. Filed under seal
                                    and placed in the sealed room. (blk) (Entered: 08/24/2004)
   08/23/2004              253      Ex parte motion by IntI Bus Mach Inc for leave to file overlength reply memo (blk)
                                    (Entered: 08/24/2004)

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   08/23/2004              254 Reply by SCO Grp to response to [144-1] amended motion to Dismiss, [144-2]
                               amended motion or to Stay Count Ten of Counterclaim-PIa Ibm's Second Amended
                               Counterclaims Against SCO, (blk) (Entered: 08/2412004)
   08/23/2004              255      Ex parte motion by SCO Grp for leave to file overlength memorandum (blk) (Entered:
                                    08/24/2004)
   08/23/2004              256      REDACTED Reply by Intl Bus Mach Inc to response to [152-1] cross motion for partial
                                    summary judgment on claim for declaratory judgment of non-infringement (blk)
                                    (Entered: 08/24/2004)
   08/2312004              257      SEALED Reply by Inti Bus Mach Inc to response to [152-1] cross motion for partial
                                    summary judgment on claim for declaratory judgment of non-infringement. (This
                                    document has been filed under seal and is placed in the sealed room) (blk) (Entered:
                                    08124/2004)
   08/2412004              258      Order granting [248-1] ex parte motion for leave to file overlength memorandum in
                                    support of motion to strike signed by Judge Dale A. Kimball, 8124/04 cc:atty (blk)
                                    (Entered: 08/25/2004)
   08/24/2004              259      Order granting [253-1] ex parte motion for leave to file overlength reply memo signed
                                    by Judge Dale A. Kimball, 8/24/04 cc:atty (blk) (Entered: 08/25/2004)
   08/24/2004              260      Order granting [255-1] ex parte motion for leave to file overlength memorandum signed
                                    by Judge Dale A. Kimball, 8/24/04 cc:atty (blk) (Entered: 08/25/2004)
   08/2512004              261      Memorandum by Inti Bus Mach Inc in opposition to [245-1] ex parte motion for leave
                                    to file a supplemental memo re: discovery (blk) (Entered: 08/26/2004)
   08/26/2004              263      Ex parte motion by SCO Grp for leave to file overlength memorandum re: renewed
                                    motion to compell (blk) (Entered: 08/27/2004)
   0812612004              264 Reply by SCO Grp to response to [190-1] renewed motion to compel discovery (blk)
                               (Entered: 08/27/2004)
   08/26/2004              265      Memorandum by SCO Grp in opposition to [212-1] motion to strike the 7112/04
                                    Declaration of Christopher Sontag (blk) (Entered: 08/27/2004)
   08/26/2004              266 Declaration of Christopher Sontag Re: [265-1] opposition memorandum (blk) (Entered:
                               08/27/2004)
   08/27/2004              262 Notice of Hearing filed: Motion hearing set for 2:30 12/9/04 for [233-1] motion for
                               partial summary judgment on its counterclaim for copyright infringement (eighth
                               counterclaim), set for 2:3012/9/04 for [225-1] motion for partial summary judgment on
                               Breach of Contract Claims. (Oral Argument Requested) To be held before Judge
                               Kimball cc:atty (Ntc generated by: KJ) (blk) (Entered: 08/27/2004)
   08/27/2004              267      Order granting [263-1] ex parte motion for leave to file overlength memorandum re:
                                    renewed motion to compell signed by Judge Dale A. Kimball, 8127/04 cc:atty (blk)
                                    (Entered: 08/30/2004)
   09/0112004              268 Notice of Hearing filed: Motion hearing set for 2:009/15/04 for [152-1] cross motion
                               for partial summary judgment on claim for declaratory judgment of non-infringement,
                               set for 2:009/15/04 for [144-1] amended motion to Dismiss To be held before Judge
                               Kimball cc:atty (Ntc generated by: KJ) (blk) (Entered: 09/0112004)
   09/03/2004              269      SEALED Reply by SCO Grp to response to [245-1] ex parte motion for leave to file a
                                    supplemental memo re: discovery (ce) (Entered: 09/07/2004)
   09/03/2004              270      Sealed ex parte order granting [245-1] ex parte motion for leave to file a supplemental

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                                    memo re: discovery signed by Judge Brooke C. Wells, 9/3/04 cc:atty (kvs) (Entered:
                                    09/08/2004)
   09/07/2004              271      SEALED Memorandum by Intl Bus Mach Inc in support of [212-1] motion to strike the
                                    7/12/04 Declaration of Christopher Sontag (blk) (Entered: 09/09/2004)

   09/07/2004              272      Ex parte motion by SCO Grp for leave to file over-length memorandum re: opposition
                                    to IBM's Motion to Strike Materials (blk) (Entered: 09/09/2004)
   09/07/2004                       Proposed document from SCO Grp entitled: Memo in Opposition to IBM's Motion to
                                    Strike Materials Submitted by SCO in Opposition to IBM's Cross-Motion for Partial
                                    Summary Jgm (blk) Modified on 09/09/2004 (Entered: 09/09/2004)
   09/07/2004              273      Supplemental Declaration of Christopher Sontag Re: In Support of SCO's Opposition to
                                    IBM's Motion to Strike (blk) (Entered: 09/09/2004)
   09/07/2004              274      Supplemental Declaration of Sandeep Gupta Re: SCO's Opposition to IBM's Motion to
                                    Strike (blk) (Entered: 09/09/2004)
   09/07/2004              275      Supplemental Declaration of John Harrop Re: In Support of SCO's Opposition to IBM's
                                    Motion to Strike (blk) (Entered: 09/09/2004)
   09/07/2004              276      REDACTED Reply by Intl Bus Mach Inc to response to [212-1] motion to strike the
                                    7/12/04 Declaration of Christopher Sontag (blk) (Entered: 09/09/2004)
   09/07/2004              286 Memorandum by SCO Grp in opposition to [246-1] motion to strike materials submitted
                               by SCO in opposition to IBM's cross-motion for partial summary jgm (blk) (Entered:
                               09/13/2004)
   09/08/2004              277      Motion by SCO Grp to extend time to file response to IBM's Motion for Partial
                                    Summary Jgm on Breach of Contract Claims and IBM's Motion for Partial Summary
                                    Jgm on its Conterclaim for Copyright Infringement (Eighth Counterclaim) (blk)
                                    (Entered: 09/09/2004)

   09/08/2004              278      Declaration of Martin Pfeffer (blk) (Entered: 09/09/2004)
   09/08/2004              279      Memorandum by SCO Grp in support of [277 -1] motion to extend time to file response
                                    to IBM's Motion for Partial Summary Jgm on Breach of Contract Claims and IBM's
                                    Motion for Partial Summary Jgm on its Conterclaim for Copyright Infringement (Eighth
                                    Counterclaim) (blk) (Entered: 09/09/2004)
   09/08/2004              280      Certificate of service by SCO Grp re: responses to 5th set of interrogs (blk) (Entered:
                                    09/09/2004)
   09/08/2004              281      Expedited Motion by SCO Grp to enforce the Court's Amended Scheduling Order
                                    Dated June 10, 2004 (blk) (Entered: 09/09/2004)
   09/08/2004              282      Ex parte motion by SCO Grp for leave to file over-length memorandum re: In support
                                    of Expedited Motion to Enforce (blk) (Entered: 09/09/2004)
   09/08/2004                       Proposed document from SCO Grp entitled: Sealed Memorandum in Support of
                                    Expedited Motion to Enforce (blk) (Entered: 09/09/2004)
   09/08/2004              283      Ex parte motion by Intl Bus Mach Inc for leave to file a response to SCO's Supplement
                                    Memorandum Re: Discovery and to Continue Hearing Date (blk) (Entered: 09/09/2004)
   09/08/2004              290      SEALED DOCUMENT filed by SCO entitled: Memorandum in Support of SCO's
                                    Expedited Motion to Enforce the Court's Amended Scheduling Order Dated June 10,
                                    2004 (blk) Modified on 8/4/2005 by unsealing document and adding document image
                                    (blk, ). Additional attachment(s) added on 8/4/2005 (blk, ). (Entered: 09/13/2004)

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   09/09/2004              291      REDACTED Memorandum by SCO Grp in support of [281-1] expedited motion to
                                    enforce the Court's Amended Scheduling Order Dated June 10, 2004 (blk) (Entered:
                                    09/13/2004)
   09/09/2004              292      3 volumes of Exhibits filed by plaintiff SCO Grp RE: [291-1] support memorandum,
                                    [290-1] sealed support memorandum re: expedited motion to enforce the court's
                                    amended scheduling order dated 6/10/04 (blk) (Entered: 09/13/2004)
   09/09/2004              293      SEALED DOCUMENT filed by SCO entitled: Exhibits to Memorandum in Support of
                                    SCO's Expedited Motion to Enforce the Court's Amended Scheduling Order Dated
                                    6/10/04 (blk) (Entered: 09/13/2004)
   09/09/2004              294 Response by SCO Grp to [283-1] ex parte motion for leave to file a response to SCO's
                               Supplement Memorandum Re: Discovery and to Continue Hearing Date (blk) (Entered:
                               09/13/2004)
   09110/2004              284      Order granting [283-1] ex parte motion for leave to file a response to SCO's Supplement
                                    Memorandum Re: Discovery and to Continue Hearing Date, Hearing scheduled for
                                    9/14/04 is rescheduled: Motion hearing reset for 10:0010119/04 for [190-1] motion to
                                    compel discovery, set for 10:00 10119/04 for [212-1] motion to strike the 7/12/04
                                    Declaration of Christopher Sontag signed by Judge Brooke C. Wells, 9110/04 cc:atty
                                    (blk) (Entered: 09/10/2004)
   09/10/2004              285      Amended Magistrate Notice of Hearing Motion hearing reset for 10:0010119/04 for
                                    [212-1] motion to strike the 7/12/04 Declaration of Christopher Sontag, reset for 10:00
                                    10/19/04 for [190-1] motion to compel discovery To be held before Judge Wells cc:atty
                                    ( Ntc generated by: JD) (b1k) (Entered: 09/10/2004)
   09/10/2004                       Transcript of Proceedings for date(s) of 12/5/03, Motion to Compell hearing. Court
                                    Reporter: Dawn E. Brunner-Hahn (blk) (Entered: 09/13/2004)
   09/13/2004              295      Memorandum by Intl Bus Mach Inc in opposition to [277-1] motion to extend time to
                                    file response to IBM's Motion for Partial Summary Jgm on Breach of Contract Claims
                                    and IBM's Motion for Partial Summary Jgm on its Conterclaim for Copyright
                                    Infringement (Eighth Counterclaim) (b1k) (Entered: 09113/2004)
   09/13/2004              296      Order granting [277-1] motion to extend time to file response to IBM's Motion for
                                    Partial Summary Jgm on Breach of Contract Claims and IBM's Motion for Partial
                                    Summary Jgm on its Conterclaim for Copyright Infringement (Eighth Counterclaim).
                                    To be filed on or before 10/13/04, signed by Judge Dale A. Kimball, 9/13/04 cc:atty
                                    (blk) (Entered: 09/13/2004)
   09/13/2004              297      Order granting [282-1] ex parte motion for leave to file over-length memorandum re: In
                                    support of Expedited Motion to Enforce signed by Judge Dale A. Kimball, 9/13/04
                                    cc:atty (blk) (Entered: 09/13/2004)
   09/13/2004              298      Order granting [272-1] ex parte motion for leave to file over-length memorandum re:
                                    opposition to IBM's Motion to Strike Materials signed by Judge Dale A. Kimball ,
                                    9/13/04 cc:atty (blk) (Entered: 09/13/2004)
   09/13/2004              299      Ex parte emergency motion by SCO Grp for a scheduling conference (blk) (Entered:
                                    09/14/2004)
   09/13/2004              300 Memorandum by SCO Grp in support of [299-1] ex parte emergency motion for a
                               scheduling conference (b1k) (Entered: 09/14/2004)
   09113/2004              301      Reply by Intl Bus Mach Inc to response to [246-1] motion to strike materials submitted
                                    by SCO in opposition to IBM's cross-motion for partial summary jgm (blk) (Entered:
                                    09114/2004)
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   09115/2004               302 Minute entry: Motion hearing held for [212-1] motion to strike the 7112/04 Declaration
                                of Christopher Sontag, held for [195-1] motion in further opposition to IBM's Motion
                                for Partial Summary Jgm, held for [152-1] cross motion for partial summary judgment
                                on claim for declaratory judgment of non-infringement, held for [144-1] amended
                                motion to Dismiss, held for [144-2] amended motion or to Stay Count Ten of
                                Counterclaim-PIa Ibm's Second Amended Counterclaims Against SCO, [144-1]
                                amended motion to Dismiss taken under advisement, [144-2] amended motion or to
                                Stay Count Ten of Counterclaim-PIa Ibm's Second Amended Counterclaims Against
                                SCO, taken under advisement [195-1] motion in further opposition to IBM's Motion for
                                Partial Summary Jgm taken under advisement [152-1] cross motion for partial summary
                                judgment on claim for declaratory judgment of non-infringement taken under
                                advisement [212-1] motion to strike the 7112/04 Declaration of Christopher Sontag
                                taken under advisement; Judge: DAK Court Reporter: Becky Janke Court Deputy: Kim
                                Jones (kj) (Entered: 09116/2004)
   09/22/2004              303      Memorandum by IntI Bus Mach Inc in opposition to [299-1] ex parte emergency motion
                                    for a scheduling conference, [281-1] expedited motion to enforce the Court's Amended
                                    Scheduling Order Dated June 10,2004 (ce) (Entered: 09/24/2004)
   09/2412004               304     SEALED DOCUMENT filed by IBM entitled: IBM's Opposition to SCO's
                                    Supplemental Memorandum Re Discovery (blk) (Entered: 09/27/2004)
   09/24/2004              305      SEALED DOCUMENT filed by IBM entitled: Declaration of Ron Saint Pierre (blk)
                                    (Entered: 09/27/2004)
   09/24/2004              306      SEALED DOCUMENT filed by IBM entitled: Declaration of David Bullis (blk)
                                    (Entered: 09/27/2004)
   09/24/2004              307      SEALED DOCUMENT filed by SCO entitled: Consolidated Reply Memorandum in
                                    Further Support of SCO's Expedited Motion to Enforce the Court's Amended
                                    Scheduling Order and Emergency Motion for a Scheduling Conference (blk) (Entered:
                                    09/27/2004)
   09/24/2004              308 REDACTED VERSION OF DOC NO. 307 - Reply by SCO Grp to response to [281-1]
                               motion to enforce the Court's Amended Scheduling Order Dated June 10, 2004 (blk)
                               (Entered: 09/27/2004)
   09/24/2004              309 Ex parte motion by SCO Grp for leave to file over-length memorandum re: consolidated
                               reply memo in further support (blk) (Entered: 09/2712004)
   09/27/2004              3lO Order granting [309-1] ex parte motion for leave to file over-length memorandum re:
                               consolidated reply memo in further support signed by Judge Dale A. Kimball, 9/27/04
                               cc:atty (blk) (Entered: 09/27/2004)
   09/29/2004              311      Stipulation by SCO Grp, Intl Bus Mach Inc to extend time for pIa to reply to opposition
                                    to supp memo re disc up to and including 10/4104 (blk) (Entered: 09/30/2004)
   09/30/2004              312      Order granting [311-1] stipulation motion to extend time for pIa to reply to opposition to
                                    supp memo re disc up to and including 10/4/04 signed by Judge Dale A. Kimball,
                                    9130104 cc:atty (blk) (Entered: 09/30/2004)
   1010112004              313      Order denying [299-1] ex parte motion for a scheduling conference, denying [281-1]
                                    motion to enforce the Court's Amended Scheduling Order Dated June 10, 2004 signed
                                    by Judge Dale A. Kimball, 9/30104 cc:atty (blk) (Entered: 1010112004)
   1010412004              314 Ex parte motion by Intl Bus Mach Inc for leave to file overlength memorandum: Reply
                               brief in further support of supplemental memorandum re discovery (blk) (Entered:
                               10105/2004)

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   1010412004               316     SEALED Reply brief filed by SCO Grp RE: Sealed Supplemental Mem re: Discovery
                                    [287-1] document(s), [163-1] memo re: discovery (blk) (Entered: 10/0612004)
   10104/2004               317     SEALED Declaration of Jermey O. Evans Re: [316-1] brief reply (blk) Modified on
                                    8/4/2005 by unsealing document and adding document image (blk, ). Additional
                                    attachment(s) added on 8/4/2005 (blk, ). (Entered: 10/0612004)
   1010512004               315     Order granting [314-1] ex parte motion for leave to file overlength memorandum: Reply
                                    brief in further support of supplemental memorandum re discovery signed by Judge
                                    Dale A. Kimball, 10/5104 cc:atty (blk) (Entered: 1010512004)
   1010612004              318      Motion and Order signed by Judge Dale A. Kimball, 1016104. Granting motionlPHV for
                                    Attorney Edward Normand, Sean Eskovitz on behalf of plaintiff SCO Grp cc:attys (alt)
                                    (Entered: 10108/2004)
   10/1212004               319 Joint Stipulation filed by SCO Grp to extend time for briefing re: IBM's motion for
                                partial summary jgm on breach of contract claims and motion for partial summary jgm
                                on counterclaims for copyright infringment 8th counterclaim (blk) (Entered:
                                10/13/2004)
   10113/2004               320     Order granting [319-1] stipulation motion to extend time for briefing re: IBM's motion
                                    for partial summary jgm on breach of contract claims and motion for partial summary
                                    jgm on counterclaims for copyright infringment 8th counterclaim up to and including
                                    11123/04 signed by Judge Dale A. Kimball, 10113104 cc:atty (blk) (Entered:
                                    10/14/2004)
   1011412004              321      Ex parte motion by SCO Grp for leave to file overlength memorandum (blk) (Entered:
                                    1011512004)
   10114/2004              322      Motion by SCO Grp to amend complaint (for leave to file 3rd amended complaint) (blk)
                                    (Entered: 10/1512004)
   10114/2004              323      SEALED Memorandum by SCO Grp in support of [322-1] motion to amend complaint
                                    (for leave to file 3rd amended complaint) (blk) (Entered: 10/1512004)
   1011512004              324 Order granting [321-1] ex parte motion for leave to file overlength memorandum signed
                               by Judge Dale A. Kimball, 10115104 cc:atty (blk) (Entered: 10118/2004)
   10118/2004              325      Certificate of service re: ntc deposition David Bullis by SCO Grp (blk) (Entered:
                                    1011912004)
   10118/2004              326      Certificate of service re: ntc deposition William Sandve by SCO Grp (blk) (Entered:
                                    10119/2004)
   10119/2004              327 Minute entry: Counsel for both parties present. The Court hears arguments and rebuttal
                               from each party as to pIa's renewed motion to compel (d.e. #190). The Court orders that
                               privilege logs be prepared and exchanged within 30 days; Dft to provide within 30 days,
                               affidavits from management members Palmisano and Wladawsky-Berger and Board of
                               Directors as to what exists if their files and takes the remainder of the motion under
                               advisement. ; Judge: BCW Court Reporter: Kelly Hicken Court Deputy: alp (alp)
                               (Entered: 10/19/2004)
   1012012004              328      Order, re: SCO's renewed Motion to Compel Discovery. Both parties are to prepare and
                                    exchange privilege logs within 30 days from the entry of this order. IBM is to provide
                                    affidavits from the Board of Directors re production of all non-privileged documents
                                    pertaining to IBM's Linux strategy. The affidavits are to be filed within 30 days from the
                                    entry of this order. The court takes the remainder ofSCo's motion under advisement.
                                    The court sua sponte, hereby seals the transcript to the proceedings held on 10119/04.
                                    Copies of the transcript are to be provided to the parties in the case and the court but the
https:llecf.utd.uscQurts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             331103
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                                    transcript shall remain sealed until further order of the court. signed by Judge Brooke C.
                                    Wells, 10/20104 cc:atty (blk) (Entered: 10/2112004)

   10/27/2004              329      Stipulation by IntI Bus Mach Inc to amend briefing re: motion for leave to file 3rd
                                    amended complaint (blk) (Entered: 10/28/2004)
   10/28/2004              330      Order granting [329-1] stipulation motion to amend briefing re: motion for leave to file
                                    3rd amended complaint as follows - IBM's memo in opposition to SCO's motion due
                                    11123/04; and SCO's reply due 12/21104 signed by Judge Dale A. Kimball, 10127/04
                                    cc:atty (blk) (Entered: 10/28/2004)
   11119/2004              331      SEALED Declaration of Alec S. Berman (blk) (Entered: 11/22/2004)
   1111912004              332      SEALED Declaration ofIrving Wladawsky-Berger Re: (blk) (Entered: 11122/2004)
   1111912004              333      SEALED Declaration of Samuel J. Palmisano (blk) (Entered: 11122/2004)
   11119/2004              334      SEALED Declaration of Andrew Bonzani (blk) (Entered: 1112212004)
   11123/2004              335      Stipulation by IntI Bus Mach Inc to amend briefing on pending motions (blk) (Entered:
                                    11124/2004)

   11124/2004              336 Order granting [335-1] stipulation motion to amend briefing on pending motions signed
                               by Judge Dale A. Kimball, 11124/04 cc:atty (blk) (Entered: 11124/2004)
   11130/2004              337      SEALED DOCUMENT entitled: IBM's opposition to SCO's motion for leave to file a
                                    third amended complaint pursuant to FRCivP 15(a) and 16(b) (blk) (Entered:
                                    12/0112004)
   11130/2004              338 Motion by Inti Bus Mach Inc for leave to file overlength memo in opposition re: SCO's
                               motion for leave to file third amd cmp (blk) (Entered: 12/0112004)
   11/30/2004              340 Motion to intervene and to unseal court's file by G2 Computer Intel (blk) Modified on
                               0112112005 (Entered: 12/0112004)
   11130/2004              341      Memorandum by G2 Computer Intel in support of [340-1] motion to intervene by G2
                                    Computer Intel (blk) (Entered: 12/0112004)
   11130/2004              342 Memorandum by SCO Grp in opposition to [233-1] motion for partial summary
                               judgment on its counterclaim for copyright infringement (eighth counterclaim) (blk)
                               (Entered: 12/0112004)
   11130/2004              343      Motion by SCO Grp pursuant to Rule 56(f) in further opposition to IBM's Motion for
                                    Summary Jgm on SCO's Contract Claims (blk) (Entered: 12/0112004)
   11130/2004              344 Declaration of Edward Normand filed by SCO (blk) (Entered: 12/0112004)
   11130/2004              345      SEALED DOCUMENT entitled: DECLARATION of Todd M. Shaughnessy in support
                                    ofIBM's opposition to SCO's Motion for Leave to File a Third Amended Complaint
                                    (blk) (Entered: 12/0112004)

   11130/2004              346      SEALED DOCUMENT entitled: Memorandum in Opposition to IBM's Motion for
                                    Summary Jgm on SCO's Breach of Contract Claims (blk) (Entered: 12/0112004)
   12/0112004              339 Motion by SCO Grp for leave to file overlength memo re: IBM's motion for summary
                               jgm on breach of contract claims (blk) (Entered: 12/0112004)
   12/0112004              347 AUTHORITITES of Declaration of Jeremy O. Evans Re: [346-1] Sealed Memo in
                               Opposition to IBM's Motion for Summary Jgm on Breach of Contract Claims (blk)
                               Modified on 12/02/2004 (Entered: 12/02/2004)
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   12/0112004              348 Declaration of Jeremy O. Evans Re: [346-1] Memo in Opposition to IBM's Motion for
                               Summary Jgm on Breach of Contract Claims (Portions filed under seal) (blk) (Entered:
                               12/02/2004)
   12/0112004              349      Exhibits filed by plaintiff SCO Grp RE: [348-1] declaration (blk) (Entered: 12/02/2004)
   12/0112004              350      SEALED Exhibits filed by plaintiff SCO Grp RE: [348-1] declaration (blk) (Entered:
                                    12/02/2004)
   12/0112004              351      Order granting [338-1] motion for leave to file overlength memo in opposition re:
                                    SCO's motion for leave to file third amd cmp signed by Judge Dale A. Kimball ,
                                    12/1104 cc:atty (blk) (Entered: 12/02/2004)
   12/0112004              352      Order granting [339-1] motion for leave to file overlength memo re: IBM's motion for
                                    summary jgm on breach of contract claims signed by Judge Dale A. Kimball, 12/1104
                                    cc:atty (blk) (Entered: 12/02/2004)

   12/09/2004              353      Correction/Errata to [342-1] opposition memorandum filed by SCO Grp . (blk)
                                    (Entered: 12/10/2004)
   12/13/2004              354 Certificate of service re: subpoena duces tecum upon PointServe by Intl Bus Mach Inc
                               (blk) (Entered: 12/13/2004)
   12/16/2004              355      Stipulation by SCO Grp to extend time up to 12/29/04 to file reply to IBM's opposition
                                    to motion for leave to file 3rd amd complaint (blk) (Entered: 1211612004)
   12/16/2004              356 Motion and Order signed by Judge Dale A. Kimball, 12/14/04 Granting motion/PRY
                               for Attorney Stuart R. Singer on behalf of plaintiff SCO Grp cc:attys (blk) (Entered:
                               12116/2004)
   12116/2004              357 Order granting [355-1] stipulation motion to extend time up to 12129/04 to file reply to
                               IBM's opposition to motion for leave to file 3rd amd complaint signed by Judge Dale A.
                               Kimball, 12/16/04 cc:atty (blk) (Entered: 1211612004)
   12/20/2004              358      Stipulation by SCO Grp to extend time to respond to Motion to intervene and to unseal
                                    up to and including 1/7/05 (blk) Modified on 12/2112004 (Entered: 12/2112004)
   12/20/2004              359 Certificate of service re: discovery by SCO Grp (blk) (Entered: 12/2112004)
   12/2012004              360 Ex parte motion by Intl Bus Mach Inc to extend time to file response to motion to
                               intervene and unseal by 1120105 (blk) (Entered: 12/2112004)
   12/2112004              361      Order granting [360-1] ex parte motion to extend time to file response to motion to
                                    intervene and unseal by 1120105 signed by Judge Dale A. Kimball, 12/21104 cc:atty
                                    (blk) (Entered: 12121/2004)
   12/2112004              362 Response by G2 Computer Intel to [360-1] ex parte motion to extend time to file
                               response to motion to intervene and unseal by 1120105 (blk) (Entered: 12/22/2004)
   12/22/2004              363      Order granting [358-1] stipulation motion to extend time to respond to Motion to
                                    intervene and to unseal up to and including 1/7/05 signed by Judge Dale A. Kimball,
                                    12/21104 cc:atty (blk) (Entered: 12122/2004)
   12/23/2004              364      Substitution Exhibit 19 filed by plaintiff SCO Grp RE: [348-1] declaration of Jeremy O.
                                    Evans (blk) (Entered: 12/23/2004)
   12/23/2004              365      SEALED DOCUMENT filed by SCO entitled: PIa's Memorandum in Support of
                                    Renewed Motion to Compel Discovery (blk) Modified on 7/1412005 by UNSEALING
                                    DOCUMENT per agreement of parties and attaching document image(blk, ). Additional
                                    attachment(s) added on 7114/2005 (blk,). (Entered: 12/28/2004)
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             351103
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   12/23/2004              366      Renewed Motion by SCO Grp to compel Discovery (blk) (Entered: 12/28/2004)
   12/28/2004              367 Return of service executed on 12/9104 of subpoena upon PointeServe (blk) (Entered:
                               12/29/2004)
   12/29/2004              368      Ex parte motion by SCO Grp for leave to file overlength reply memo re: motion for
                                    leave to file third amd complaint (blk) (Entered: 12/30/2004)


   1212912004              369      ***SEALED***Reply by SCO Grp to response to [322-1] motion to amend complaint
                                    (for leave to file 3rd amended complaint) (blk) Additional attachment(s) added on
                                    8/4/2005 (blk, ). Modified on 8/4/2005 by unsealing document and adding document
                                    image (blk, ). (Entered: 12/3012004)
   12/30/2004              370      Ex parte order granting [368-1] ex parte motion for leave to file overlength reply memo
                                    re: motion for leave to file third amd complaint signed by Judge DAK 12/30104 cc: atty
                                    (tsh) (Entered: 0110312005)
   0110312005              371      Certificate of service by SCO Grp re: discovery (blk) Modified on 01106/2005 (Entered:
                                    01105/2005)
   01107/2005              372      Stipulation by IntI Bus Mach Inc amend/to extend time for briefing as follows: IBM's
                                    mem opp to SCO' renewed motion to compel disc due 2/4105; IBM's reply mem sup re:
                                    motion for partial sumjgm on breach of contract claims due 2/25105; and, IBM's reply
                                    memo in support of motion for partial sum jgm on counterclaim for copyright
                                    infringement 8th counterclaim due on 2125105 (blk) (Entered: 01107/2005)
   0110712005              373      Order granting [372-1] stipulation motion amend/to extend time for briefing as follows:
                                    IBM's mem opp to SCO' renewed motion to compel disc due 2/4/05; IBM's reply mem
                                    sup re: motion for partial sumjgm on breach of contract claims due 2/25105; and, IBM's
                                    reply memo in support of motion for partial sum jgm on counterclaim for copyright
                                    infringement 8th counterclaim due on 2/25105 signed by Judge Dale A. Kimball, 117105
                                    cc:atty (blk) (Entered: 01110/2005)
   01112/2005              374      Motion by SCO Grp to compel IBM to produce Samuel J. Palmisano for deposition
                                    (blk) Modified on 01114/2005 (Entered: 01113/2005)
   0111212005              375      SEALED - Memorandum by SCO Grp in support of [374-1] motion to compel IBM to
                                    produce Samuel J. Palmisano for deposition (blk) Modified on 01114/2005 Additional
                                    attachment(s) added on 8/4/2005 (blk,). Modified on 8/4/2005 by unsealing document
                                    and adding document image (blk,). (Entered: 01113/2005)
   01112/2005              376 Certificate of service re: discovery by IntI Bus Mach Inc (blk) (Entered: 01113/2005)
   01118/2005              377      Order granting in part, denying in part [366-1] motion to compel Discovery, striking
                                    amended scheduling [177-1] order discovery due set for 4/22/05, [177-2] relief motion
                                    filing deadline set for 5/20105, [177-3] relief Final Pretrial Conference set for 2:30
                                    10110105, [177-4] relief 5-Week Jury trial set for 8:30 1111105, [177-5] relief, The
                                    discovery ordered by the court is due 3118/05 , The Court ORDERS both parties to meet
                                    and confer re: a new schedule and to submit a proposed amended shceduling order to
                                    the court by 3/25105 signed by Judge Brooke C. Wells, 1118105 cc:atty (blk) (Entered:
                                    01119/2005)
   0111912005              380      Motion by CNET Networks, Forbes for Joinder RE: [340-1] motion to intervene and to
                                    unseal court's file by G2 Computer Intel, to intervene (joined with [340-1] motion by
                                    G2 Computer Intelligence) ,and to unseal court files (joined with [340-1] motion by G2
                                    Computer Intelligence) (tsh) (Entered: 0112112005)


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   0111912005              381      Certificate of service by Intl Bus Mach Inc re: Subpoenas Duces Tecum issued to:
                                    Target Corporation; Autozone, Inc.; Sherwin-Williams Corp.; and Intel Corporation.
                                    (Note: Filing not considered a return of service executed as there was no proof of
                                    serviceldeclaration of server included with these documents.) (tsh) (Entered:
                                    0112112005)
   0111912005               382     Certificate of service by Intl Bus Mach Inc re: Subpoenas issued to Oracle Corp. and
                                    Computer Associates, Inc. (Note: Filing not considered a return of service executed as
                                    there was no proof of serviceldeclaration of server included with these documents.) (tsh)
                                    (Entered: 0112112005)
   0112012005               378 Response by SCO Grp to [340-1] motion to intervene and to unseal court's file by G2
                                Computer Intel (blk) (Entered: 0112112005)
   0112012005              379 Memorandum by Intl Bus Mach Inc in opposition to [340-1] motion to intervene and to
                               unseal court's file by G2 Computer Intel (blk) (Entered: 0112112005)
   01124/2005               383     Objections to Notice of Deposition (The Click-Wrap Notice) by SCO Grp (blk)
                                    (Entered: 0112512005)
   01124/2005              384      Objections to IBM's Notice of Deposition (The Compression Notice) by SCO Grp (blk)
                                    (Entered: 01/2512005)
   0112412005              385      Objections to IBM's Notice of Deposition (The Configurable High Availability Notice)
                                    by SCO Grp (blk) (Entered: 0112512005)

   01128/2005              386      Stipulation by IntI Bus Mach Inc to amend briefing as follows: IBM's Memo in
                                    Opposition to Motion to Compel IBM to produce Samuel Palmisano for Deposition due
                                    2/11105; SCO's reply memo in support of its renewed Motion to Compel by 2125105;
                                    SCO's reply memo re motion to compel IBM to produce Samuel Palmisano for
                                    Deposition due by 3/4/05 (b1k) (Entered: 01128/2005)
   01128/2005              387      Order granting [386-1] stipulation motion to amend briefing as follows: IBM's Memo in
                                    Opposition to Motion to Compel IBM to produce Samuel Palmisano for Deposition due
                                    2/11/05; SCO's reply memo in support of its renewed Motion to Compel by 2125105;
                                    SCO's reply memo re motion to compel IBM to produce Samuel Palmisano for
                                    Deposition due by 3/4/05 signed by Judge Dale A. Kimball, 1128/05 cc:atty (blk)
                                    (Entered: 0113112005)
   01/28/2005              388      Ex parte motion by Intl Bus Mach Inc for leave to file sur-reply brief (blk) (Entered:
                                    0113112005)
   0113112005              389 Reply by G2 Computer Intel, CNET Networks, Forbes to response to [380-2] motion to
                               intervene Goined with [340-1] motion by G2 Computer Intelligence), [380-3] motion to
                               unseal court files Goined with [340-1] motion by G2 Computer Intelligence), [340-1]
                               motion to intervene and to unseal court's file by G2 Computer Intel (blk) (Entered:
                               0210112005)
   0210112005              390      Certificate of service re: Subpoena Duces Tecum upon Hewlett-Packard by Intl Bus
                                    Mach Inc (blk) (Entered: 0210112005)

   0210112005              391      Ex parte motion by Intl Bus Mach Inc to extend time to submit objections to discovery
                                    order (blk) (Entered: 0210112005)
   0210112005              392      Order granting [388-1] ex parte motion for leave to file sur-reply brief signed by Judge
                                    Brooke C. Wells, 211105 cc:atty (blk) (Entered: 0210212005)
   0210212005              393      Order granting [391-1] ex parte motion to extend time to submit objections to discovery

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                                    order signed by Judge Dale A. Kimball, 2/1105 cc:atty (blk) (Entered: 02/02/2005)
   02/02/2005              394 Memorandum by SCO Grp in opposition to [391-1] ex parte motion to extend time to
                               submit objections to discovery order (blk) (Entered: 02/02/2005)
  02/04/2005               395      Memorandum by Inti Bus Mach Inc in opposition to [190-1] renewed motion to compel
                                    discovery (blk) (Entered: 02/08/2005)
   02/0412005              396      Certificate of service re: discovery by Inti Bus Mach Inc (blk) (Entered: 02/08/2005)
   02/08/2005              397 Certificate of service re: discovery by Inti Bus Mach Inc (blk) (Entered: 02/08/2005)
   02/09/2005              398 Memorandum Decision denying [144-1] amended motion to Dismiss, denying [144-2]
                               amended motion or to Stay Count Ten of Counterclaim-PIa Ibm's Second Amended
                               Counterclaims Against SCO" denying without prejudice to renew or refile after
                               discovery is completed [152-1] cross motion for partial summary judgment on claim for
                               declaratory judgment of non-infringement, mooting [195-1] motion in further
                               opposition to IBM's Motion for Partial Summary Jgm, denying [246-1] motion to strike
                               materials submitted by SCO in opposition to IBM's cross-motion for partial summary
                               jgm, denying without prejudice to renew or refile after discovery is complete [225-1]
                               motion for partial summary judgment on Breach of Contract Claims, denying without
                               prejudice to renew or refile after discovery is complete [233-1] motion for partial
                               summary judgment on its counterclaim for copyright infringement (eighth
                               counterclaim) vacating to the extent that it grants permission to file dispositive motions
                               prior to the close of discovery [313-1] order; The court will not entertain any dispositive
                               motions until after discovery is complete, unless both parties stipulate that resolution of
                               the motion is possible prior to the close of discovery, signed by Judge Dale A. Kimball,
                               on 2/8/05 cc:atty (blk) (Entered: 02/09/2005)

   02/1112005              399      Stipulation by Inti Bus Mach Inc to extend time for filing privilege logs no later than
                                    311 0105; objections within 30 days thereafter, by 4/9/05 (blk) (Entered: 0211112005)
   0211112005              400      Stipulation by Inti Bus Mach Inc to extend time on motion briefing deadlines on SCO's
                                    Motion to Compel as follows: IBM's memo in opposition due by 2/18/05; SCO's reply
                                    due by 3111105 (blk) (Entered: 0211112005)
   02/1112005              401      Order granting [400-1] stipulation motion to extend time on motion briefing deadlines
                                    on SCO's Motion to Compel as follows: IBM's memo in opposition due by 2118/05;
                                    SCO's reply due by 3111105 signed by Judge Brooke C. Wells, 2111105 cc:atty (blk)
                                    (Entered: 02/1112005)

   0211112005              402      Order granting [399-1] stipulation motion to extend time for filing privilege logs no
                                    later than 3110105; objections within 30 days thereafter, by 4/9/05 signed by Judge
                                    Brooke C. Wells, 2111105 cc:atty (blk) (Entered: 02111/2005)
   02/1112005              403      Motion by Inti Bus Mach Inc for reconsideration of [377-1] order striking amended
                                    scheduling [177-1] order discovery due set for 4/22/05, [177-2] relief motion filing
                                    deadline set for 5/20105, [177-3] relief Final Pretrial Conference set for 2:30 10/10/05,
                                    [177-4] relief 5-Week Jury trial set for 8:30 1111105, [177-5] relief (blk) (Entered:
                                    02114/2005)
   02118/2005              404      Ex parte motion by Inti Bus Mach Inc for leave to file overlength sur-reply memo re:
                                    motion to file 3rd amd cmp (blk) (Entered: 02/22/2005)
   0211812005              405      Motion by Inti Bus Mach Inc for entry of order limiting scope of IBM's ninth
                                    counterclaim (blk) (Entered: 02/22/2005)
   0211812005              406      SEALED DOCUMENT filed by IBM entitied: Memorandum in Opposition to SCO's

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                                    motion to compel IBM to produce Samuel J. Palmisano for deposition (blk) (Entered:
                                    02/22/2005)
   0211812005              407      SEALED DOCUMENT filed by IBM entitled: Sur-reply memo in further opposition to
                                    SCO's motion for leave to file a third amd complaint (blk) (Entered: 02/22/2005)
   02/22/2005              408      Order granting [404-1] ex parte motion for leave to file overlength sur-reply memo re:
                                    motion to file 3rd amd cmp signed by Judge Dale A. Kimball, 2/22/05 cc:atty (blk)
                                    (Entered: 02/23/2005)
   0212512005              409      SEALED DOCUMENT entitled: SCO's Reply Memo in Further Support of Renewed
                                    Motion to Compel Discovery (blk) (Entered: 02/28/2005)
   02/28/2005              410      Memorandum by SCO Grp in opposition to [403-1] motion for reconsideration of [377-
                                    1] order striking amended scheduling [177-1] order discovery due set for 4122/05, [177-
                                    2] relief motion filing deadline set for 5120105, [177-3] relief Final Pretrial Conference
                                    set for 2:30 10110105, [177-4] relief 5-Week Jury trial set for 8:30 11/1105, [177-5] relief
                                    (blk) (Entered: 03/0112005)
   03/02/2005              411      Certificate of service re: discovery by SCO Grp (blk) (Entered: 03/03/2005)
   03/04/2005              412      Motion by SCO Grp to extend time to file response to motion for entry of order by
                                    3/23105 (blk) (Entered: 03/07/2005)
   03/08/2005              413      Order granting [412-1] motion to extend time to file response to motion for entry of
                                    order by 3/23/05 signed by Judge Dale A. Kimball, 3/7/05 cc:atty (blk) (Entered:
                                    03/08/2005)
   03/09/2005              414      Motion by Intl Bus Mach Inc to extend time to comply with 1118/05 order by 45 days or
                                    by 5/3/05 (blk) (Entered: 0311 0/2005)
   03110/2005              415      *SEALED* Notice of filing entitled: IBM's Privilege Log Group Email List filed by Intl
                                    Bus Mach Inc (blk) Modified on 0311112005 (Entered: 0311112005)
   03110/2005              416      *SEALED* Notice of filing entitled: IBM's Privilege Log, filed by Intl Bus Mach Inc
                                    (Oversized Document) (blk) Modified on 03/1112005 (Entered: 0311112005)
   03110/2005              417      Certificate of service [416-1] file notice, [415-1] file notice by Intl Bus Mach Inc (blk)
                                    (Entered: 0311112005)
   03110/2005              418      SEALED DOCUMENT entitled: SCO's Privilege Log, filed by SCO Group (blk)
                                    (Entered: 03/1112005)
   03/1112005              419      SEALED DOCUMENT entilted: Reply memorandum in support of SCO's Motion to
                                    compel IBM to produce Samuel J. Palmisano for deposition (blk) (Entered: 03/14/2005)
   03/14/2005              420 Reply by Intl Bus Mach Inc to response to [403-1] motion for reconsideration of [377-1]
                               order striking amended scheduling [177-1] order discovery due set for 4/22105, [177-2]
                               relief motion filing deadline set for 5/20105, [177-3] relief Final Pretrial Conference set
                               for 2:30 10110105, [177-4] relief 5-Week Jury trial set for 8:30 1111105, [177-5] relief
                               (blk) (Entered: 03115/2005)
   03115/2005              421      Memorandum by SCO Grp in opposition to [414-1] motion to extend time to comply
                                    with 1118/05 order by 45 days or by 5/3/05 (blk) (Entered: 0311512005)
   03117/2005              422 Notice of Hearing filed: Motion hearing set for 3:00 4/21105 for [374-1] motion to
                               compel IBM to produce Samuel J. Palmisano for deposition, set for 3:00 4/21105 for
                               [322-1] motion to amend complaint (for leave to file 3rd amended complaint) To be
                               held before Judge Kimball cc:atty ( Ntc generated by: KJ) (blk) (Entered: 03/17/2005)


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   03/17/2005               423     Notice of Hearing filed: Motion hearing set for 3:00 4/26/05 for [340-1] motion to
                                    intervene and to unseal court's file by G2 Computer Intel, set for 3:00 4/26/05 for [380-
                                    2] motion to intervene Goined with [340-1] motion by G2 Computer Intelligence), set
                                    for 3:00 4/26/05 for [380-3] motion to unseal court files Goined with [340-1] motion by
                                    G2 Computer Intelligence) To be held before Judge Kimball cc:atty (Ntc generated by:
                                    KJ) (blk) (Entered: 03117/2005)
   03117/2005               424     Order granting [414-1] motion to extend time to comply with 1118/05 order by 45 days
                                    or by 5/3/05 signed by Judge Dale A. Kimball, 3/16/05 cc:atty (blk) (Entered:
                                    03117/2005)
   03/23/2005              425      SEALED DOCUMENT entitled: Memorandum in Opposition to IBM's Motion for
                                    Entry of Order Limiting Scope of IBM's Ninth Counterclaim (blk) Modified on
                                    8/4/2005 by unsealing this document(blk,). Additional attachment(s) added on 8/4/2005
                                    (blk, ). (Entered: 03/24/2005)
   03/25/2005              426      Memorandum by Intl Bus Mach Inc in support of proposed scheduling order (tsh)
                                    (Entered: 03/2812005)
   04/0112005               427     Memorandum by SCO Grp in support ofSCO's proposed scheduling order (alt)
                                    (Entered: 04/0112005)
   04/0112005              427 Request for Oral Argument filed by SCO Grp on [427-1] support memorandum (alt)
                               (Entered: 04/01/2005)
   04/01/2005              428      Reply by IntI Bus Mach Inc to response to [405-1] motion for entry of order limiting
                                    scope ofIBM's ninth counterclaim (blk) (Entered: 04/04/2005)
   0411112005              429      Ex parte motion by SCO Grp to vacateladjourn the April 21, 2005 Argument on SCO's
                                    Motion to Amend Complaint (blk) (Entered: 04112/2005)
   04/1112005              430 Memorandum by Intl Bus Mach Inc in further support of proposed scheduling order
                               (blk) (Entered: 04/12/2005)
   0411112005              431      Objections by Intl Bus Mach Inc to SCO's privilege log (blk) (Entered: 04112/2005)
   04/1112005              432      SEALED DOCUMENT filed by SCO entitled: Objections to IBM's privelege log and
                                    memo in support of SCO's request to compel IBM to provide proper bases for its
                                    privilege claims (blk) Modified on 8/4/2005 by unsealing document and adding image
                                    (blk, ). Additional attachment(s) added on 8/4/2005 (blk, ). (Entered: 04112/2005)
   04112/2005              435      Memorandum by Intl Bus Mach Inc in opposition to [429-1] ex parte motion to
                                    vacateladjourn the April 21, 2005 Argument on SCO's Motion to Amend Complaint
                                    (blk) (Entered: 04/15/2005)
   04/1312005              433      Reply by SCO Grp to response to [429-1] ex parte motion to vacateladjourn the April
                                    21,2005 Argument on SCO's Motion to Amend Complaint (blk) (Entered: 04113/2005)
   04/13/2005              434      Order denying [429-1] ex parte motion to vacateladjourn the April 21, 2005 Argument
                                    on SCO's Motion to Amend Complaint signed by Judge Dale A. Kimball, 4113/05
                                    cc:atty (blk) (Entered: 04114/2005)
   04/20/2005              436      Order granting in part, denying in part [403-1] motion for reconsideration of [377-1]
                                    order striking amended scheduling [177-1] order discovery due set for 4/22/05, [177-2]
                                    reliefmotion filing deadline set for 5/20105, [177-3] relief Final Pretrial Conference set
                                    for 2:30 10/10/05, [177-4] relief 5-Week Jury trial set for 8:30 1111105, [177-5] relief
                                    (see order for specifics) signed by Judge Brooke C. Wells, 4119105 cc:atty (blk)
                                    (Entered: 04/20/2005)
   04/2112005              437      Minute entry: Motion hearing held for [380-2] motion to intervene Goined with [340-1]
https:/lecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                            401103
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                                    motion by G2 Computer Intelligence), held for [380-3] motion to unseal court files
                                    Goined with [340-1] motion by G2 Computer Intelligence), held for [374-1] motion to
                                    compel IBM to produce Samuel J. Palmisano for deposition, [343-1] motion pursuant to
                                    Rule 56(f) in further opposition to IBM's Motion for Summary Jgm on SCO's Contract
                                    Claims, held for [340-1] motion to intervene and to unseal court's file by G2 Computer
                                    Intel [405-1] motion for entry of order limiting scope of IBM's ninth counterclaim taken
                                    under advisement, [380-2] motion to intervene Goined with [340-1] motion by G2
                                    Computer Intelligence) taken under advisement, [380-3] motion to unseal court files
                                    Goined with [340-1] motion by G2 Computer Intelligence) taken under advisement,
                                    [374-1] motion to compel IBM to produce Samuel J. Palmisano for deposition taken
                                    under advisement, [343-1] motion pursuant to Rule 56(f) in further opposition to IBM's
                                    Motion for Summary Jgm on SCO's Contract Claims taken under advisement, [340-1]
                                    motion to intervene and to unseal court's file by G2 Computer Intel taken under
                                    advisement, [322-1] motion to amend complaint (for leave to file 3rd amended
                                    complaint) taken under advisement; Judge: DAK Court Reporter: Kelly Hicken Court
                                    Deputy: Anne Morgan (kj) (Entered: 04/25/2005)
   04/28/2005              438      Order denying [380-2] motion to intervene Goined with [340-1] motion by G2
                                    Computer Intelligence), denying [380-3] motion to unseal court files Goined with [340-
                                    1] motion by G2 Computer Intelligence) signed by Judge Dale A. Kimball, 4/28/05
                                    cc:atty (blk) (Entered: 04/29/2005)
   05/02/2005              439      MOTION for order approving stipulation regarding responses to privilege log
                                    objections filed by Defendant International Business Machines Corporation. (blk, )
                                    (Entered: 05/02/2005)
   05/02/2005              440      ORDER granting/approving 439 Motion re: Responses to Privilege Log Objections ..
                                    Signed by Judge Dale A. Kimball on 5/2/05. (blk,) (Entered: 05/03/2005)
   05/03/2005              441      DECLARATION of Todd M. Shaughnessy filed by International Business Machines
                                    Corporation. (blk, ) (Entered: 05/04/2005)
   05/04/2005              442      REDACTION to 406 Sealed Document entitled: Memorandum in Opposition to SCOs
                                    Motion to Compel IBM to Produce Samuel J. Palmisano for Deposition by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 05/05/2005)
   05/04/2005              443      REDACTION to 332 Declaration ofIrving Wladawsky-Berger by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 05/05/2005)
   05/04/2005              444 REDACTION to 304 Sealed Document entitled: Opposition to SCOs Supplemental
                               Memorandum Regarding Discovery by Defendant International Business Machines
                               Corporation. (blk, ) (Entered: 05/05/2005)
   05/04/2005              445      REDACTION to 334 Declaration of Andrew Bonzani by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 05/05/2005)
   05/04/2005              446      REDACTION to 331 Declaration of Alec S. Berman by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 05/05/2005)
   05/04/2005              447      REDACTION to 407 Sealed Document entitled: Sur-reply Memorandum in Further
                                    Opposition to SCOs Motion for Leave to File a Third Amended Complaint by
                                    Defendant International Business Machines Corporation. (Attachments: # 1 exhibits a-
                                    m# 2. # 1 # ~)(blk, ) (Entered: 05/05/2005)
   05/04/2005              448      REDACTION to 333 Declaration of Samuel J. Palmisano by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 05/05/2005)
   OS/27/2005              449 NOTICE of regarding unsealing of documents pursuant to 4/28/05 order by
                               International Business Machines Corporation re 438 Order, (blk, ) (Entered:
https:/lecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             41/103
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                                    05/31/2005)
   OS/27/2005              450      STATUS REPORT in compliance with the courts 4/28/05 Order regarding the unsealing
                                    of documents by SCO Group. (blk, ) (Entered: 05/31/2005)
   06/03/2005              451      SCOs UPDATED REPORT in compliance with the Courts 4/28/05 order regarding the
                                    unsealing of documents by SCO Group. (blk, ) (Entered: 06/07/2005)
   06/16/2005              452      NOTICE of Unsealing by SCO Group (blk,) (Entered: 06/20/2005)
   06/20/2005              453      REDACTION to 271 Memorandum in Support of Motion by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 06127/2005)
   06/20/2005              454 REDACTION to 230 Sealed DocumentlMemo in Support by Defendant International
                               Business Machines Corporation. (Attachments: # 1 # 2)(blk, ) (Entered: 06/27/2005)
   06/20/2005              455      REDACTION to 257 Reply MemorandumlReply to Response to Motion by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 06/27/2005)
   06/20/2005              456      REDACTION to 252 Sealed Document/Declaration of Brian W. Kernighan by
                                    Defendant International Business Machines Corporation. (blk, ) (Entered: 06/27/2005)
   06/20/2005              457      REDACTION to 227 Declaration of Todd M. Shaughnessy, 228 Exhibits by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 06/27/2005)
   06/20/2005              458      REDACTION to 239 Sealed Document, 238 Exhibits, 237 Declaration of Amy F.
                                    Sorenson by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    06/27/2005)
   06/2012005              459 REDACTION to 250 Reply Declaration of Todd M. Shaughnessy, 251 Exhibits by
                               Defendant International Business Machines Corporation. NOTE: Document is
                               oversized, therefore it is not scanned into an electronic image and is stored in the clerks
                               office for viewing. (blk, ) (Entered: 06/27/2005)
   06/20/2005              460 REDACTION to Exhibits re: 239 Sealed Document, 238 Exhibits, 237 Declaration of
                               Amy F. Sorenson by Defendant International Business Machines Corporation. NOTE:
                               Document is oversized, therefore it is not scanned into an electronic image and is stored
                               in the clerks office for viewing. (blk, ) (Entered: 06/27/2005)
   06/20/2005              461      REDACTION to 241 Sealed Document/Memo in Support by Defendant International
                                    Business Machines Corporation. NOTE: Document is oversized, therefore it is not
                                    scanned into an electronic image and is stored in the clerks office for viewing. (blk, )
                                    (Entered: 06127/2005)
   06/2012005              462      REDACTION to Exhibits vol 1 227 Declaration, 228 Exhibits by Defendant
                                    International Business Machines Corporation. NOTE: Document is oversized, therefore
                                    it is not scanned into an electronic image and is stored in the clerks office for viewing.
                                    (blk, ) (Entered: 06/2712005)
   06/20/2005              463      REDACTION to Exhibits Vol 2 227 Declaration, 228 Exhibits by Defendant
                                    International Business Machines Corporation. NOTE: Document is oversized, therefore
                                    it is not scanned into an electronic image and is stored in the clerks office for viewing.
                                    (blk, ) (Entered: 06/27/2005)

   06/20/2005              464      REDACTION to Exhibit Vol 3 227 Declaration, 228 Exhibits by Defendant
                                    International Business Machines Corporation. NOTE: Document is oversized, therefore
                                    it is not scanned into an electronic image and is stored in the clerks office for viewing.
                                    (blk, ) (Entered: 0612712005)
   06/2712005              465      REDACTIONlUnsealed filing to 337 Sealed DocumentlMemo in Opposition by
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                            421103
   Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 85
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                                    Defendant International Business Machines Corporation. (blk, ) (Entered: 06/29/2005)
   07/0112005              466      MEMORANDUM DECISION denying 322 Motion to AmendiCorrectlFile Third
                                    Amended Complaint, granting 374 SCO Motion to Compel IBM to produce Samuel J.
                                    Palmisano for deposition, granting 405 motion for entry of order limiting scope ofIBM
                                    ninth counterclaim. IBM is directed to file a proposed order that restates its ninth
                                    counterclaim. An amended scheduling order is set forth in this order as is a procedure to
                                    follow when unsealing documents that were previously filed under seal. Signed by
                                    Judge Dale A. Kimball on 7/1105. (ce,) (Entered: 07/0112005)
   07/0112005                       Set DeadlineslHearings per order no 466: Discovery due by 3/17/2006. Motions due by
                                    7/28/2006. Pretrial Order due by 1119/2007. Five Week Jury Trial set for 2/26/2007
                                    08:30 AM in Room 220 before Judge Dale A. Kimball. (ce,) (Entered: 07/0112005)
   07/05/2005              467      REDACTION to 197 Sealed Document: Declaration of Sandeep Gupta by Plaintiff
                                    SCO Group. (blk,) (Entered: 07/14/2005)
   07/05/2005              468      REDACTION to 203 Sealed Document: Declaration of Chris Sontag by Plaintiff SCO
                                    Group. (blk,) (Entered: 07114/2005)
   07/05/2005              469      REDACTION to 350 Exhibit S-8 to Declaration of Jeremy O. Evans by PlaintiffSCO
                                    Group. (blk,) (Entered: 07114/2005)
   07/05/2005              470      REDACTION to 316 Reply Brief by PlaintiffSCO Group. (blk,) (Entered: 07114/2005)
   07/05/2005              472      REDACTION to 365 Sealed Document, by Plaintiff SCO Group. (blk, ) (Entered:
                                    08/04/2005)
   07/05/2005              473      NOTICE of filing: Letter from SCO to the Court dated 4/25105 by SCO Group (blk, )
                                    (Entered: 08/04/2005)
   07/05/2005              474 NOTICE offiling: Letter from SCO to the Court dated 4119/05 by SCO Group (blk,)
                               (Entered: 08/04/2005)
   07/05/2005              475      NOTICE of filing: Letter from IBM to the Court dated 4/28105 by International
                                    Business Machines Corporation (blk, ) (Entered: 08/04/2005)
   07/05/2005              476      REDACTION to 198 Declaration - Sealed Document by Plaintiff SCO Group. (blk, )
                                    (Entered: 08/04/2005)
   07/05/2005              477      REDACTION to 317 Declaration by Plaintiff SCO Group. (blk, ) (Entered: 08/04/2005)
   07/05/2005              478      REDACTION to 206 Exhibit-S3, by PlaintiffSCO Group. (blk,) (Entered: 08/04/2005)

   07/05/2005              479      REDACTION to 269 Reply Memorandum/Reply to Response to Motion by Plaintiff
                                    SCO Group. (blk, ) (Entered: 08/04/2005)
   07/05/2005              480      REDACTION to 419 Sealed Document Reply Memo re: SCO's Motion to Compel IBM
                                    to Produce Samuel J. Palmisano for Deposition by Plaintiff SCO Group. (blk, )
                                    (Entered: 08/04/2005)
   07/05/2005              481      REDACTION to 409 Sealed Document/ reply memo re: Renewed Motion to Compel
                                    Discovery by Plaintiff SCO Group. (b1k, ) (Entered: 08/04/2005)
   07/05/2005              482      REDACTION to 287 Sealed Document/Supplemental Memorandum re Discovery by
                                    Plaintiff SCO Group. (blk, ) (Entered: 08/04/2005)
   07/05/2005              484 REDACTION to 191 Sealed Document/Exhibits by Plaintiff SCO Group. (blk, )
                               (Entered: 08/04/2005)
   07/05/2005              485      REDACTION to 198 Sealed DocumentlExhibits by PlaintiffSCO Group. (blk,)
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             43/103
  Appellate Case: 16-4040                         Document: 01019681126                              Date Filed: 08/31/2016   Page: 86
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                                    (Entered: 08/04/2005)
  07/05/2005               486      REDACTION to 206 Exhibits, by Plaintiff SCO Group. (blk, ) Modified on 8/4/2005 by
                                    correcting filed date (blk, ). (Entered: 08/04/2005)
  07/05/2005               487      REDACTION to 206 Exhibits, (Part 2 of docket # 486 ) by Plaintiff SCO Group. (blk, )
                                    Modified on 8/4/2005 by correcting filed date (blk, ). (Entered: 08/04/2005)
   07/05/2005              488      REDACTION to 206 Exhibits, (additional to exhibits in # 486 by PlaintiffSCO Group.
                                    (Attachments: # 1 # 2 # .3.)(blk, ) (Entered: 08/0412005)
   07/05/2005              497      REDACTION to 197 Sealed Document Exhibits by PlaintiffSCO Group. (Attachments:
                                    # 1 # 2 #.3. # 1. # ~)(blk,) Additional attachment(s) added on 8/4/2005 (blk,). (Entered:
                                    08/04/2005)
   07/06/2005              483      REDACTION to 350 Exhibits by Plaintiff SCO Group. (blk, ) (Entered: 08/04/2005)
   07/06/2005              489      REDACTION to 317 Declaration Exhibits by Plaintiff SCO Group. (Attachments: # 1)
                                    (blk, ) (Entered: 08/04/2005)
   07/06/2005              490      REDACTION to 425 Exhibits to Sealed Document, by Plaintiff SCO Group. (blk, )
                                    (Entered: 08/04/2005)
   07/0612005              491      REDACTION to 432 Sealed Document Exibits, by Plaintiff SCO Group. (blk, )
                                    (Entered: 08/04/2005)
   07/06/2005              492      REDACTION to 293 Sealed Exhibits by Plaintiff SCO Group. (This document is
                                    oversized, therefore the image is only of the I st page. The full document may be viewed
                                    in the Clerks office.) (blk, ) Modified on 8/4/2005 by correcting filed date (blk, ).
                                    (Entered: 08/04/2005)
   07/06/2005              493      REDACTION to 365 Sealed Document Exhibits, by Plaintiff SCO Group.
                                    (Attachments: # l)(blk, ) Modified on 8/4/2005 by correcting filed date (blk, ). (Entered:
                                    08/04/2005)
   07/06/2005              494 REDACTION to 419 Sealed Document Exhibits by Plaintiff SCO Group. (blk, )
                               (Entered: 08/04/2005)
   07/0612005              495      REDACTION to 323 Exhibits to Memorandum in Support of Motion by PlaintiffSCO
                                    Group. (Attachments: # 1 # 2)(blk, ) (Entered: 08/04/2005)
   07/06/2005              496      REDACTION to 409 Sealed Document Exhibits by Plaintiff SCO Group. (blk, )
                                    (Entered: 08/04/2005)
   07/28/2005              498      REDACTION to 323 Memorandum in Support of Motion by PlaintiffSCO Group. (blk,
                                    ) (Entered: 08/04/2005)
   07/28/2005              499      REDACTION to 323 Exhibit 7 of Memorandum in Support of Motion by PlaintiffSCO
                                    Group. (blk, ) (Entered: 08/04/2005)
   08/0112005              471      ORDER Limiting the Scope ofIBM's Ninth Counterclaim. Signed by Judge Dale A.
                                    Kimball on 8/1/05. (ce,) (Entered: 08/02/2005)
   0811912005              500      CERTIFICATE OF SERVICE re: discovery by International Business Machines
                                    Corporation (blk, ) (Entered: 08/23/2005)
   08/1912005              501      CERTIFICATE OF SERVICE re: discovery by International Business Machines
                                    Corporation (blk, ) (Entered: 08/23/2005)
  09/06/2005               502      **RESTRICTED DOCUMENT** TRANSCRIPT of Proceedings held on
                                    SEPTEMBER 15, 2004(ARGUMENT ON MOTION) before Judge DALE A.

https://ecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             441103
    Appellate Case: 16-4040                          Document: 01019681126                              Date Filed: 08/31/2016   Page: 87
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                                    KIMBALL. Court Reporter: REBECCA JANKE. (asp) (Entered: 09/06/2005)
   09/06/2005              503      RENEWED MOTION to Compel discovery filed by Plaintiff SCO Group. (kvs, )
                                    (Entered: 09/07/2005)
   09/06/2005              504 REDACTED MEMORANDUM in Support re 503 RENEWED MOTION to Compel
                               discovery filed by Plaintiff SCO Group. (kvs, ) Modified on 9/7/2005 (kvs, ). (Entered:
                               09/07/2005)
   09/1212005              505      NOTICE OF HEARING ON MOTION re: 503 MOTION to Compel discovery:
                                    Motion Hearing set for 10/7/2005 at 10:00 AM in Room 436 before Magistrate Judge
                                    Brooke C. Wells. (jwd, ) (Entered: 09112/2005)
   09/1212005              506 MOTION/ORDER granting motion for Admission Pro Hac Vice for of J. Matthew
                               Donohue for SCO Group.
                               Attorneys admitted pro hac vice may download a copy of the District of Utah's local
                               rules from court's web site at http://www.utd.uscourts.gov. Signed by Judge Dale A.
                               Kimball on 9112/05. (blk, ) (Entered: 09113/2005)
   09112/2005              507 MOTION/ORDER granting motion for Admission Pro Hac Vice for of Daniel P. Filor
                               for SCO Group.
                               Attorneys admitted pro hac vice may download a copy of the District of Utah's local
                               rules from court's web site at http://www.utd.uscourts.gov. Signed by Judge Dale A.
                               Kimball on 9112/05. (blk, ) (Entered: 09/13/2005)
   09/20/2005              508      Expedited MOTION and Supporting Memorandum for Discovery/for leave to take
                                    additional depositions filed by Plaintiff SCO Group. (blk, ) (Entered: 09/2112005)
   09/20/2005              509      CERTIFICATE OF SERVICE re: discovery by International Business Machines
                                    Corporation (blk, ) (Entered: 09/2112005)
   09/2112005              510 AMENDED NOTICE OF HEARING ON MOTION re: 365 Renewed Motion by
                               SCO Group to Compel Discovery, 503 MOTION to Compel discovery, 508 MOTION
                               for Discovery: Motion Hearing set for 10/7/2005 10:00 AM in Room 436 before
                               Magistrate Judge Brooke C. Wells. (jwd,) (Entered: 09/2112005)
   09/2112005              511      STIPULATION/MOTION for Extension of Time to Respond to Renewed Motion to
                                    Compel filed by Defendant International Business Machines Corporation. (blk, )
                                    (Entered: 09/23/2005)
   09/23/2005              512      ORDER granting 511 Motion for Extension of Time to respond to renewed motion to
                                    compel by 9/26/05. Signed by Judge Dale A. Kimball on 9/22/05. (blk,) (Entered:
                                    09/26/2005)
   09/26/2005              513      MEMORANDUM in Opposition re 503 SCO's Renewed MOTION to Compel
                                    discovery filed by Defendant International Business Machines Corporation. (ce, )
                                    (Entered: 09/27/2005)
   09/26/2005              514 MOTION to Compel production of documents on SCO's privilege log filed by
                               Defendant International Business Machines Corporation. Oral argument requested. (ce,
                               ) (Entered: 09/27/2005)
   09/26/2005              515      REQUEST for Oral Argument re 514 MOTION to Compel production of documents on
                                    SCO's privilege log filed by Defendant International Business Machines Corporation.
                                    (ce, ) (Entered: 09/27/2005)
   09/26/2005              516 MEMORANDUM in Support re 514 MOTION to Compel production of documents on
                               SCO's privilege log filed by Defendant International Business Machines Corporation.
                               (ce,) (Entered: 09/27/2005)

https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                               45/103
   Appellate Case: 16-4040                          Document: 01019681126                              Date Filed: 08/31/2016   Page: 88
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  09/26/2005               517 DECLARATION of Daniel Frye re 514 MOTION to Compel production of documents
                               on SCO's privilege log filed by International Business Machines Corporation. (ce, )
                               (Entered: 09/27/2005)

   09/26/2005              518      DECLARATION of Todd M. Shaughnessy re 513 Memorandum in Opposition to
                                    Motion filed by International Business Machines Corporation. (blk, ) (Entered:
                                    09/29/2005)
   09/26/2005              519 DECLARATION of Amy F. Sorenson re 514 MOTION to Compel production of
                               documents on SCO's privilege log filed by International Business Machines
                               Corporation. (Attachments: # 1 2nd half of document)(blk, ) (Entered: 09/29/2005)
   09/26/2005              520      **SEALED DOCUMENT** Attachment E to Exhibit 2 re 518 Declaration of Todd M.
                                    Shaughnessy in Support ofIBM's Opposition to SCO's Renewed Motion to Compel
                                    filed by Defendant International Business Machines Corporation. (ce, ) (Entered:
                                    09/29/2005)
   09/30/2005              521      SECOND AMENDED NOTICE OF HEARING ON MOTION re: 365 Renewed
                                    Motion by SCO Group to Compel Discovery, 503 MOTION to Compel discovery, 508
                                    MOTION for Discovery: Motion Hearing remains set for 10/7/2005 at 10:00 AM before
                                    Magistrate Judge Brooke C. Wells, however, it will be heard in Courtroom 220. Gwd, )
                                    (Entered: 09/30/2005)
   10105/2005              522      REPLY to Response to Motion re 503 MOTION to Compel discovery filed by Plaintiff
                                    SCO Group. (blk,) (Entered: 10106/2005)
   10106/2005              523      MEMORANDUM in Opposition re 508 MOTION for Discoverylto take additional
                                    depositions filed by Defendant International Business Machines Corporation. (blk, )
                                    (Entered: 10106/2005)
   10106/2005              525      STIPULATION of Dismissal re: Counterclaims by International Business Machines
                                    Corporation. (blk, ) (Entered: 10/12/2005)
   10107/2005              524 Minute Entry for proceedings held before Judge Brooke C. Wells: Motion Hearing held
                               on 10/7/2005 re 503 MOTION to Compel discovery filed by SCO Group" 508
                               MOTION for Discovery filed by SCO Group. The Court hears arguments and rules
                               from bench: denying 503 Motion to Compel, granting in part and denying in part 508
                               Motion for Discovery - see order for specifics. Counsel for IBM to prepare the order.
                               Hearing set for 12/20105 at 10:00 a.m. as to dft's remaining motion to compel and pIa's
                               renewed motion to be filed by 10/21105. The Courtroom is to be determined, a notice of
                               hearing will be sent. Court is adjouned.Attorney for Plaintiff: Stuart Singer, Attorney for
                               Defendant David Marriott.(Court Reporter Kelly Hicken.) (alp,) (Entered: 10107/2005)
   1011112005              526      ORDER that IBMs 11th counterclaim, 12th counterclaim, and 13th counterclaim, from
                                    IBMs 2nd Amd Counterclaims be dismissed with prejudice, each party to bear own
                                    costs and fees. Re 525 Stipulation of Dismissal filed by International Business
                                    Machines Corporation, . Signed by Judge Dale A. Kimball on 10110105. (blk,) (Entered:
                                    10112/2005)
   10/1112005              527      UNSEALED DECLARATION of Todd M. Shaughnessy re 345 Sealed Document filed
                                    by International Business Machines Corporation. (TAKE NOTE: This document is
                                    oversized. Only the main declaration is scanned into an image. The exhibits are not
                                    scanned. The complete document is retained in the clerks office for viewing.) (blk, )
                                    (Entered: 10/13/2005)
   10111/2005              528      UNSEALED DECLARATION of Amy F. Sorenson re 220 Sealed Document, 219
                                    Declaration filed by International Business Machines Corporation. (TAKE NOTE: This
                                    document is oversized and only the declaration is scanned into an image. The exhibits
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                               461103
    Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 89
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                                    are not scanned. The entire document is retained in the clerks office for viewing.) (blk, )
                                    (Entered: 10/13/2005)
   10/11/2005              529 NOTICE of unsealing documents by International Business Machines Corporation re
                               527 Declaration" 528 Declaration, (blk,) (Entered: 10113/2005)
   10113/2005              530      ORDER re 503 MOTION to Compel discovery filed by SCO Group, 508 MOTION for
                                    Discovery filed by SCO Group, 366 Motion to Compel filed by SCO Group. Signed by
                                    Judge Brooke C. Wells on 10112/05. (ce,) (Entered: 10118/2005)
   10/17/2005              531      STIPULATED MOTION for Extension of Time Until 10/21105 to File ResponselReply
                                    to 514 MOTION to Compel production of documents on SCO's privilege log filed by
                                    Defendant International Business Machines Corporation, Plaintiff SCO Group. (ce, )
                                    (Entered: 10/19/2005)
   10/18/2005              533      ORDER re 531 sStipulated MOTION for Extension of Time to File Response/Reply as
                                    to 514 MOTION to Compel production of documents on SCO's privilege log filed by
                                    International Business Machines Corporation, SCO Group. SCO's memo in opposition
                                    to IBM's motion to compel production of documents on SCO's privilege log is due
                                    10/21105. Signed by Judge Dale A. Kimball on 10/18/05. (ce,) (Entered: 10/2112005)
   10/20/2005              532      ORDER granting 531 Stipulated Motion for Extension of Time to File ResponselReply
                                    to 514 MOTION to Compel production of documents on SCO's privilege log. SCO is to
                                    file their opposition by 10/21105. IBM is to file any reply by 1114/2005. By Judge
                                    Brooke C. Wells on 10/20/05. (mjw, ) (Entered: 10/20/2005)
   10/2112005              534 Plas New Renewed MOTION to Compel Discovery filed by Plaintiff SCO Group. (blk,
                               ) (Entered: 10/24/2005)
   10/2112005              535      MEMORANDUM in Opposition re 514 MOTION to Compel production of documents
                                    on SCO's privilege log filed by PlaintiffSCO Group. (blk,) (Entered: 10/24/2005)
   10/27/2005              537 MOTION to Compel Discovery filed by Plaintiff SCO Group. (blk, ) (Entered:
                               10/3112005)
   10/27/2005              538      MEMORANDUM in Support re 537 MOTION to Compel Discovery filed by Plaintiff
                                    SCO Group. (blk, ) (Entered: 10/3112005)
   10/27/2005              539      OBJECTIONS to 530 Order of Magistrate dated 10/12/05 filed by PlaintiffSCO Group.
                                    (blk, ) (Entered: 10/3112005)

   10/27/2005              540 Memorandum in Support re 539 Objections filed by Plaintiff SCO Group. (blk, )
                               (Entered: 10/31/2005)
   10/28/2005              536      NOTICE OF HEARING ON MOTION re: 514 MOTION to Compel production of
                                    documents on SCO's privilege log, 534 MOTION to Compel Discovery: Motion
                                    Hearing set for 12/20/2005 at 10:00 AM in Room 220 before Magistrate Judge Brooke
                                    C. Wells. (jwd,) (Entered: 10/28/2005)
   10/28/2005              541      **SEALED DOCUMENT**entitled: SCO's Revised Supplemental Response to Dfts
                                    Six Sets of Interrogatories filed by Plaintiff SCO Group. (blk, ) (Entered: 1110112005)
   10/28/2005              542 NOTICE OF FILING of Interim Disclosure of Material Misused by IBM filed by
                               Plaintiff SCO Group. (blk, ) (Entered: 1110112005)
   10/28/2005              543      CERTIFICATE OF SERVICE of Subpoena Duces Tecum upon KPMG by International
                                    Business Machines Corporation (blk, ) (Entered: 11/0112005)
   10/28/2005              544      **SEALED DOCUMENT** Exhibit 1 re 542 Notice of Filing filed by PlaintiffSCO
                                    Group. (Clerks Note: Document is oversized and not scanned. It will be retained in the
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             47/103
    Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 90
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                                    courts sealed room) (blk, ) (Entered: 1110112005)
   10/31/2005              545      **SEALED DOCUMENT**APPENDIX VOLUMES I THROUGH X to 544 Sealed
                                    Document - Exhibit 1 to SCOs Interim disclosure of Material Misused by IBM filed by
                                    Plaintiff SCO Group. (CLERKS NOTE: These Appendixes are oversized (not scanned)
                                    and housed in 5 bankers boxes. They will be retained in the courts sealed room. They
                                    were also filed on disk for the use of the Judges Chambers) (blk,) (Entered:
                                    11101/2005)

   1110112005              546      NOTICE OF HEARING: (Notice generated by Kim Jones) Status Conference set for
                                    1113/2005 10:30 AM in Room 220 before Judge Dale A. Kimball. (kmj, ) (Entered:
                                    1110112005)
   11103/2005              547      **SEALED DOCUMENT** Corrections to 544 Sealed DocumentlExhibit 1 to SCOs
                                    Interim Disclosure of Material Misused by IBM filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 11104/2005)
   11104/2005              548      MOTION for Extension of Time to File Response/Reply by 11111105 as to ill
                                    MOTION to Compel production of documents on SCO's privilege log filed by
                                    Defendant International Business Machines Corporation. (blk, ) (Entered: 11107/2005)
   11108/2005              549      ORDER granting 548 Motion for Extension of Time to File Response/Reply re 514
                                    MOTION to Compel production of documents on SCO's privilege log Replies due by
                                    1111112005 .. Signed by Judge Dale A. Kimball on 1117/05. (blk, ) (Entered: 11108/2005)
   11108/2005              550 NOTICE OF/CERTIFICATE OF SERVICE re: subpoena upon Arthur Anderson LLP
                               c/o CT Corporation System by International Business Machines Corporation (blk, )
                               (Entered: 11109/2005)
   11108/2005              551      NOTICE OF/CERTIFICATE OF SERVICE of subpoena upon Ernst & Young LLP c/o
                                    David R. Jolley by International Business Machines Corporation (blk, ) (Entered:
                                    11109/2005)
   11/08/2005              552      MEMORANDUM in Opposition re 534 New Renewed MOTION to Compel Discovery
                                    filed by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    11109/2005)
   11109/2005              553      AFFIDAVIT OF SERVICE for subpoena served on KPMG/Craig Orner on 10/31105,
                                    filed by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    1111 012005)
   1110912005              554      CERTIFICATE OF SERVICE of Subpoena Duces Tecum upon Deloitte & Toche c/o
                                    Paul G. Child by International Business Machines Corporation (blk, ) (Entered:
                                    11110/2005)
   11110/2005              555      STIPULATED MOTION for Extension of Time until 12/8/05 for dft to file its reply
                                    memorandum in support of its motion to compel production of documents from SCO
                                    privilege log filed by Defendant International Business Machines Corporation, Plaintiff
                                    SCO Group. (kvs,) (Entered: 11/14/2005)
   11114/2005              556      ORDER granting 555 Motion for Extension of Time to file reply memo by 12/8/05.
                                    Signed by Judge Dale A. Kimball on 11114/05. (blk,) (Entered: 11114/2005)
   11114/2005              557      STIPULATIONIMOTION for Extension of Time for IBM to respond to SCOs Motion
                                    to Compel Discovery by 11121105, and for IBM to respond to SCO's Objection to
                                    Magistrates Order of 10/12/05 by 11121105 filed by Defendant International Business
                                    Machines Corporation. (blk, ) (Entered: 11115/2005)

   11114/2005              558      **RESTRICTED DOCUMENT** RETURN OF SERVICE Executed for Subpoena
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             481103
   Appellate Case: 16-4040                         Document: 01019681126                             Date Filed: 08/31/2016   Page: 91
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                                    served on Deloitte & Touche, c/o Thomas T. Rich on 1119/05, filed by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 11115/2005)
   11114/2005              559      **RESTRICTED DOCUMENT** RETURN OF SERVICE Executed for Subpoena
                                    served on Ernst & Young, clo David Jolley on 1118/05, filed by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 1111512005)
   1111712005              560      **RESTRICTED DOCUMENT** RETURN OF SERVICE Executed for Subpoena
                                    served on Arthur Andersen c.o CT corporation System on 1119/05, filed by Defendant
                                    International Business Machines Corporation. (kvs, ) (Entered: 11118/2005)
   1112112005              561      MEMORANDUM in Opposition re 537 MOTION to Compel Discovery filed by
                                    Defendant International Business Machines Corporation. (blk, ) (Entered: 11122/2005)
   11/2112005              562      Opposition Memorandum re 539 Objections to Magistrates Decision of 10112/05 filed
                                    by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    11/22/2005)
   1112312005              563      ORDER granting 557 Motion for Extension of Time . Signed by Judge Dale A. Kimball
                                    on 11123/05. (blk, ) (Entered: 11123/2005)
   11123/2005              564 REPLY to Response to Motion re 534 New Renewed MOTION to Compel Discovery
                               filed by Plaintiff SCO Group. (blk, ) (Entered: 11128/2005)
   12/02/2005              565      NOTICE OF MISCELLANEQUS HEARING: (Notice generated by Kim Jones)
                                    Miscellaneous Hearing re: objections to Magistrate Order set for 12/13/2005 10:30 AM
                                    in Room 220. (kmj,) (Entered: 12/02/2005)
   12/06/2005              566      REPLY to Response to Motion re 537 MOTION to Compel Discovery filed by Plaintiff
                                    SCO Group. (blk,) (Entered: 12/07/2005)
   12/0612005              567      Reply Memorandum in support of 539 Objections filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 12/07/2005)
   12/07/2005              568      MOTION to Seal re 566 Reply Memorandum/Reply to Response to Motion filed by
                                    Plaintiff SCO Group. (blk, ) (Entered: 12/07/2005)
   12/07/2005              569      MOTION to Seal re 567 Memorandum (NOT to motion) filed by Plaintiff SCO Group.
                                    (blk, ) (Entered: 12/0712005)
   12/07/2005              570      STIPULATION RE: Scheduling Order by International Business Machines Corporation.
                                    (blk, ) (Entered: 12/09/2005)
   12/08/2005              572      REDACTION to 571 Sealed Document: IBM's Reply Memorandum in Support of
                                    Motion to Compel Production of Documents on SCO' Privilege Log by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 12/09/2005)
   12/08/2005              574      STIPULATION & MOTION for entry of order eliminating the numerical limit on
                                    requests for admission contained in the Scheduling Order entered by Magistrate Judge
                                    Nuffer on 6120/03 filed by Defendant International Business Machines Corporation.
                                    (blk, ) Modified on 12/9/2005 (blk, ). (Entered: 12/09/2005)
   12/08/2005              579      **SEALED DOCUMENT** Exhibit 4 to 578 Declaration of Todd M. Shaughnessy,
                                    filed by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    12/12/2005)
   12/09/2005              575      ORDER granting 574 Motion to eliminate limitations on the number of requests for
                                    admissions. Signed by Judge Brooke C. Wells on 12/9/05. (blk, ) (Entered: 12/12/2005)
   12/0912005              576      ORDER granting 568 Motion to Seal. Signed by Judge Dale A. Kimball on 12/8105.

https://ecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             491103
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                                    (blk, ) (Entered: 12/12/2005)
   12/09/2005              577      ORDER granting 569 Motion to Seal. Signed by Judge Dale A. Kimball on 12/8/05.
                                    (blk, ) (Entered: 12/12/2005)
   12/09/2005              578      DECLARATION of Todd M. Shaughnessy re 573 IBM's Reply Memo in Support of
                                    Motion to Compel Production of Documents on SCOs Privilege Log, filed by
                                    International Business Machines Corporation. (Clerks Note: This document is the same
                                    as 571 Sealed Declaration, which was filed mistakenly under seal) (blk, ) (Entered:
                                    12112/2005)
   12113/2005              580 Minute Entry for proceedings held before Judge Dale A. Kimball : Miscellaneous
                               Hearing re: pIa's objections to Magistrate Judge's order held on 12/13/2005. After
                               hearing the arguments of counsel, the Court took the matter under advisement.Attorney
                               for Plaintiff: Ted Normand & Brent Hatch, Attorney for Defendant David Marriott &
                               Todd Shaunessy.(Court Reporter: Mindy Powers.) (kmj,) (Entered: 12113/2005)

   12114/2005              581      CERTIFICATE OF SERVICE re: discovery by International Business Machines
                                    Corporation (kIa, ) (Entered: 12/15/2005)
   12/14/2005              582 MOTION for Protective Order filed by Plaintiff SCO Group. (blk, ) (Entered:
                               12116/2005)
   12115/2005              584      ORDER RE: Requests for Admission. It is hereby ordered that the limit on the number
                                    of requests for admission contained in the Scheduling Order entered by Magistrate
                                    Judge Nuffer on 6/20/03 be and hereby is eliminated .. Signed by Judge Dale A. Kimball
                                    on 12/9/05. (blk,) (Entered: 12116/2005)
   12116/2005              583      ORDER overruling SCO's Objection to Magistrate Judge's Order of October 12, 2005
                                    and AFFIRMING Magistrate Judge's Order. Signed by Judge Dale A. Kimball on
                                    12116/05. (awm,) (Entered: 12/16/2005)
   12116/2005              585      CERTIFICATE OF SERVICE re: discovery by International Business Machines
                                    Corporation (kIa, ) (Entered: 12119/2005)
   12/20/2005              586      ORDER Regarding Third Party Subpoena Production. Signed by Judge Brooke C.
                                    Wells on 12120/05. (blk, ) (Entered: 12/2012005)
   12/20/2005              587 Minute Entry for proceedings held before Judge Brooke C. Wells :, Motion Hearing
                               held on 12/20/2005. Counsel for both parties present. The Court hears oral argument
                               and rules as follows: re 537 MOTION to Compel Discovery filed by SCO Group-
                               GRANTED IN PART, DENIED IN PART - Affidavits to be provided by 116/06, re: 514
                               MOTION to Compel production of documents on SCO's privilege log filed by
                               International Business Machines Corporation - GRANTED - log to be provided by
                               116/06; re: 534 MOTION to Compel Discovery filed by SCO Group - FINDING AS
                               MOOT - based on Judge Kimball's ruling; 582 MOTION for Protective Order filed by
                               SCO Group - FINDING AS MOOT - The parties have reached a resolution and an order
                               is executed and filed in open court. Order to be prepared by defendant; See order for
                               specifics. Court is adjourned.Attorney for Plaintiff: Edward Normand, Attorney for
                               Defendant David Marriott, Todd Shaughnessy.(Court Reporter Kelly Hicken.) (alp,)
                               (Entered: 12/20/2005)
   12/2112005              588 Modification of Docket: Error: The previous minute entry contains an error as to ruling
                               on motions. Correction: Motion 534 is GRANTED IN PART AND DENIED IN PART
                               with affidavits due on 116/06; Motion 537 is MOOT per Judge Kimball's ruling. (alp,)
                               (Entered: 12/2112005)
   12/2112005                       Minute Entry for proceedings held before Judge Brooke C. Wells : Telephone

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                                    Conference held on 1212112005. Court hears discussion by both parties re: Requests for
                                    Admissions (RFAs). Due date of 1120106 is set for both parties, for both discovery
                                    periods. Parties will agree to any additional RFAs that may be provided after
                                    1I20106.Attorney for Plaintiff: Ted Normand, Attorney for Defendant Todd
                                    Shaughnessey. (alp, ) (Entered: 12/2112005)

   12/2212005                       Modification of Docket: Error: the minute entry for the previous teleconference states
                                    that the due date for RFAs for both parties and both discovery periods is 1120106.
                                    Correction: After further clarification, the order will be that the RFAs for the INITIAL
                                    discovery period will be 1120106. The rest of the order stands. (alp, ) (Entered:
                                    12/2212005)
   12/2212005              589 NOTICE OF FILING of Disclosure of Material Misused by IBM filed by PlaintiffSCO
                               Group. (blk,) (Entered: 12127/2005)
   12/2212005              590      **SEALED DOCUMENT**Entitled: SCOs Second Revised Supplemental Response
                                    to Defendants Six Sets of Interrogatories filed by Plaintiff SCO Group. (blk, ) (Entered:
                                    12127/2005)
   12/2212005              591      **SEALED DOCUMENT** Entitled: Appendix Volumes I-XX to 589 Disclosure of
                                    Material Misused by IBM filed by PlaintiffSCO Group. (CLERKS NOTE: Appendix
                                    volumes are oversized, therefore they are not scanned into electronic images for
                                    attachment to docket event. They are contained in 7 labled boxes. They will be retained
                                    in the 5th floor sealed room for viewing by the court, and by persons with authorization
                                    to view by court order only.) (blk, ) (Entered: 12127/2005)
   12129/2005              592 MOTION to Compel Discovery filed by Plaintiff SCO Group. (blk, ) (Entered:
                               01103/2006)
   12129/2005              593      MOTION for Leave to File Excess Pages filed by Plaintiff SCO Group. (blk, ) (Entered:
                                    0110312006)
   12129/2005              594      **SEALED DOCUMENT** Memorandum in Support re 592 MOTION to Compel
                                    Discovery filed by Plaintiff SCO Group. (blk, ) (Entered: 01103/2006)
   01103/2006              595      **SEALED DOCUMENT** DECLARATION of Mark F. James re 592 MOTION to
                                    Compel Discovery filed by SCO Group. (Clerks Note: Exhibits to this are oversized and
                                    have not been scanned and attached as an electronic image. Document will be retained
                                    in the clerks office sealed room.) (blk, ) Modified on 116/2006 - sealed document (rak, ).
                                    (Entered: 01103/2006)
   01106/2006              596      ORDER granting 593 Motion for Leave to File Excess Pages by Judge Brooke C. Wells
                                    on 116/06. (mjw,) (Entered: 01106/2006)
   01106/2006              597 DECLARATION of Nicholas S. Bowen filed by International Business Machines
                               Corporation. (kIa, ) (Entered: 01109/2006)
   0110612006              598 DECLARATION of Paul M. Hom filed by International Business Machines
                               Corporation. (kIa, ) (Entered: 0110912006)
   0111112006              599      **RESTRICTED DOCUMENT** RETURN OF SERVICEIAcceptance of Service
                                    Executed for Subpoena served on PricewaterhouseCoopers LLC, Ivan P. Stolze on
                                    114/06, filed by Defendant International Business Machines Corporation. (blk, )
                                    (Entered: 0111212006)
   01117/2006              600 MEMORANDUM in Opposition re 592 MOTION to Compel Discovery filed by
                               Defendant International Business Machines Corporation. (blk,) (Entered: 0111912006)
   0111712006              601      DECLARATION of Todd M. Shaughnessy filed by International Business Machines

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                                    Corporation. (blk, ) (Entered: 01119/2006)
   01119/2006               602     Minute Entry for proceedings held before Judge Brooke C. Wells : Telephone
                                    Conference held on 111912006 re: Interpretation of order 184 as to production of
                                    affidavits or de1carations to be used at deposition. Parties to prepare order. Attorney for
                                    Plaintiff: Ted Normand, Attorney for Defendant David Marriott. (alp,) (Entered:
                                    01/19/2006)
   01124/2006               603     **RESTRICTED DOCUMENT** TRANSCRIPT of Proceedings held on December
                                    13, 2005(Miscellaneous Hearing) before Judge DALE A. KIMBALL. Court Reporter:
                                    Mindi Powers. (asp,) (Entered: 01124/2006)
   01126/2006               604 Minute Entry for proceedings held before Judge Brooke C. Wells : Telephone
                                Conference held on 112612006. The Court hears arguments as to depositions as rules as
                                follows: The depositions of Otis Wilson and Ted Kennedy ONLY may be extended by
                                30 days (by 2/26/05). Counsel are to agree on the date and time. As to Mr. Wilson - he
                                is not to be subjected to any questions other than reasonable inferences re: new
                                information ONLY. As to the depositions of the three corporations addressed by SCO,
                                the Court will not address this except via motion, which SCO may file.Attorney for
                                Plaintiff: Ted Normand, Attorney for Defendant Todd Shaughnessey. (alp,) (Entered:
                                01126/2006)
   01127/2006               607     MOTION for Leave to Take Certain Prospective Depositions filed by Plaintiff SCO
                                    Group (alt) (Entered: 01/3112006)
   0113112006              605      CERTIFICATE OF SERVICE by International Business Machines Corporation to
                                    seo's Ninth Requestfor the Production ofDocuments (Shaughnessy, Todd) Modified
                                    on 1/3112006 - the incorrect PDF was attached to this entry. This certificate of service
                                    will be re-efiled by counsel. (ce, ). (Entered: 01/3112006)
   01/3112006              606      CERTIFICATE OF SERVICE by International Business Machines Corporation to
                                    seo's Sixth Set ofInterrogatories (Shaughnessy, Todd) (Entered: 0113112006)
   0113112006              608      CERTIFICATE OF SERVICE by International Business Machines Corporation ofIBM's
                                    Responses and Objections to seo's Ninth Requestfor the Production ofDocuments
                                    (Shaughnessy, Todd) (Entered: 0113112006)
   0113112006              609      Modification of Docket: Error: incorrect PDF was attached to entry no. 605. Correction:
                                    the docket text of this entry was modified to reflect that counsel will re-efile the
                                    CERTIFICATE OF SERVICE by International Business Machines Corporation of
                                    IBM's Responses and Objections to SCO's Ninth Request for the Production of
                                    Documents. (ce, ) (Entered: 0113112006)
   0113112006              610      **SEALED DOCUMENT** Reply Memorandum in Support of 592 MOTION to
                                    Compel Discovery filed by Plaintiff SCO Group. (blk, ) (Entered: 02/03/2006)
   02/0112006              611      REDACTION to 610 Sealed Document entitled: Reply Memorandum in Support of
                                    Motion to Compel Discovery by Plaintiff SCO Group. (blk, ) (Entered: 02/03/2006)
   02/07/2006              612      NOTICE of Appearance by Mark A. Wagner on behalf of Intel Corporation (kIa, )
                                    (Entered: 02/08/2006)
   02/07/2006              613      RESPONSE to Motion re 607 MOTION for Leave to Take Certain Prospective
                                    Depositions filed by Interested Party Intel Corporation. (kIa, ) (Entered: 02/08/2006)
   02/08/2006              614      MOTIONIORDER granting motion for Admission Pro Hac Vice for of Jessica L.
                                    Everett-Garcia for Intel Corporation, Anthony L. Marks for Intel Corporation.
                                    Attorneys admitted pro hac vice may download a copy of the District of Utah's local
                                    rules from court's web site at http://www.utd.uscourts.gov. Signed by Judge Dale A.
https:ffecf.utd.uscourts.gov/cgi-binfDktRpt.pl?153746270523261-L_1_1-1                                                            521103
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                                    Kimball on 2/8/06. (blk,) Additional attachment(s) added on 2/8/2006 (blk,). (Entered:
                                    02/08/2006)
   02/08/2006              615      Modification of Docket: Error: Document image did not attach to docket entry.
                                    Correction: Attached document image to docket entry and to this entry for viewing and
                                    downloading. re 614 Motion/Order Pro Hac Vice,. (blk,) (Entered: 02/08/2006)
   02/1012006              616      NOTICE OF HEARING ON MOTION re: 607 MOTION for Leave to Take Certain
                                    Prospective Depositions, 592 MOTION to Compel Discovery: Motion Hearing set for
                                    212412006 at 09:30 AM in Room 220 before Magistrate Judge Brooke C. Wells. (jwd, )
                                    (Entered: 0211 0/2006)
   02110/2006              618      REDACTION to 592 MOTION to Compel Discovery entitled: Declaration of Mark F.
                                    James in Support of Plaintiffs Motion to Compel by Plaintiff SCO Group. (kla, )
                                    (Entered: 02113/2006)
   02110/2006              621      REDACTION to 592 MOTION to Compel Discovery entitled: Memorandum in
                                    Support of Plaintiffs Motion to Compel by Plaintiff SCO Group. (Attachments: # 1
                                    Exhibit 1 - Plaintiffs Fifth Request for Production of Documents# 2. Exhibit 2 - IBM's
                                    Responses and Objections to SCO's Fifth Request for the Production of Documents# .3.
                                    Exhibit 3 to 17 Filed Under Seal# 1. Exhibit 18 - Plaintiffs Seventh Request for
                                    Production of Documents# ,2 Exhibit 19 - IBM's Responses and Objections to SCO's
                                    Seventh Request for the Production of Documents# Q Exhibit 20 to 21 Filed Under
                                    Seal# 1 Exhibit 22 - SCO's Amended Notice of30(b)(6) Deposition#.8. Exhibit 23 -
                                    Correspondence# .2. Exhibit 24 to 29 Filed Under Seal# 10 Exhibit 30 - SCO's Amended
                                    Notice of 30(b)(6) Deposition# 11 Exhibit 31 - Correspondence# 12. Exhibit 32 to 33
                                    Filed Under Seal# 11 Exhibit 34 - Correspondence)(kla, ) (Entered: 02/13/2006)
   02113/2006              617      MEMORANDUM in Opposition re 607 MOTION for Leave to Take Certain
                                    Prospective Depositions filed by Defendant International Business Machines
                                    Corporation. (Attachments: # 1 # 2. # .3. # 1.)(Shaughnessy, Todd) (Entered: 02/13/2006)
   02113/2006              619      Defendant's MOTION to Limit SCO's Claims Relating to Allegedly Misused Material
                                    filed by Defendant International Business Machines Corporation. (Shaughnessy, Todd)
                                    (Entered: 02113/2006)
   02/13/2006              620      MEMORANDUM in Support re 619 Defendant's MOTION to Limit SCO's Claims
                                    Relating to Allegedly Misused Material filed by Defendant International Business
                                    Machines Corporation. (Attachments: # 1 Exhibit A,B)(Shaughnessy, Todd) (Entered:
                                    02113/2006)
   02/13/2006              622      AMENDED NOTICE OF HEARING ON MOTION re: 607 MOTION for Leave to
                                    Take Certain Prospective Depositions, 592 MOTION to Compel Discovery: Motion
                                    Hearing previously set for 2/24/2006 at 09:30 AM in Room 220 before Magistrate
                                    Judge Brooke C. Wells has been reset for 212412006 at 2:30 PM in Room 220 before
                                    Magistrate Judge Brooke C. Wells. Please note the change in time from 9:30 AM to
                                    2:30 PM. (jwd, ) (Entered: 02/13/2006)
   0211312006              623      **SEALED DOCUMENT** Exhibit 4 to 617 Memorandum in Opposition to Motion
                                    filed by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    02114/2006)
   02114/2006              626      **SEALED DOCUMENT** Reply Memorandum in Support of 607 MOTION for
                                    Leave to Take Certain Prospective Depositions filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 02115/2006)
   02115/2006              624      CERTIFICATE OF SERVICE by International Business Machines Corporation ofIBM's
                                    Seventh Set ofInterrogatories (Shaughnessy, Todd) (Entered: 02115/2006)

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   02/1512006              625      CERTIFICATE OF SERVICE by International Business Machines Corporation ofIBM's
                                    Eleventh Set ofRequests for Admission (Shaughnessy, Todd) (Entered: 02/1512006)
   02/1512006              627      CERTIFICATE OF SERVICE by International Business Machines Corporation ofIBM's
                                    Eighth Request for the Production ofDocuments (Shaughnessy, Todd) (Entered:
                                    02/1512006)
   02117/2006              628      REDACTION to 626 Sealed Document: Reply Memorandum in Support of Motion for
                                    Leave to Take Certain Prospective Depositions by Plaintiff SCO Group. (blk, )
                                    (Entered: 0212112006)
   02/17/2006              629      STIPULATION & JOINT MOTION regarding requests for admission filed by
                                    Defendant International Business Machines Corporation, Plaintiff SCO Group. (blk, )
                                    (Entered: 0212112006)
   0212112006              630      NOTICE of Service of Subpoenas Duces Tecum by International Business Machines
                                    Corporation (Attachments: # 1 Exhibit A# 2. Exhibit B# 3. Exhibit C# ~ Exhibit D)
                                    (Sorenson, Amy) (Entered: 0212112006)
   0212212006              631      NOTICE of Service of Subpoena Duces Tecum by International Business Machines
                                    Corporation re Houlihan Valuation Advisors (Attachments: # 1 Exhibit Exhibit A Part
                                    1# 2. Exhibit Exhibit A Part 2# 3. Exhibit Exhibit A Part 3# ~ Exhibit Exhibit A Part 4)
                                    (Donaldson, Peter) (Entered: 0212212006)
   02124/2006              633      Minute Entry for proceedings held before Judge Brooke C. Wells: Motion Hearing held
                                    on 212412006. Counsel for both parties present. Court hears arguments and rules as
                                    follows: 592 Motion to Compel filed by SCO Group - DENIED without prejudice. A
                                    much more detailed and concise motion to compel may be filed within 30 days. 607
                                    MOTION for Leave to Take Certain Prospective Depositions filed by SCO Group -
                                    DENIED. Counsel for defenendant to prepare order. Court is ADJOURNED. Attorney
                                    for Plaintiff: Brett Hatch, Mark James, Attorney for Defendant Todd Shaughnessey.
                                    (Court Reporter Kelly Hicken.) (alp, ) (Entered: 03/0112006)
   0212812006              632 NOTICE of SERVICE OF SUBPOENAS DUCES TECUM by International Business
                               Machines Corporation (Attachments: # 1 Exhibit A and B) (Donaldson, Peter) (Entered:
                               02128/2006)
   03/01/2006              634 AFFIDAVIT OF SERVICE for Subpoena in a Civil Case served on Ricardo
                               Miranda/Registered AgentIHoulihan Valuation Advisors on 2123/2006, filed by
                               Defendant International Business Machines Corporation. (Donaldson, Peter) (Entered:
                               03/01/2006)
   03/0212006              635      AFFIDAVIT OF SERVICE for Subpoena in a Civil Case served on Michael Sean
                                    Wilson on 2-22-2006, filed by Defendant International Business Machines Corporation.
                                    (Donaldson, Peter) (Entered: 03/0212006)
   03/0212006              636      AFFIDAVIT OF SERVICE for Subpoena In A Civil Case served on Prentice-
                                    Hall/Registered AgentIMcGraw-Hill on 3-1-2006, filed by Defendant International
                                    Business Machines Corporation. (Donaldson, Peter) (Entered: 03/0212006)
   03/03/2006              637      ORDER granting 629 STIPULATION & JOINT MOTION regarding requests for
                                    admission signed by Judge Brooke C. Wells on 3/3/06. (mjw, ) (Entered: 03/03/2006)
   03/0312006              638      Remark: Letters Rogatory issued by the clerk's office and given to counsel Todd M.
                                    Shaughnnessy. (jwt, ) (Entered: 03/03/2006)
   03/03/2006              646      Minute Entry for proceedings held before Judge Brooke C. Wells: Telephone
                                    Conference held on 3/3/2006 regarding Letters Rogatory and depositions. SCO has no
                                    objection to the deposition of the witness taking place after the discovery deadline.
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             54/103
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                                    Parties updated the Court as to the status of the case. The Court directed that should
                                    further telephone status conferences be necessary, counsel are to contact the Court for
                                    scheduling. Attorney for Plaintiff: Edward Normand, Attorney for Defendant Todd
                                    Shaughnessy. (tsh, ) (Entered: 03/1312006)
   03/07/2006               639     MOTION for Leave to File Excess Pages filed by Plaintiff SCO Group. (blk, ) (Entered:
                                    03/08/2006)
   03/07/2006               643     **SEALED DOCUMENT** Memorandum in Opposition to 619 Defendant's
                                    MOTION to Limit SCO's Claims Relating to Allegedly Misused Material filed by
                                    Plaintiff SCO Group. (blk, ) (Entered: 0311 0/2006)
   03/08/2006               640     ORDER granting 639 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 3/8/06. (blk, ) (Entered: 03/08/2006)
   03/0812006               644     **SEALED DOCUMENT** EXHIBITS TO 643 Sealed Memorandum in Opposition
                                    to IBMs Motion to Limit SCOs Claims Relating to Misused Material filed by Plaintiff
                                    SCO Group. (Clerks Note: This document is oversized and therefore not scanned and
                                    attached as a pdf. It will be retained in the clerks office sealed room for viewing by
                                    authorized persons only.) (blk,) (Entered: 03110/2006)
   03/09/2006               641     Stipulated MOTION to Seal Confidential Documents re 631 Notice (Other), Notice
                                    (Other) filed by Defendant International Business Machines Corporation. (Attachments:
                                    # 1 Text of Proposed Order)(Shaughnessy, Todd) (Entered: 03/09/2006)
   03/09/2006               642 NOTICE of Issuance of Subpoenas by International Business Machines Corporation
                                (Attachments: # 1 Exhibit Exhibit A# 2 Exhibit Exhibit B# 1 Exhibit Exhibit C# 1:
                                Exhibit Exhibit D# ~ Exhibit Exhibit E) (Wheatley, Nathan) (Entered: 03/09/2006)
   03/1312006               645     AFFIDAVIT OF SERVICE for Subpoena In A Civil Case served on Robert Marsh on
                                    2/27/2006, filed by Defendant International Business Machines Corporation.
                                    (Donaldson, Peter) (Entered: 03113/2006)

   03/13/2006               647     ORDER Granting in Part and Denying in Part # 537 Renewed Motion to Compel - re
                                    587 Order on Motion to Compel"""""" Order on Motion for Protective Order""
                                    Motion Hearing",. Follows oral order of 12/20105 .. Signed by Judge Brooke C. Wells on
                                    3110106. (blk,) (Entered: 0311412006)
   03/13/2006              648      Stipulated MOTION filed by Defendant International Business Machines Corporation,
                                    Plaintiff SCO Group to Seal Document/Exhibits 1 and 2 of Attachment A to 631 Notice
                                    of Subpoena Duces Tecum re Houlihan Valuation Advisors filed by IBM on 2/22106.
                                    (ce,) (Entered: 03/15/2006)
   03/1312006              649      ORDER granting 641 Motion to Seal, granting 648 Motion to Seal Document 631
                                    Notice of Subpoena Duces Tecum re Houlihan Valuation Advisors filed 2/22/06 by dft
                                    IBM - Exhibits 1 and 2 of Attachment A to the Subpoena are sealed. Signed by Judge
                                    Brooke C. Wells on 311 0106. (ce, ) (Entered: 03115/2006)
   03/15/2006              650 AFFIDAVIT OF SERVICE for Subpoena In A Civil Case served on Scott Lemon on
                               March 8, 2006, filed by Defendant International Business Machines Corporation.
                               (Donaldson, Peter) (Entered: 03/15/2006)
   03/17/2006              651      Stipulated MOTION for Extension of Time Discovery filed by Defendant International
                                    Business Machines Corporation. (Attachments: # 1 Text of Proposed Order)(Wheatley,
                                    Nathan) (Entered: 03117/2006)
   03/20/2006              652      ORDER granting 651 Motion for Extension of Time of Discovery Deadlines and
                                    Dispositive Motions Deadline. Signed by Judge Brooke C. Wells on 3/20106. (blk, )
                                    (Entered: 03/20/2006)
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             551103
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   03/20/2006                       SetlReset Deadlines: Motions due by 8/4/2006. (blk, ) (Entered: 03/20/2006)
   03/2112006              653      Stipulated MOTION to Amend/Correct re Briefing filed by Defendant International
                                    Business Machines Corporation. (Attachments: # 1 Text of Proposed Order)
                                    (Shaughnessy, Todd) (Entered: 03/2112006)
   03/22/2006              654      ORDER granting 653 Motion to Amend/Correct briefing re: # 619 Motion to Limit
                                    SCOs Claims. IBMs Reply Memo due 4/4/06. Signed by Judge Brooke C. Wells on
                                    2/22/06. (blk, ) (Entered: 03/22/2006)
  03/22/2006               655      NOTICE OF HEARING ON MOTION re: 619 Defendant's MOTION to Limit
                                    SCO's Claims Relating to Allegedly Misused Material: Motion Hearing set for
                                    4114/2006 at 03:00 PM in Room 220 before Magistrate Judge Brooke C. Wells. Gwd,)
                                    (Entered: 03/22/2006)
   03/22/2006              656      DOCUMENTS LODGED consisting of Order Re Briefing (an order from Magistrate
                                    Wells is already on file, see # 654 ). (blk, ) (Entered: 03/23/2006)
   04/04/2006              657      REPLY to Response to Motion re 619 Defendant's MOTION to Limit SCO's Claims
                                    Relating to Allegedly Misused Material filed by Defendant International Business
                                    Machines Corporation. (Attachments: # 1 # 2. # ,3)(Shaughnessy, Todd) (Entered:
                                    04/04/2006)
   04/04/2006              658      DECLARATION of Randall Davis re 657 Reply Memorandum/Reply to Response to
                                    Motion filed by International Business Machines Corporation. (Attachments: # 1 # 2.)
                                    (Shaughnessy, Todd) (Entered: 04/04/2006)
   04/04/2006              659 NOTICE of REMOVING COUNSEL FROM SERVICE LIST filed by Anthony L.
                               Marks, Mark A. Wagner. Attorney Anthony L. Marks, Mark A. Wagner will no longer
                               receive notice from the court in this case including final judgment. (blk, ) (Entered:
                               04/05/2006)
   04/04/2006              660      **SEALED DOCUMENT** Declaration of Todd M. Shaughnessy filed by Defendant
                                    International Business Machines Corporation. (blk, ) (Entered: 04/05/2006)
   04/10/2006              661      MOTION for Leave to File Declaration of Marc Rochkind filed by Plaintiff SCO
                                    Group. (blk,) (Entered: 04112/2006)
   04/12/2006              662      AMENDED NOTICE OF HEARING ON MOTION re: 619 Defendant's MOTION
                                    to Limit SCO's Claims Relating to Allegedly Misused Material: Motion Hearing
                                    previously set for 4114/06 at 3 :00 PM has been reset for 4/14/2006 at 11 :00 AM in
                                    Room 220 before Magistrate Judge Brooke C. Wells. [PLEASE NOTE TIME
                                    CHANGE].Gwd,) (Entered: 04/12/2006)
   0411212006              663      Stipulated MOTION to Amend/Correct 38 Protective Order filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order Addendum to Protective Order)(Sorenson, Amy) (Entered: 04112/2006)

   04112/2006              664 MEMORANDUM in Opposition re 661 MOTION for Leave to File Declaration of
                               Marc Rochkind filed by Defendant International Business Machines Corporation.
                               (Sorenson, Amy) (Entered: 04112/2006)
   04113/2006              665      REPLY to Response to Motion re 661 MOTION for Leave to File Declaration of Marc
                                    Rochkind filed by PlaintiffSCO Group. (blk,) (Entered: 04/14/2006)
   04/14/2006              666      ADDENDUM TO PROTECTIVE ORDER. Signed by Judge Brooke C. Wells on
                                    4/13106. (ce, ) (Entered: 04117/2006)

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   04114/2006              667 Minute Entry for proceedings held before Judge Brooke C. Wells: Motion hearing held
                               on 4/14/06. Counsel for both parties present. The Court GRANTS 661 MOTION for
                               Leave to File Declaration of Marc Rochkind filed by SCO Group. IBM is given 10
                               business days from the date of the hearing to respond to the Declaration of Marc
                               Rochkind. The Court hears arguments re: 619 motion to limit SCO Group's claims. The
                               matter is taken under advisement. Court is adjourned. Attorney for Plaintiff: Stuart
                               Singer, Attorney for Defendant David Marriott.(Court Reporter Rebecca Janke.) (alp,)
                               Modified on 4120/2006 (tsh, ). (Entered: 04119/2006)
   04114/2006              668      **SEALED DOCUMENT** Declaration of Marc Rochkind filed by Plaintiff SCO
                                    Group. (blk, ) (Entered: 04/20/2006)

   04/14/2006              669      REDACTION to 668 Sealed Document Declaration of Marc Rochkind by PlaintiffSCO
                                    Group. (blk, ) (Entered: 04/20/2006)
   04/20/2006              670      Modification of Docket: re 667 Minute EntrylOrder on Motion for Leave to File.
                                    Amended text of minute entry 667. (tsh,) (Entered: 04/2012006)
   04/26/2006              671      ORDER re 633 Order on Motion to Compel, Order on Motion for Miscellaneous Relief,
                                    Motion Hearing. Follows oral order of 2/24/06. Motion for Leave to Take Certain
                                    Prospective Depositions # 607 is DENIED. Motion to Compel # 592 is DENIED,
                                    WITHOUT PREmmCE. SCO is granted leave to file a new motion to compel no later
                                    than 3/26106. Signed by Judge Brooke C. Wells on 4126106. (blk, ) (Entered:
                                    04/26/2006)
   04/28/2006              672      DECLARATION of Randall Davis re 668 Sealed Document, 619 Defendant's MOTION
                                    to Limit SCO's Claims Relating to Allegedly Misused Material filed by International
                                    Business Machines Corporation, International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit # 2. Exhibit # .3. Exhibit # 1: Exhibit # 2 Exhibit # II Exhibit)
                                    (Shaughnessy, Todd) (Entered: 04/28/2006)
   04/2812006              673      **SEALED DOCUMENT** Rebuttal Declaration of Randall Davis re 668 Sealed
                                    Document: Declaration of Marc Rochkind filed by Defendant International Business
                                    Machines Corporation. (blk,) (Entered: 05/0112006)
   05/01/2006              674      Stipulated MOTION to Amend/Correct Regarding Requests for Admission filed by
                                    Defendant International Business Machines Corporation. (Attachments: # 1)
                                    (Shaughnessy, Todd) (Entered: 05/0112006)
   05/02/2006              675      ORDER granting 674 Motion to Amend/Correct Requests for Admissions. As per the
                                    parties' stipulation, the parties shall have an extension of time, to and including June 2,
                                    2006, within which to respond to all outstanding Requests for Admission. Signed by
                                    Judge Brooke C. Wells on 5/2/2006. (mjw, ) (Entered: 05/02/2006)
   05/04/2006              676      Plaintiffs MOTION to Strike 672 Declaration" 673 Sealed Document Declaration of
                                    Randall Davis filed by Plaintiff SCO Group, Counter Defendant SCO Group. (Hatch,
                                    Brent) (Entered: 05/04/2006)
   05/04/2006              677      Plaintiffs MEMORANDUM in Support re 676 Plaintiffs MOTION to Strike 672
                                    Declaration" 673 Sealed Document Declaration ofRandall Davis filed by Plaintiff SCO
                                    Group, Counter Defendant SCO Group. (Hatch, Brent) (Entered: 05/04/2006)
   05/05/2006              678      Plaintiffs MOTION For in camera review of allegedly privileged documents filed by
                                    Plaintiff SCO Group. (James, Mark) (Entered: 05/05/2006)
   05/05/2006              679     Plaintiffs MEMORANDUM in Support re 678 Plaintitrs MOTION For in camera
                                   review of allegedly privileged documents filed by Plaintiff SCO Group. (Attachments: #
                                   1 Exhibit Exhibit A# 2. Exhibit Exhibit B# .3. Errata Exhibit C# 1: Exhibit Exhibit D# 2
https:llecf.utd.uscourts.gov/cgi-binlDktRpl.pl?153746270523261-L_1_1-1                                                              57/103
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                                    Exhibit Exhibit E# QExhibit Exhibit F# 1 Exhibit Exhibit G# ~ Exhibit Exhibit H# 2
                                    Exhibit Exhibit 1# 10 Exhibit Exhibit J# 11 Exhibit Exhibit K# 12 Exhibit Exhibit L#.u
                                    Exhibit Exhibit M# 14 Exhibit Exhibit N# U Exhibit Exhibit 1# 16 Exhibit Exhibit 2#
                                    17 Exhibit Exhibit 3)(James, Mark) (Entered: 05/05/2006)
   05/10/2006              680      ORDER denying 676 Motion to Strike 673 Sealed Document, 672 Declaration, . Signed
                                    by Judge Brooke C. Wells on 5/1 0/06. (blk, ) (Entered: 05/10/2006)
   05/12/2006              681      Stipulated MOTION for Extension of Time Regarding Certain Scheduling Deadlines
                                    filed by PlaintiffSCO Group. (Attachments: # 1 Text of Proposed Order)(Hatch, Brent)
                                    (Entered: 05/12/2006)
   05/15/2006              682      ORDER granting 681 Motion for Extension of Time for Certain Scheduling Deadlines.
                                    Initial Expert Reports due: 5/19/06. Opposing Expert Reports due: 6/16/06. Rebuttal
                                    Exp Reports due: 7/14/06. Final Deadline for Expert Discovery due: 7/24/06.
                                    Dispositive Motions due: 8/4/06. Oppositions to Disp Motions due: 9/8/06. Replies on
                                    Disp Motions due: 10/6/06. Signed by Judge Brooke C. Wells on 5/15/06. (blk,)
                                    (Entered: 05/15/2006)
   OS/22/2006              683      CERTIFICATE OF SERVICE by International Business Machines Corporation of
                                    Expert Reports (Shaughnessy, Todd) (Entered: OS/22/2006)
   OS/23/2006              684      Stipulated MOTION for Extension of Time to File Response/Reply as to 678 Plaintiffs
                                    MOTION For in camera review of allegedly privileged documents filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Exhibit 1 Proposed
                                    Order)(Sorenson, Amy) (Entered: OS/23/2006)

   OS/24/2006              685      ORDER granting 684 Motion for Extension of Time to File Response/Reply re 678
                                    Plaintiffs MOTION For in camera review of allegedly privileged documents. Replies
                                    due by 5/30/2006. Signed by Judge Brooke C. Wells on 5/24/06. (blk, ) (Entered:
                                    OS/24/2006)
   OS/24/2006              686      CERTIFICATE OF SERVICE by SCO Group (Hatch, Brent) (Entered: OS/24/2006)
   05/30/2006              687      Stipulated MOTION for Extension of Time to file its Memorandum in Opposition to
                                    SCO?s Motion for In Camera Review of Allegedly Privileged Documents filed by
                                    Defendant International Business Machines Corporation. (Attachments: # 1 Text of
                                    Proposed Order)(Shaughnessy, Todd) (Entered: 05/30/2006)
   05/3112006              688      ORDER granting 687 Motion for Extension of Time. Signed by Judge Brooke C. Wells
                                    on 5/31106. (blk, ) (Entered: 05/3112006)
   05/3112006              689      MOTION to Withdraw as Attorney filed by Plaintiff SCO Group. (Attachments: # 1
                                    Text of Proposed Order)(Hatch, Brent) (Entered: 05/3112006)
   05/3112006              690      Stipulated MOTION for Extension of Time to Complete Discovery filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Shaughnessy, Todd) (Entered: 05/31/2006)
   06/02/2006              691      ORDER granting 690 Motion for Extension of Time to Complete Discovery. It is
                                    hereby ordered that the parties shall have an extension of time, to and including 8/4/06,
                                    within which to respond to all outstanding Requests for Admission. Signed by Judge
                                    Brooke C. Wells on 6/2/06. (blk, ) (Entered: 06/02/2006)
   06/02/2006              692      ORDER granting 689 Motion to Withdraw as Attorney. Attorney J. Matthew Donohue
                                    withdrawn from case for SCO .. Signed by Judge Brooke C. Wells on 6/2/06. (blk,)
                                    (Entered: 06/05/2006)
   06/06/2006              693      MEMORANDUM in Opposition re 678 Plaintiffs MOTION For in camera review of
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                            581103
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                                    allegedly privileged documents filed by Defendant International Business Machines
                                    Corporation. (Attachments: # 1 Exhibit A# ~ Exhibit B# J Exhibit C)(Shaughnessy,
                                    Todd) (Entered: 06/06/2006)
   06/08/2006              694      Stipulated MOTION to Amend/Correct 466 Memorandum Decision", Order on Motion
                                    to Amend/Correct", Order on Motion to Compel", Order on Motion for Miscellaneous
                                    Relief" filed by Defendant International Business Machines Corporation. (Attachments:
                                    # 1 Exhibit A)(Sorenson, Amy) (Entered: 06/08/2006)
   06/08/2006              695      MOTION to Strike Allegations in Excess of the Final Disclosures filed by Defendant
                                    International Business Machines Corporation. (Sorenson, Amy) (Entered: 06/08/2006)
   06/08/2006              696      MEMORANDUM in Support re 695 MOTION to Strike Allegations in Excess of the
                                    Final Disclosures filed by Defendant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit A# .2 Exhibit B# J Exhibit C# 4 Exhibit D)(Sorenson, Amy)
                                    (Entered: 06/08/2006)

   06/08/2006              697      REQUEST for Expedited Briefing and Hearing re 695 MOTION to Strike Allegations
                                    in Excess of the Final Disclosures, 696 Memorandum in Support of Motion, filed by
                                    Defendant International Business Machines Corporation. (Sorenson, Amy) (Entered:
                                    06/08/2006)
   06/09/2006              698      MOTION to Withdraw as Attorney filed by Plaintiff SCO Group. (Attachments: # 1
                                    Text of Proposed Order)(Hatch, Brent) (Entered: 06/09/2006)
   06/12/2006              699      RESPONSE to Motion 697 Request for Expedited Briefing & Hearing re 695 MOTION
                                    to Strike Allegations in Excess of the Final Disclosures filed by Plaintiff SCO Group.
                                    (Hatch, Brent) Modified on 6/14/2006 by linking to correct motion/request for
                                    briefinglhearing(blk, ). (Entered: 06/12/2006)
   06/12/2006              702      ORDER granting 698 Motion to Withdraw as Attorney. Attorney Mark R. Clements
                                    withdrawn from case for The SCO Group .. Signed by Judge Brooke C. Wells on
                                    6/12/06. (blk, ) (Entered: 06/13/2006)
   06/13/2006              700 RESPONSE re 697 Request,for Expedited Briefing and Hearing filed by Defendant
                               International Business Machines Corporation. (Sorenson, Amy) (Entered: 06/13/2006)
   06/13/2006              701      ORDER granting 697 Request for Expedited Briefing and Hearing regarding IBMs
                                    Motion to Strike the SCO Grps Allegations in Excess of the Final Disclosures filed by
                                    International Business Machines Corporation, . SCOs opposition to motion due: 6/19/06
                                    by 5:00 p.m. IBMs reply due: 6/26/06 by 5:00 p.m. A hearing will be held after briefing
                                    is complete. Signed by Judge Brooke C. Wells on 6/13/06. (blk,) (Entered: 06/13/2006)
   06/14/2006              703      Amended ORDER granting 697 Request for Expedited Briefing and Hearing on IBMs
                                    Motion to Strike SCOs Allegations in Excess of the Final Disclosures filed by
                                    International Business Machines Corporation, Amends previous 702 Order on Motion
                                    to Withdraw as Attorney. Briefing is set as follows: SCO to file any opposition to IBMs
                                    Motion to Strike by 6/19/06 at 5:00 p.m. IBM is to file any reply by 6/26/06 at 5:00
                                    p.m. A hearing will be held on the motion after issue is fully briefed. Signed by Judge
                                    Brooke C. Wells on 6/14/06. (blk,) (Entered: 06/14/2006)
   06/14/2006              704      ORDER of Amendment to Scheduling Order Discovery due by 9/22/2006 expert.
                                    Motions due by 9/25/2006. (For other dates see order). Signed by Judge Brooke C.
                                    Wells on 6/13/06. (blk,) (Entered: 06/14/2006)
   06/19/2006              705      NOTICE OF CONVENTIONAL FILING of Memorandum in Opposition to Motion to
                                    Confine SCO?s Claims to, and Strike Allegations in Excess of, the Final Disclosures
                                    filed by Plaintiff SCO Group re 695 MOTION to Strike Allegations in Excess of the

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                                    Final Disclosures (James, Mark) (Entered: 06/19/2006)
   06/19/2006              706      Plaintiffs MOTION for Leave to File Excess Pages filed by Plaintiff SCO Group.
                                    (Attachments: # 1 Text of Proposed Order)(James, Mark) (Entered: 06/19/2006)
   06/19/2006              707      MEMORANDUM in Opposition re 695 MOTION to Confine Claims to and to Strike
                                    Allegations in Excess of the Final Disclosures filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 06/20/2006)
   06/19/2006              708      EXHIBITS 12, 13, 14, 18, & 19 filed by SCO Group re 707 Memorandum in
                                    Opposition to Motion. (blk,) Additional attachment(s) added on 6/20/2006 (blk,).
                                    (Entered: 06/20/2006)
   06/1912006              710      **SEALED DOCUMENT** Sealed Exhibits re 707 Memorandum in Opposition to
                                    Motion filed by Plaintiff SCO Group. (Oversized and not scanned. Documents to
                                    remain in the clerks office sealed room for access by authorized persons only.) (blk, )
                                    (Entered: 06/20/2006)
   06/20/2006              709      Modification of Docket: Error: Did not attach all of the exhibits. Correction: Attached
                                    the exhibits left off. re 708 Exhibits to Memo in Opposition. (blk, ) (Entered:
                                    06/20/2006)
   06/20/2006              711      ORDER granting 706 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 6/20106. (kmj, ) (Entered: 06/20/2006)
   06/20/2006              712      REPLY to Response to Motion re 678 Plaintiffs MOTION For in camera review of
                                    allegedly privileged documents filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit
                                    A# 2: Exhibit B# ;1 Exhibit C)(Hatch, Brent) (Entered: 06/20/2006)
   06/20/2006              713      ORDER granting in part and denying in part 678 Motion In Camera Review of
                                    Allegedly Privileged Documents. Signed by Judge Brooke C. Wells on 6/20106. (blk, )
                                    (Entered: 06/20/2006)
   06/20/2006              714      **SEALED DOCUMENT** Exhibit 11, re 707 Memorandum in Opposition to
                                    Motion filed by Plaintiff SCO Group. (Clerks Note: Document oversized and not
                                    scanned. It will be retained in the clerks office sealed room for access to authorized
                                    persons only). (blk, ) (Entered: 06/2112006)
   06/20/2006              715      CERTIFICATE OF SERVICE by SCO Group re 714 Sealed Document, (blk,) (Entered:
                                    06/2112006)
   06/22/2006              716      ORDER RE SCOs MOTION FOR IN CAMERA REVIEW re 678 Plaintiffs MOTION
                                    F or in camera review of allegedly privileged documents filed by SCO Group" 712
                                    Reply Memorandum/Reply to Response to Motion filed by SCO Group. It is Ordered:
                                    IBM is to provide SCO a copy of the declarations from Sharon Dobbs and Mark Walker
                                    by 6/30106. These declarations are to be filed with the court under seal by 6/30106. SCO
                                    may file a reply memo in support of its motion, if it chooses, by 7/7/06 . Signed by
                                    Judge Brooke C. Wells on 6/22/06. (blk, ) (Entered: 06/22/2006)
   06/26/2006              717      REPLY to Response to Motion re 695 MOTION to Strike Allegations in Excess of the
                                    Final Disclosures filed by Defendant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit A# 2: Exhibit B# ;1 Exhibit C)(Shaughnessy, Todd) (Entered:
                                    06/26/2006)
   06/28/2006              718      ORDER granting in part 619 Motion to Limit SCOs Claims. Signed by Judge Brooke
                                    C. Wells on 6/28106. (blk,) Additional attachment(s) added on 6/30/2006 (rak,).
                                    Modified on 6/30/2006 - original contained a clerical error - replaced with corrected
                                    copy per chambers (rak, ). (Entered: 06/28/2006)


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   06/30/2006               719     Modification of Docket: Error: Original order contained a clerical error. Correction:
                                    replaced with corrected copy. re 718 Order on Motion to Limit SCOs Claims. (rak,)
                                    (Entered: 06/30/2006)
   07/07/2006               720     REPLY to Response to Motion re 678 Plaintiffs MOTION For in camera review of
                                    allegedly privileged documents Supplemental filed by Plaintiff SCO Group. (Hatch,
                                    Brent) (Entered: 07/07/2006)
   07/13/2006               721     NOTICE OF CONVENTIONAL FILING of SCO's Objections to Order Granting In
                                    Part IBM's Motion to Limit SCO's Claims filed by Plaintiff SCO Group (Hatch, Brent)
                                    (Entered: 07/13/2006)
   07/13/2006               722     NOTICE OF CONVENTIONAL FILING of Declaration of Mark F. James filed by
                                    Plaintiff SCO Group (Hatch, Brent) (Entered: 07/13/2006)
   07/13/2006               723     Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages Objections to Order
                                    Granting In Part IBM's Motion to Limit SCO's Claims filed by Plaintiff SCO Group.
                                    (Attachments: # 1 Text of Proposed Order)(Hatch, Brent) (Entered: 07113/2006)
   07/1312006               726     **SEALED DOCUMENT** SCO's Objections to Order Granting in Part IBM's
                                    Motion to Limit SCO's Claims re 718 Order on Motion for Miscellaneous Relief, filed
                                    by Plaintiff SCO Group. (Attachments: # 1 Appendix A# 2 Appendix B# .3. Appendix
                                    C#:! Exhibit A# 2. Exhibit B# Q Exhibit C# 1 Exhibit D)(kla,) (Entered: 07/18/2006)
   07/13/2006               727     **SEALED DOCUMENT** Declaration of Mark F. James filed by PlaintiffSCO
                                    Group. (This document is not scanned as it is too large. There are 3 envelopes
                                    containing the document located in the sealed room.) (kla,) (Entered: 07118/2006)
   07117/2006               724     REDACTION SCO'S OBJECTIONS TO ORDER GRANTING IN PART IBM'S
                                    MOTION TO LIMIT SCO'S CLAIMS by Plaintiff SCO Group. (Attachments: # 1
                                    Appendix A# 2 Appendix B# .3. Appendix C# :! Exhibit A# 2. Exhibit B# Q Exhibit C# 1
                                    Exhibit D)(Hatch, Brent) Modified on 7119/2006 by linking to 718 order re: motion to
                                    limit SCO's claims (ce,). (Entered: 07/17/2006)
   07/17/2006               725     REDACTION Declaration ofMark F James by Plaintiff SCO Group. (Attachments: #
                                    1 Exhibit 1# 2 Exhibit 2# .3. Exhibit 3# :! Exhibit 4# 2. Exhibit 5# Q Exhibit 6# 1 Exhibit
                                    7# £ Exhibit 8# 2 Exhibit 9# 10 Exhibit 10# 11 Exhibit 11 # 12 Exhibit 12# 1.3. Exhibit
                                    13# 14 Exhibit 14# 12. Exhibit 15# 16 Exhibit 16# 17 Exhibit 17# 1£ Exhibit 18# 19
                                    Exhibit 19# 20 Exhibit 20# 21 Exhibit 21 # 22 Exhibit 22# 23 Exhibit 23# 24 Exhibit
                                    24# 25 Exhibit 25# 26 Exhibit 26# 27 Exhibit 27# 28 Exhibit 28# 29 Exhibit 29# 30
                                    Exhibit 30#.3.l Exhibit 31# 32 Exhibit 32# 33 Exhibit 33# 34 Exhibit 34# 35 Exhibit
                                    35# 36 Exhibit 36# 37 Exhibit 37# 38 Exhibit 38# 39 Exhibit 39# 40 Exhibit 40# 41
                                    Exhibit 41# 42 Exhibit 42# 43 Exhibit 43# 44 Exhibit 44# 45 Exhibit 45# 46 Exhibit
                                    46# 47 Exhibit 47# 48 Exhibit 48# 49 Exhibit 49# 50 Exhibit 50#                n
                                                                                                         Exhibit 51# 52
                                    Exhibit 52# 53 Exhibit 53# 54 Exhibit 54# 55 Exhibit 55# 56 Exhibit 56# 57 Exhibit
                                    57# 58 Exhibit 58# 59 Exhibit 59# 60 Exhibit 60# 61 Exhibit 61# 62 Exhibit 62# 63
                                    Exhibit 63# 64 Exhibit 64# 65 Exhibit 65# 66 Exhibit 66# 67 Exhibit 67# 68 Exhibit
                                    68# 69 Exhibit 69# 70 Exhibit 70# 71 Exhibit 71# 72 Exhibit 72# 73 Exhibit 73# 74
                                    Exhibit 74)(Hatch, Brent) Modified on 7/20/2006 by linking to the original sealed
                                    Declaration # 727 (blk, ). (Entered: 07117/2006)
   07/17/2006              728      ORDER granting 723 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 7114/06.(blk, ) (Entered: 07118/2006)
   07/18/2006              729      CERTIFICATE OF SERVICE by International Business Machines Corporation of
                                    Expert Reports (Shaughnessy, Todd) (Entered: 0711812006)
   07/18/2006              730      CERTIFICATE OF SERVICE by SCO Group (1) Report ofDr. Thomas A. Cargill In

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                                    Response to the Report and Declaration ofDr. Brian W Kernigham; (2) Response ofDr.
                                    Jeffrey Leitzinger to the Report and Declaration ofProfessor J.R. Kearl; (3) Response
                                    to Report and Declaration ofProfessor J.R. Kearl by Christine A. Botosan, CA, Ph.D;
                                    and (4) Rebuttal to the Report and Declaration ofProfessor J.R. Kearl by Gary Pisano,
                                    Ph.D (Hatch, Brent) (Entered: 07/18/2006)
   07/3112006              731      Stipulated MOTION for Extension of Time Re Various Deadlines filed by Plaintiff SCO
                                    Group. (Attachments: # 1 Text of Proposed Order)(Hatch, Brent) (Entered: 07/3112006)
   08/01/2006              732      ORDER granting 731 Motion for Extension of Time on Various Deadlines. Response to
                                    Requests for Admissions due: 8/18/06. IBMs Opposition Brief due: 8/14/06. SCOs
                                    Reply Brief due: 8/28/06 . Signed by Judge Brooke C. Wells on 7/31106.(blk, ) (Entered:
                                    08/02/2006)
   08114/2006              733      Plaintiffs MOTION to Withdraw as Attorney Dan Filor filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group. (Attachments: # 1 Text of Proposed Order)(Hatch,
                                    Brent) (Entered: 08/14/2006)
   08/14/2006              734 NOTICE OF CONVENTIONAL FILING of IBM's Memorandum in Opposition to
                               SCO's Objections to Magistrate Judge Wells' Order of June 28, 2006 and the
                               Declaration of Todd M. Shaughnessy filed by Defendant International Business
                               Machines Corporation (Sorenson, Amy) (Entered: 08/14/2006)
   08/14/2006              735      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages in Opposition to SCO's
                                    Objections to Magistrate Judge Wells' Order ofJune 28, 2006 filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order Granting Motion for Leave to File Overlength Memorandum)(Sorenson, Amy)
                                    (Entered: 08/14/2006)
   08/14/2006              736      SEALED Memorandum re 724 Redacted Document - SCO's Objections to Magistrate
                                    Judge Wells Order of June 28, 2006 filed by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation. NOTE:
                                    THIS DOCUMENT IS OVERLENGTH AND HAS NOT BEEN SCANNED. IT HAS
                                    BEEN PLACED ON THE SHELF IN THE SEALED ROOM. (ce, ) (Entered:
                                    08/15/2006)
   08/14/2006              737      SEALED DECLARATION of Todd M. Shaughnessy, Esq. re 736 Memorandum in
                                    Opposition to SCO's Objections to Magistrate Judge Wells Order of June 28, 2006 filed
                                    by International Business Machines Corporation. NOTE: THIS IS AN OVERLENGTH
                                    DOCUMENT AND HAS NOT BEEN SCANNED. IT HAS BEEN PLACED ON THE
                                    SHELF IN THE SEALED ROOM. (ce, ) (Entered: 08/15/2006)
   08114/2006              752      Minute Entry for proceedings held before Judge Brooke C. Wells: Telephone
                                    Conference held on 8/14/2006. Counsel appeared via telephone. Argument was heard
                                    re: deposition of Mr. Wilson. The Court requested both parties submit three legal cases
                                    supporting their respective arguments no later than 8/16/06. The matter is taken under
                                    advisement and an order will issue. Attorney for Plaintiff: Edward Normand, Attorney
                                    for Defendant Todd Shaughnessy. (tsh,) (Entered: 08/22/2006)
   08/16/2006              738      ORDER granting 735 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 8/15/06.(blk, ) (Entered: 08/16/2006)

   08/16/2006              739      ORDER granting 733 Motion to Withdraw as Attorney. Attorney Daniel P. Filor
                                    withdrawn from case for SCO Group .. Signed by Judge Dale A. Kimball on 8/15/06.
                                    (blk, ) (Entered: 08/16/2006)
   08116/2006              740 NOTICE ofIBM's Legal Authority re Otis Wilson Deposition by International Business

https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             621103
   Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 105
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                                    Machines Corporation (Shaughnessy, Todd) (Entered: 08/16/2006)
   08118/2006              741      Stipulated MOTION for Extension of Time Regarding Requests for Admission filed by
                                    Defendant International Business Machines Corporation. (Attachments: # 1 Exhibit
                                    Proposed Order)(Shaughnessy, Todd) (Entered: 08/18/2006)
   08/18/2006              742 NOTICE OF CONVENTIONAL FILING ofIBM's Redacted Memorandun in
                               Opposition to SCO's Objections to 7/28/06 Order and Declaration ofT. Shaughnessy
                               With Unsealed Exhibits filed by Defendant International Business Machines
                               Corporation re 726 Sealed Document" 724 Redacted Document, (Sorenson, Amy)
                               (Entered: 08118/2006)
   08118/2006              744      DECLARATION of Todd M. Shaughnessy with Unsealed Exhibits filed by
                                    International Business Machines Corporation, International Business Machines
                                    Corporation. (Attachments: # 1 Exhibits 19 to 25)(k1a, ) (Entered: 08/2112006)
   08/18/2006              745      NOTICE of Errata by International Business Machines Corporation, International
                                    Business Machines Corporation re 744 Declaration. (kIa,) (Entered: 08/2112006)

   08/18/2006              746      DECLARATION of Todd M. Shaughnessy with Unsealed Exhibits filed by
                                    International Business Machines Corporation, International Business Machines
                                    Corporation. (Attachments: # 1 Exhibit 4 through 8# 2. Exhibit 9 through 13# 3. Exhibit
                                    14 through 19# 1: Exhibit 20 through 25)(kla, ) (Entered: 08/2112006)
   08118/2006              748      REDACTION to 736 Memorandum in Opposition to Objection to Magistrate Wells
                                    Order of 6/28/06 by Defendant International Business Machines Corporation.
                                    (Attachments: # 1 Addendum# 2. Addendum# 3. Addendum# 1: Addendum# 2.
                                    Addendum)(blk, ) (Entered: 08/2112006)
   08/2112006              743      ORDER granting 741 Motion for Extension of Time, to and including 10113/06, within
                                    which to respond to all outstanding Requests for Admissions. Signed by Judge Brooke
                                    C. Wells on 8/21106.(kla,) Modified on 8/2112006 to correct the name of the signing
                                    judge from Judge Kimball to Judge Wells(kla,). (Entered: 08121/2006)
   08/2112006              747 MEMORANDUM DECISION AND ORDER - the court orders that the deposition of
                               Mr. Wilson should go forward in the time and manner as ordered by the North Carolina
                               court. Signed by Judge Brooke C. Wells on 8/21106. (kla,) (Entered: 08/2112006)
   08/2112006              749      MOTION for Admission Pro Hac Vice of John J. Brogan Registration fee $ 15, receipt
                                    number 4681013119. filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit A - Pro
                                    Hac Application# 2. Exhibit B - ECF Registration# 3. Exhibit C - Proposed Order)
                                    (Hatch, Brent) (Entered: 08/2112006)
   08/21/2006              750 MOTION for Admission Pro Hac Vice of Devan V. Padmanabhan Registration fee $ 15,
                               receipt number 4681013120. filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit A
                               - Pro Hac Application# 2. Exhibit B - ECF Registration# 3. Exhibit C - Proposed Order)
                               (Hatch, Brent) (Entered: 08/2112006)
   08/2112006              751     Modification of Docket: Error: When the order was originally docketed it was
                                   incorrectly docketed as being signed by Judge Kimball. Correction: changed the signing
                                   judge to Judge Wells re 743 Order on Motion for Extension of Time. (kIa,) (Entered:
                                   08/22/2006)
   08/22/2006              753      ORDER granting 749 Motion for Admission Pro Hac Vice of John J. Brogan for SCO
                                    Group.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    . Signed by Judge Dale A. Kimball on 8/22/06.(blk, ) (Entered: 08/23/2006)
https:ffecf.utd.uscourts.govlcgi-binfDktRpt.pI?153746270523261-L_1_1-1                                                              631103
   Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 106
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   08/22/2006              754      ORDER granting 750 Motion for Admission Pro Hac Vice of Devan V. Padmanabhan
                                    for SCO Group.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District ofUtahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    . Signed by Judge Dale A. Kimball on 8/22/06.(blk, ) (Entered: 08/23/2006)
   08/23/2006              755      Stipulated MOTION for Extension of Time to File ResponselReply as to 736
                                    Memorandum (NOT to motion), Memorandum (NOT to motion) Stpulated Motion fo
                                    Extend Time fo File Reply filed by Plaintiff SCO Group, Counter Defendant SCO
                                    Group. (Attachments: # 1 Text of Proposed Order Proposed Order)(Hatch, Brent)
                                    (Entered: 08/23/2006)

   08/24/2006              756      ORDER granting 755 Motion for Extension of Time to File ResponselReply to Memo
                                    in Opposition to Objections re: Magistrates Order of 6/28/06. Replies due by 9/5/2006.
                                    Signed by Judge Brooke C. Wells on 8/24/06.(blk, ) (Entered: 08/24/2006)
   08/3112006              757      CERTIFICATE OF SERVICE by International Business Machines Corporation of
                                    Expert Reports (Shaughnessy, Todd) (Entered: 08/3112006)
   08/3112006              758      CERTIFICATE OF SERVICE by SCO Group (Hatch, Brent) (Entered: 08/3112006)
   09/01/2006              759      ORDER & MEMORANDUM DECISION RE: Alleged Privileged Documents. Signed
                                    by Judge Brooke C. Wells on 9/1106 (alt) (Entered: 09/0112006)
   09/05/2006              760      ORDER & MEMORANDUM DECISION RE: Alleged Privileged Documents. Signed
                                    by Judge Brooke C. Wells on 9/1/06. (Clerks Note: Supersedes document # 759 Order
                                    & Memorandum Decision).(blk,) (Entered: 09/05/2006)
   09/05/2006              761      Mail Returned as Undeliverable. Mail sent to Frederick S. Frei (djs, ) (Entered:
                                    09/05/2006)
   09/05/2006              762      NOTICE OF CONVENTIONAL FILING of Reply Memorandum filed by Plaintiff
                                    SCO Group, Counter Defendant SCO Group re 721 Notice of Conventional Filing
                                    (Hatch, Brent) (Entered: 09/06/2006)
   09/06/2006              763      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages Reply Memorandum
                                    filed by Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1)
                                    (Hatch, Brent) (Entered: 09/06/2006)
   09/06/2006              764 NOTICE OF CONVENTIONAL FILING of Reply Memorandum and Declaration of
                               BOH with Exhibits filed by Plaintiff SCO Group, Counter Defendant SCO Group
                               Corrected Caption ofDocket 762 (Hatch, Brent) (Entered: 09/06/2006)
   09/06/2006              765      **SEALED DOCUMENT** Reply Memorandum in Support of 726 724 Objections to
                                    Order granting in part IBMs motion to limit SCOs claims, filed by Plaintiff SCO Group.
                                    (blk,) Additional attachment(s) added on 9/7/2006 (blk,). Modified on 3/22/2007 -
                                    sealed the additional documents(rak). (Entered: 09/07/2006)
   09/06/2006              766      **SEALED DOCUMENT**DECLARATION of Brent O. Hatch re 765 Reply
                                    Memorandum in Support of Objections to Order filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 09/07/2006)
   09/07/2006              767      Mail Returned as Undeliverable. Mail sent to Frederick S. Frei (djs,) (Entered:
                                    09/07/2006)
   09/07/2006              768      ORDER granting 763 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 9/7/06.(blk,) (Entered: 09/08/2006)


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   09/14/2006              769     MOTION to Withdraw as Attorney Scott Gant filed by Plaintiff SCO Group.
                                   (Attachments: # 1 Text of Proposed Order)(Hatch, Brent) (Entered: 09/14/2006)
   09/15/2006              770     ORDER granting 769 Motion to Withdraw as Attorney. Attorney Scott Gant withdrawn
                                   from case for SCO .. Signed by Judge Dale A. Kimball on 9/15/06.(blk,) (Entered:
                                   09/15/2006)
   09/18/2006              771     NOTICE OF MISCELLANEOUS HEARING: (Notice generated by Kim Jones)
                                   Miscellaneous Hearing re: SCO's objections to Magistrate Judge order set for
                                   10/24/2006 10:00 AM in Room 220. (kmj,) (Entered: 09/18/2006)
   09/25/2006              772 NOTICE OF CONVENTIONAL FILING of Exhibits to SCO's Memorandum in
                               Support of SCO's Motion for Partial Summary Judgment on SCO's Third Cause of
                               Action for Breach of Contract filed by Plaintiff SCO Group (Hatch, Brent) (Entered:
                               09/25/2006)
   09/25/2006              773     MOTION for Leave to File Additional Declarations in Support ofMotions for Summary
                                   Judgment filed by Defendant International Business Machines Corporation.
                                   (Attachments: # 1 Text of Proposed Order)(Shaughnessy, Todd) (Entered: 09/25/2006)
   09/25/2006              774     DECLARATION of Todd M. Shaughnessy Supplemental filed by International Business
                                   Machines Corporation. (Attachments: # 1 Exhibit 598# .2 Exhibit 599)(Shaughnessy,
                                   Todd) (Entered: 09/25/2006)
   09/25/2006              775     MOTION for Summary Judgment on SCQ's Third Cause ofAction, For Breach of
                                   Contract filed by Plaintiff SCO Group. (Hatch, Brent) (Entered: 09/25/2006)
   09/25/2006              776     MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                   Counterclaims filed by Counter Defendant SCO Group. (Hatch, Brent) (Entered:
                                   09/25/2006)
   09/25/2006              777     MOTION for Summary Judgment on IBM's Sixth, Seventh, and Eighth Counterclaims
                                   filed by Counter Defendant SCO Group. (Hatch, Brent) (Entered: 09/25/2006)
   09/25/2006              778     MOTION for Relief for IBM's Spoliation of Evidence filed by Plaintiff SCO Group.
                                   (Attachments: # 1 Text of Proposed Order SCO's Motion for Spoliation)(Hatch, Brent)
                                   (Entered: 09/25/2006)
   09/25/2006              779 NOTICE OF CONVENTIONAL FILING of Memoranda in Support of Summary
                               Judgment and Declaration filed by Defendant International Business Machines
                               Corporation (Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              780 MOTION for Summary Judgment on SCQ's Contract Claims filed by Defendant
                               International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                               Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              781     MOTION for Summary Judgment on SCQ's Copyright Claim filed by Defendant
                                   International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                   Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              782     MOTION for Partial Summary Judgment on SCQ's Unfair Competition Claim filed by
                                   Defendant International Business Machines Corporation. (Attachments: # 1 Text of
                                   Proposed Order)(Sorenson, Amy) Modified on 2/5/2016: updated motion relief (alt)
                                   (Entered: 09/25/2006)
   09/25/2006              783     MOTION for Summary Judgment on SCQ's Interference Claims filed by Defendant
                                   International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                   Order)(Sorenson, Amy) (Entered: 09/25/2006)
  09/25/2006               784 MOTION for Summary Judgment on IBM's Eighth Counterclaim filed by Defendant
https:llecf.utd.uscourts.gov/cgi-bin/DktRpt.pI?153746270523261-~1_1-1                                                              65/103
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                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              785      MOTION for Summary Judgment on IBM's Tenth Counterclaim filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              786 Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages on IBM's Memorandum
                               in Support ofSummary Judgment on SCQ's Contract Claims filed by Defendant
                               International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                               Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              787      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages on IBM's Memorandum
                                    in Support of Summary Judgment on SCQ's Unfair Competition Claim filed by
                                    Defendant International Business Machines Corporation. (Attachments: # 1 Text of
                                    Proposed Order)(Sorenson, Amy) (Entered: 09/25/2006)

   09/25/2006              788      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages on IBM's Memorandum
                                    in Support of Summary Judgment on SCQ's Interference Claims filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              789      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages on IBM's Memorandum
                                    in Support ofSummary Judgment on IBM's Tenth Counterclaim filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Sorenson, Amy) (Entered: 09/25/2006)
   09/25/2006              790 NOTICE OF CONVENTIONAL FILING of MEMORANDUM IN SUPPORT OF
                               SCO?S MOTION FOR RELIEF FOR IBM?S SPOLIATION OF EVIDENCE AND
                               EXHIBITS THERETO filed by Plaintiff SCO Group (Hatch, Brent) (Entered:
                               09/25/2006)
   09/25/2006              791      NOTICE OF CONVENTIONAL FILING of NOTICE OF CONVENTIONAL FILING
                                    OF EXHIBITS TO SCO?S MEMORANDUM IN SUPPORT OF SCO?S MOTION
                                    FOR PARTIAL SUMMARY JUDGMENT ON IBM?S SIXTH, SEVENTH, AND
                                    EIGHTH COUNTERCLAIMS filed by Plaintiff SCO Group (Hatch, Brent) (Entered:
                                    09/25/2006)
   09/25/2006              792 NOTICE OF CONVENTIONAL FILING of MEMORANDUM IN SUPPORT OF
                               SCO?S MOTION FOR PARTIAL SUMMARY ON IBM?S SECOND, THIRD,
                               FOURTH AND FIFTH COUNTERCLAIMS AND EXHIBITS THERETO filed by
                               Plaintiff SCO Group (Hatch, Brent) (Entered: 09/25/2006)
   09/25/2006              793      NOTICE OF CONVENTIONAL FILING of MEMORANDUM IN SUPPORT OF
                                    SCO?S MOTION FOR PARTIAL SUMMARY ON SCO?S THIRD CAUSE OF
                                    ACTION FOR BREACH OF CONTRACT filed by Plaintiff SCO Group (Hatch, Brent)
                                    (Entered: 09/25/2006)
   09/25/2006              794 MEMORANDUM in Support re 777 MOTION for Summary Judgment on IBM's Sixth,
                               Seventh, and Eighth Counterclaims filed by PlaintiffSCO Group. (Hatch, Brent)
                               (Entered: 09/25/2006)
   09/25/2006              795      EXHIBITS filed by SCO Group re 794 Memorandum in Support of Motion.
                                    (Attachments: # 1 Exhibit Unpublished Decisions in Support of Memorandum# 2.
                                    Exhibit Exhibit A in Support of MEMORANDUM IN SUPPORT OF ITS MOTION
                                    FOR SUMMARY JUDGMENT ON IBM?S SIXTH, SEVENTH AND EIGHTH
                                    COUNTERCLAIMS# .3. Exhibit Exhibit B MEMORANDUM IN SUPPORT OF ITS
                                    MOTION FOR SUMMARY JUDGMENT ON IBM?S SIXTH, SEVENTH AND
https://ecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             661103
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                                     EIGHTH COUNTERCLAIMS# 1 Exhibit Exhibit E MEMORANDUM IN SUPPORT
                                     OF ITS MOTION FOR SUMMARY JUDGMENT ON IBM?S SIXTH, SEVENTH
                                     AND EIGHTH COUNTERCLAIMS)(Hatch, Brent) (Entered: 09/2512006)
   09/2512006               796      DECLARATION of Brent O. Hatch re 790 Notice of Conventional Filing regarding
                                     exhibits to SCQ's Memorandum for Relieffor IBM's Soliation ofEvidence filed by SCO
                                     Group. (Hatch, Brent) (Entered: 09/25/2006)
   09/25/2006               797      DECLARATION of Brent O. Hatch re 792 Notice of Conventional Filing regarding
                                     Exhibits ofSCQ's Memorandum in Support ofMotion for Summary Judgment on IBM's
                                     Second, Third, Fourth, and Fifth Counterclaims filed by SCO Group. (Hatch, Brent)
                                     (Entered: 09/2512006)
   09/2512006               798     DECLARATION of Brent O. Hatch re 793 Notice of Conventional Filing regarding
                                    Exhibits to SCQ's Memorandum in Support ofMotion for Summary Judgment on SCQ's
                                    Third Cause ofAction for Breach of Contracts filed by SCO Group. (Hatch, Brent)
                                    (Entered: 09/2512006)
   09/2512006               799     DECLARATION of Brent O. Hatch re 791 Notice of Conventional Filing regarding
                                    Exhibits to SCQ's Memorandum in Support ofMotion for Summary Judgment on IBM's
                                    Sixth, Seventh and Eighth Counterclaims filed by SCO Group. (Hatch, Brent) (Entered:
                                    09/2512006)
   09/2512006               801      **SEALED DOCUMENT**MEMORANDUM IN SUPPORT re 784 MOTION for
                                     Summary Judgment on IBM's Eighth Counterclaim filed by Counter Claimant
                                     International Business Machines Corporation. (blk,) (Entered: 09/27/2006)
   09/2512006               802     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 780 MOTION for
                                    Summary Judgment on SCQ's Contract Claims filed by Defendant International
                                    Business Machines Corporation. (Attachments: # 1 2nd Half of Document)(blk, )
                                    NOTE: Exhibits are oversized and were submitted on CD. The CD will be retained with
                                    this document in the sealed room. (Entered: 09/27/2006)
   09/2512006               803     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 783 MOTION for
                                    Summary Judgment on SCQ's Interference Claims filed by Defendant International
                                    Business Machines Corporation. NOTE: Exhibits are oversized and were submitted on
                                    CD. The CD will be retained with the document in the sealed room. (blk,) (Entered:
                                    09/27/2006)
   09/2512006               804     **SEALED DOCUMENT** DECLARATION of Todd Shaughnessy re 785 MOTION
                                    for Summary Judgment on IBM's Tenth Counterclaim, 784 MOTION for Summary
                                    Judgment on IBM's Eighth Counterclaim, 782 MOTION for Summary Judgment on
                                    SCQ's Unfair Competition Claim, 783 MOTION for Summary Judgment on SCQ's
                                    Interference Claims, 780 MOTION for Summary Judgment on SCQ's Contract Claims,
                                    781 MOTION for Summary Judgment on SCQ's Copyright Claim filed by Defendant
                                    International Business Machines Corporation. (blk, ) NOTE: Addendum is oversized
                                    and was submitted on CD. The CD will be retained with the document in the sealed
                                    room. (Entered: 09/27/2006)
   09/2512006               805     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 785 MOTION for
                                    Summary Judgment on IBM's Tenth Counterclaim filed by Counter Claimant
                                    International Business Machines Corporation. NOTE: Exhibits are oversized and were
                                    submitted on CD. The CD will be retained with the document in the sealed room. (blk, )
                                    (Entered: 09/27/2006)
   09/2512006               806     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 782 MOTION for
                                    Summary Judgment on SCQ's Unfair Competition Claim filed by Defendant
                                    International Business Machines Corporation. NOTE: Exhibits are oversized and were
https:/Iecf.utd.uscourts.gov/cgi-bi nlDktRpt.pl?153746270523261-L_1_1-1                                                           67/103
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                                    submitted on CD. The CD will be retained with the document in the sealed room. (blk,)
                                    (Entered: 09/27/2006)
   09/25/2006               807     **SEALED DOCUMENT**MEMORANDUM IN SUPPORT re 781 MOTION for
                                    Summary Judgment on SCQ's Copyright Claim filed by Defendant International
                                    Business Machines Corporation. NOTE: Exhibits are oversized and were submitted as a
                                    CD. The CD will be retained with the document in the sealed room. (blk, ) (Entered:
                                    09/27/2006)
   09/25/2006               808     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 778 MOTION for
                                    Relief for IBM's Spoliation of Evidence filed by Defendant International Business
                                    Machines Corporation. (Attachments: # 1 Exhibit 1-B# 2. Exhibit C-J)(blk,) (Entered:
                                    09/27/2006)
   09/25/2006              809      **SEALED DOCUMENT** Exhibit A re 794 Memorandum in Support of Motion,
                                    777 MOTION for Summary Judgment on IBM's Sixth, Seventh, and Eighth
                                    Counterclaims filed by Defendant International Business Machines Corporation. (blk, )
                                    (Entered: 09/27/2006)
   09/25/2006              810      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 776 MOTION for
                                    Summary Judgment on IBM's Second, Third, Fourth, and Fifth Counterclaims filed by
                                    Defendant International Business Machines Corporation. (Attachments: # 1 Exhibit 1-
                                    4# 2. Exhibit 5-7)(blk, ) (Entered: 09/27/2006)
   09/25/2006               811     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 775 MOTION for
                                    Summary Judgment on SCQ's Third Cause ofAction, For Breach of Contract filed by
                                    Defendant International Business Machines Corporation. (blk, ) (Entered: 09/27/2006)
   09/25/2006              812      **SEALED DOCUMENT**Exhibits to 810 Sealed Memo in support re 775 MOTION
                                    for Summary Judgment on SCQ's Third Cause ofAction, For Breach of Con tract, 810
                                    Sealed Document filed by Defendant International Business Machines Corporation.
                                    NOTE: Exhibits are oversized and not scanned into an image. They will be retained in
                                    the sealed room. (blk, ) (Entered: 09/27/2006)
   09/25/2006              813      **SEALED DOCUMENT** Exhibits (pt. 1 of 5) to 810 Sealed Memo in Support re
                                    776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 810 Sealed Document, filed by Counter Claimant International Business
                                    Machines Corporation. (blk,) (Entered: 09/27/2006)
   09/25/2006              814      **SEALED DOCUMENT** Exhibits (pt 2 of5) to 810 Memo in Support re 776
                                    MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 810 Sealed Document, filed by Counter Claimant International Business
                                    Machines Corporation. (blk, ) NOTE: Oversized - no image. Retained in sealed room.
                                    (Entered: 09/27/2006)
   09/25/2006              815      **SEALED DOCUMENT** Exhibits (pt 3 of5) to 810 Memo in Support re 776
                                    MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 810 Sealed Document, filed by Counter Claimant International Business
                                    Machines Corporation. NOTE: Oversized - no image. Retained in sealed room. (blk, )
                                    (Entered: 09/27/2006)
   09/25/2006              816      **SEALED DOCUMENT** Exhibits (pt. 4 of 5) to 810 Sealed Memo in Support re
                                    776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 810 Sealed Document, filed by Counter Claimant International Business
                                    Machines Corporation. (blk, ) NOTE: Oversized - no image. Retained in sealed room.
                                    (Entered: 09/27/2006)
   09/25/2006              817      **SEALED DOCUMENT** Exhibits (pt. 5 of 5) to 810 Sealed Memo in Support re

https:llecf.utd.uscourts.gov/cgi-binlDktRpt.p1?153746270523261-L_1_1-1                                                              681103
   Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 111
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                                    776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 810 Sealed Document, filed by Counter Claimant International Business
                                    Machines Corporation. NOTE: Oversized - no image. Retained in sealed room. (blk, )
                                    (Entered: 09/27/2006)
   09/26/2006               800     DOCKET TEXT ORDER Granting 773 Motion for Leave to File Additional
                                    Declarations,

                                    Granting 786 Motion for Leave to File Excess Pages,

                                    Granting 787 Motion for Leave to File Excess Pages,

                                    Granting 788 Motion for Leave to File Excess Pages, and

                                    Granting 789 Motion for Leave to File Excess Pages.

                                    So ordered by Judge Brooke C. Wells on 9/26106. Please note no attached document.
                                    (mjw, ) (Entered: 09/26/2006)
   09/2712006               818 NOTICE OF CONVENTIONAL FILING of IBM's Memorandum in Support of
                                Summary Judgment on SCO's Unfair Competition Claim filed by Defendant
                                International Business Machines Corporation re 782 MOTION for Summary Judgment
                                on SCO's Unfair Competition Claim (Sorenson, Amy) (Entered: 09/27/2006)
   09/27/2006               819 MEMORANDUM in Support re 778 MOTION for Relief for IBM's Spoliation of
                                Evidence (Redacted version ofMemorandum filed under seal) filed by Plaintiff SCO
                                Group. (Attachments: # 1 Exhibit 1# 2. Exhibit 2# 1 Exhibit 3# 1. Exhibit A# ~ Exhibit
                                B# fi Exhibit C# 1 Exhibit D# .8. Exhibit E# 2 Exhibit F# 10 Exhibit G# 11 Exhibit H#
                                12 Exhibit 1# 11 Exhibit J)(Hatch, Brent) (Entered: 09/27/2006)
   09/27/2006               820     MEMORANDUM in Support re 776 MOTION for Summary Judgment on IBM's
                                    Second, Third, Fourth, and Fifth Counterclaims (Redacted version ofMemorandum
                                    previously filed under seal) filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit A#
                                    2. Exhibit B# 1 Exhibit C# 1. Exhibit D# ~ Exhibit E# fi Exhibit F# 1 Exhibit G# .8.
                                    Exhibit H# 2 Exhibit 1# 10 Exhibit J# 11 Exhibit K# 12 Exhibit L# 11 Exhibit M# 14
                                    Exhibit N# U Exhibit 0# 16 Exhibit P# 17 Exhibit Q# 1.8. Exhibit R)(Hatch, Brent)
                                    (Entered: 09/27/2006)
   09/27/2006               821    MEMORANDUM in Support re 775 MOTION for Summary Judgment on SCO's Third
                                    Cause ofAction, For Breach of Contract (Redacted version ofMemorandum previously
                                   filed under seal) filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit 1# 2. Exhibit
                                   2# 1 Exhibit 3# 1. Exhibit 4# ~ Exhibit A# fi Exhibit B# 1 Exhibit C# .8. Exhibit D# 2
                                   Exhibit E# 10 Exhibit F# 11 Exhibit G# 12 Exhibit H# 11 Exhibit 1# 14 Exhibit J# U
                                   Errata K# 16 Exhibit L# 11 Exhibit M# 1.8. Exhibit N# 19 Exhibit 0# 20 Exhibit P# 21
                                   Exhibit Q# 22 Exhibit R# 23 Exhibit S# 24 Exhibit T# 25 Exhibit U# 26 Exhibit V)
                                   (Hatch, Brent) (Entered: 09/27/2006)
   09/27/2006              822      REPLY to Response to Motion re 723 Ex Parte (Not Sealed) MOTION for Leave to File
                                    Excess Pages Objections to Order Granting In Part IBM's Motion to Limit SCO's
                                    Claims (Redacted version ofReply Memorandum previously filed under seal re: 726
                                    Objections to Order Granting in Part IBM's Motion to Limit SCO's Claims) filed by
                                    Plaintiff SCO Group. (Attachments: # 1 Exhibit A# 2. Exhibit B# 1 Exhibit C# 1. Exhibit
                                    D# ~ Exhibit E# fi Exhibit F# 1 Exhibit G# .8. Exhibit H# 2 Exhibit 1# .lQ Exhibit J# 11
                                    Exhibit K# 12 Exhibit L# 11 Exhibit M)(Hatch, Brent) (Entered: 09/27/2006)
   09/27/2006              823      MOTION for Admission Pro Hac Vice of Roger G. Brooks Registration fee $ 15,
                                    receipt number 4681013770. Fee Status: paid. filed by Defendant International Business

https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                              691103
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                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (blk, ) (Entered: 09/28/2006)
   09/27/2006              824      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 782 MOTION for
                                    Summary Judgment on SCQ's Unfair Competition Claim filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Exhibit A-E# ~ Exhibit
                                    F-J)(blk, ) (Entered: 09/28/2006)
   09/29/2006              825      ORDER granting 823 Motion for Admission Pro Hac Vice of Roger G. Brooks for
                                    International Business Machines Corporation.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    . Signed by Judge Dale A. Kimball on 9/29/06.(blk, ) (Entered: 09129/2006)
   09/29/2006              826      MEMORANDUM in Support re 784 MOTION for Summary Judgment on IBM's
                                    Eighth Counterclaim for Copyright Infringement filed by Defendant International
                                    Business Machines Corporation. (Shaughnessy, Todd) (Entered: 09/29/2006)

   09/29/2006              827      DECLARATION of Todd M. Shaughnessy (Second Supplemental) filed by International
                                    Business Machines Corporation. (Attachments: # 1 Exhibit Exhibit 600)(Shaughnessy,
                                    Todd) (Entered: 09/29/2006)
   09/29/2006              828      MEMORANDUM in Support re 783 MOTION for Summary Judgment on SCQ's
                                    Interference Claims (Redacted Version) filed by Defendant International Business
                                    Machines Corporation. (Shaughnessy, Todd) (Entered: 09/29/2006)
   09/29/2006              829      MEMORANDUM in Support re 781 MOTION for Summary Judgment on SCQ's
                                    Copyright Claim (Redacted Version) filed by Defendant International Business
                                    Machines Corporation. (Shaughnessy, Todd) (Entered: 09/29/2006)
   09/29/2006              830 MEMORANDUM in Support re 782 MOTION for Summary Judgment on SCQ's
                               Unfair Competition Claim (Redacted Version) filed by Defendant International Business
                               Machines Corporation. (Shaughnessy, Todd) (Entered: 09/29/2006)
   09/29/2006              831      NOTICE OF CONVENTIONAL FILING ofIBM's Redacted Memorandum in Support
                                    of its Motion for Summary Judgment on SCO's Contract Claims (SCO's First, Second,
                                    Third and Fourth Causes of Action) and IBM's Redacted Memorandum in Support of its
                                    Motion for Summary Judgment on its Claim for Declaratory Judgment of Non-
                                    Infringement (IBM's Tenth Counterclaim) filed by Defendant International Business
                                    Machines Corporation (Shaughnessy, Todd) (Entered: 09/29/2006)
   09/29/2006              832      REDACTION to 802 Sealed Memorandum in Support of780 Motion for Summary Jgm
                                    on SCOs Contract Claims, by Defendant International Business Machines Corporation.
                                    (blk,) Additional attachment(s) added on 10/2/2006 (blk, ). (Entered: 10102/2006)
   10102/2006              833      Modification of Docket: Error: Did not attach 2nd half of the document pdf. Correction:
                                    Added second half of document. re 832 Redacted Document. (blk, ) (Entered:
                                    10102/2006)
   10104/2006              834 NOTICE OF CONVENTIONAL FILING of Declaration of Todd M. Shaughnessy With
                               Unsealed or Redacted Exhibits filed by Defendant International Business Machines
                               Corporation (Sorenson, Amy) (Entered: 10104/2006)
   10104/2006              835      REDACTION to 804 Sealed Declaration of Todd M. Shaughnessy by Defendant
                                    International Business Machines Corporation. (CLERKS NOTE: The exhibits are too
                                    extensive to attach and were submitted on DVD. They will be retained in the clerks
                                    office for public access.) (blk, ) (Entered: 10104/2006)


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  Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 113
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   10105/2006               836 Amended MEMORANDUM in Support re 783 MOTION for Summary Judgment on
                                SCO's Interference Claims (Redacted Version) filed by Defendant International
                                Business Machines Corporation. (Shaughnessy, Todd) (Entered: 10105/2006)
   10/1112006               837     Stipulated MOTION for Extension of Time re Various Deadlines filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Shaughnessy, Todd) (Entered: 10/1112006)
   10/1212006               838     REDACTION to 805 Sealed Memo in Support of Summary Jgm re: 10th counterclaim,
                                    by Defendant International Business Machines Corporation. (blk, ) Additional
                                    attachment(s) added on 10/13/2006 (blk, ). (Entered: 10/13/2006)
   10/18/2006               839     Stipulated MOTION for Extension of Time re Deadlines filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Shaughnessy, Todd) (Entered: 10/18/2006)
   10119/2006               840 ORDER granting 839 Motion for Extension of Time regarding deadlines. Signed by
                                Judge Dale A. Kimball on 10/19/06.(blk,) (Entered: 10/19/2006)
   10/20/2006               841     NOTICE OF CONVENTIONAL FILING of SCO?S MOTION FOR A PROTECTIVE
                                    ORDER REGARDING DR. JEFFREY LEITZINGER?S PERSONAL FINANCIAL
                                    INFORMATION AND CERTIFICATE OF COMPLIANCE WITH RULE 37(c),
                                    EXHIBITS THERETO, and PROPOSED ORDER filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group (Hatch, Brent) (Entered: 10/20/2006)
   10/24/2006               843     NOTICE OF HEARING ON MOTION re: 695 MOTION to Strike Allegations in
                                    Excess of the Final Disclosures: Motion Hearing set for 1111512006 10:30 AM in Room
                                    220 before Magistrate Judge Brooke C. Wells. (jwd, ) (Entered: 10/24/2006)

   10/24/2006               844 Minute Entry for proceedings held before Judge Dale A. Kimball: Miscellaneous
                                Hearing re: pIa's objections to Magistrate Judge Wells' order held on 10/24/2006. After
                                hearing the arguments of counsel, the Court took the matter under advisement. After
                                discussion with the attorneys, the Court vacated the trial date of 2/26/07 to allow time
                                for the pending motions to be briefed, heard, and decided prior to tria1.Attorneys for
                                Plaintiff: Stuart Singer, Mark James, Sashi Boruchow; Attorneys for Defendant: David
                                Marriott, Todd Shaughnessey, Michael Burke, Wing Chiu. Court Reporter: Becky
                                Janke. (kmj,) (Entered: 10/24/2006)
   10/2412006                       DeadlineslHearings terminated: Jury trial set for 2/26/07 is stricken from the calendar.
                                    (kmj, ) (Entered: 10/24/2006)
   10/26/2006              845      MOTION for Protective Order Regarding Dr. Jeffrey Leitzinger's Personal Financial
                                    Information and Certificate of Compliance with Rule 37(c) FILED IN REDACTED
                                    FORM (Originally Filed Under Seal) filed by Plaintiff SCO Group. (Hatch, Brent)
                                    (Entered: 10/26/2006)
   1110112006              846      Joint MOTION for Extension of Time to File Opposition to Summary Judgment
                                    Motions filed by Plaintiff SCO Group. (Attachments: # 1 Text of Proposed Order # 2.
                                    Text of Proposed Order)(Hatch, Brent) (Entered: 1110112006)
   1110112006              847      RESPONSE to Motion re 846 Joint MOTION for Extension of Time to File Opposition
                                    to Summary Judgment Motions and Cross-Motion for Extension of Time filed by
                                    Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Attachments: # 1 Exhibit A# 2. Text of
                                    Proposed Order)(Shaughnessy, Todd) (Entered: 1110112006)
   11107/2006              848      NOTICE OF CONVENTIONAL FILING of IBM's Memorandum in Opposition to
                                    SCO's Motion for a Protective Order filed by Defendant International Business
https:ffecf.utd.uscourts.govfcgi-binfDktRpt.pl?153746270523261-L_1_1-1                                                             71f103
   Appellate Case: 16-4040                         Document: 01019681126                              Date Filed: 08/31/2016   Page: 114
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                                    Machines Corporation re 845 MOTION for Protective Order Regarding Dr. Jeffrey
                                    Leitzinger's Personal Financial Information and Certificate of Compliance with Rule
                                    37(c) FILED IN REDACTED FORM (Originally Filed Under Seal) (Shaughnessy,
                                    Todd) (Entered: 11107/2006)
   11/07/2006              849      Stipulated MOTION for Extension of Time re Deadlines filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Shaughnessy, Todd) (Entered: 11107/2006)
   11107/2006               851     **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION to 842 Sealed
                                    Motion & to 845 MOTION for Protective Order Regarding Dr. Jeffrey Leitzinger's
                                    Personal Financial Information and Certificate of Compliance with Rule 37(c) FILED
                                    IN REDACTED FORM (Originally Filed Under Seal) filed by Defendant International
                                    Business Machines Corporation. (blk, ) (Entered: 11108/2006)
   11108/2006              850      Mail Returned as Undeliverable. Mail sent to Frederick S. Frei (djs, ) (Entered:
                                    11108/2006)
   11108/2006              852      MEMORANDUM in Opposition re 845 MOTION for Protective Order Regarding Dr.
                                    Jeffrey Leitzinger's Personal Financial Information and Certificate of Compliance with
                                    Rule 37(c) FILED IN REDACTED FORM (Originally Filed Under Seal) (REDACTED
                                    MEMORANDUM) filed by Defendant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit A# 2. Exhibit B# .3. Exhibit C# .4 Exhibit D# ~ Exhibit E# fi
                                    Exhibit F# 1 Exhibit G)(Shaughnessy, Todd) (Entered: 11108/2006)
   11108/2006              853      ORDER granting 849 Motion for Extension of Time regarding deadlines. Signed by
                                    Judge Dale A. Kimball on 1118/06.(blk, ) (Entered: 11108/2006)
   11109/2006              854      NOTICE OF HEARING ON MOTION re: 695 MOTION to Strike Allegations in
                                    Excess of the Final Disclosures: Motion Hearing previously set for 11115/06 at 10:30
                                    a.m. has been reset for 11130/2006 at 03 :30 PM in Room 102 before Magistrate Judge
                                    Brooke C. Wells. [This hearing has been reset pursuant to the parties request and
                                    agreement] (jwd, ) (Entered: 11109/2006)
   1111012006              855      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages re Memorandum in
                                    Support ofIBM's Opposition to SCO's Motion Regarding Spoilation filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order)(Shaughnessy, Todd) (Entered: 11110/2006)
   11110/2006              856 NOTICE OF CONVENTIONAL FILING of (1) Declaration of Todd M. Shaughnessy;
                               (2) IBM's Memorandum in Opposition to SCO's Motion Regarding Spoliation; (3)
                               IBM's Memorandum in Opposition to SCO's Motion for Partial Summary Judgment on
                               SCO's Third Cause of Action, for Breach of Contract; (4) IBM's Memorandum in
                               Opposition to SCO's Motion for Summary Judgment on IBM's Sixth, Seventh and
                               Eighth Counterclaims; and (5) IBM's Memorandum in Opposition to SCO's Motion for
                               Partial Summary Judgment on IBM's Second, Third, Fourth and Fifth Counterclaims
                               filed by Defendant International Business Machines Corporation re 775 MOTION for
                               Summary Judgment on SCO's Third Cause ofAction, For Breach of Contract, 776
                               MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                               Counterclaims, 778 MOTION for Re1ieffor IBM's Spoliation of Evidence, 777
                               MOTION for Summary Judgment on IBM's Sixth, Seventh, and Eighth Counterclaims
                               (Shaughnessy, Todd) (Entered: 11110/2006)
   11110/2006              863      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 775 MOTION
                                    for Summary Judgment on SCO's Third Cause ofAction, For Breach of Contract filed
                                    by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    11115/2006)

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Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 115
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   11110/2006              864      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 778 MOTION
                                    for Relief for IBM's Spoliation of Evidence filed by Defendant International Business
                                    Machines Corporation. (blk, ) (Entered: 11115/2006)
   11110/2006              865      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 776 MOTION
                                    for Summary Judgment on IBM's Second, Third, Fourth, and Fifth Counterclaims filed
                                    by Defendant International Business Machines Corporation. (blk, ) (Entered:
                                    11115/2006)
   11110/2006              866      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 777 MOTION
                                    for Summary Judgment on IBM's Sixth, Seventh, and Eighth Counterclaims filed by
                                    Defendant International Business Machines Corporation. (b1k, ) (Entered: 11115/2006)
   11/10/2006              867      **SEALED DOCUMENT** DECLARATION of Todd M. Shaughnessy filed by
                                    Defendant International Business Machines Corporation. (blk,) (Entered: 11115/2006)
   1111112006              857      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages filed by Plaintiff SCO
                                    Group, Counter Defendant SCO Group. (Attachments: # 1 Text of Proposed Order)
                                    (Hatch, Brent) (Entered: 1111112006)
   1111112006              858 NOTICE OF CONVENTIONAL FILING of Opposition Memoranda and Declaration of
                               Brent O. Hatch filed by Plaintiff SCO Group, Counter Defendant SCO Group (Hatch,
                               Brent) (Entered: 1111112006)
   1111112006              861      **SEALED DOCUMENT**MEMORANDUM IN OPPOSITION re 782 MOTION
                                    for Summary Judgment on SCQ's Unfair Competition Claim filed by Plaintiff SCO
                                    Group. (b1k, ) (Entered: 11115/2006)
   1111112006              862      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 233 Motion for
                                    Partial Summary Judgment RE: IBMs 8th Counterclaim - Copyright Infringement, filed
                                    by PlaintiffSCO Group. (blk,) (Entered: 11/15/2006)
   1111112006              868      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 783 MOTION
                                    for Summary Judgment on SCQ's Interference Claims filed by Plaintiff SCO Group.
                                    (Attachments: # 1 2nd half of document)(blk, ) Modified on 11115/2006 to correct file
                                    date (blk, ). (Entered: 11115/2006)
   1111112006              869      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 781 MOTION
                                    for Summary Judgment on SCQ's Copyright Claim filed by Plaintiff SCO Group.
                                    (Attachments: # 1 2nd half of document)(blk, ) (Entered: 11115/2006)
   1111112006              870      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION part 1 re 785
                                    MOTION for Summary Judgment on IBM's Tenth Counterclaim filed by Plaintiff SCO
                                    Group. (blk,) (Entered: 11115/2006)
   1111112006              871      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION part 2 re 785
                                    MOTION for Summary Judgment on IBM's Tenth Counterclaim filed by Plaintiff SCO
                                    Group. CLERKS NOTE: Oversized document not attached as a pdf image. It will be
                                    retained in the sealed room.(blk,) (Entered: 11115/2006)

   11/1112006              872      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION part 1 of 4 re 780
                                    MOTION for Summary Judgment on SCQ's Contract Claims filed by Plaintiff SCo
                                    Group. (blk, ) (Entered: 11115/2006)
   1111112006              873      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION part 3 of 4 re 780
                                    MOTION for Summary Judgment on SCQ's Contract Claims filed by Plaintiff SCO
                                    Group. (Attachments: # 1 2nd half of document)(blk, ) Modified on 11115/2006 (blk, ).
                                    (Entered: 11/15/2006)

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   Appellate Case: 16-4040                         Document: 01019681126                             Date Filed: 08/31/2016   Page: 116
6129/2016                                                                CM/ECF - U.S. District Courtutd

   1111112006              874      **SEALED DOCUMENT** Memorandum in Opposition part 2 of 4 re 780 MOTION
                                    for Summary Judgment on SCO's Contract Claims filed by Plaintiff SCO Group. (blk, )
                                    (Entered: 11115/2006)
   1111112006              875      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION part 4 of 4 re 780
                                    MOTION for Summary Judgment on SCO's Contract Claims filed by Plaintiff SCO
                                    Group. (blk, ) (Entered: 11115/2006)
   1111112006              876      **SEALED DOCUMENT** DECLARATION of Brent O. Hatch filed by Plaintiff
                                    SCO Group. (blk,) (Entered: 11115/2006)
   11113/2006              859 ORDER granting 855 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                               Kimball on 11113/06 (alt) (Entered: 11113/2006)
   11113/2006              860 ORDER granting 857 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                               Kimball on 11113/06 (alt) (Entered: 11114/2006)
   11117/2006              877 NOTICE OF CONVENTIONAL FILING of Reply in Support of Motion for a
                               Protective Order Regarding Dr. Jeffrey Leitzinger's Personal Financial Information filed
                               by Plaintiff SCO Group (James, Mark) (Entered: 11117/2006)
   11117/2006              878      **SEALED DOCUMENT** REPLY IN SUPPORT re 842 SEALED MOTION for
                                    Protective Order re Dr. Jeffrey Leitzingers Personal Financial Information filed by
                                    Plaintiff SCO Group. (blk, ) (Entered: 11120/2006)
   11/2112006              879      MEMORANDUM in Opposition re 778 MOTION for Relief for IBM's Spoliation of
                                    Evidence (REDACTED VERSION) filed by Defendant International Business Machines
                                    Corporation. (Attachments: # 1 Exhibit A# 2. Exhibit B# .3. Exhibit C# :!:. Exhibit D# 2
                                    Exhibit E# Q Exhibit F# 1 Exhibit G# .8. Exhibit H# 2 Exhibit I# 10 Exhibit J# II Exhibit
                                    K# 12 Exhibit L# 11 Exhibit M# 14 Exhibit N# 12 Exhibit 0# 16 Exhibit P)
                                    (Shaughnessy, Todd) (Entered: 11/2112006)
   11122/2006              880 DECLARATION of Todd M. Shaughnessy (REDACTED VERSION) filed by
                               International Business Machines Corporation. (Attachments: # 1 Exhibit 601# 2. Exhibit
                               602# .3. Exhibit 603# :!:. Exhibit 604# 2 Exhibit 605# Q Exhibit 606# 1 Exhibit 607# .8.
                               Exhibit 608# 2 Exhibit 609# 10 Exhibit 610# II Exhibit 611 # 12 Exhibit 612# 11
                               Exhibit 613# 14 Exhibit 614# 12 Exhibit 615# 16 Exhibit 616# 17 Exhibit 617# l.8.
                               Exhibit 618)(Shaughnessy, Todd) (Entered: 11122/2006)
   11122/2006              881      MEMORANDUM in Opposition re 777 MOTION for Summary Judgment on IBM's
                                    Sixth, Seventh, and Eighth Counterclaims (REDACTED VERSION) filed by Defendant
                                    International Business Machines Corporation. (Shaughnessy, Todd) (Entered:
                                    11122/2006)
   11122/2006              882      MEMORANDUM in Opposition re 776 MOTION for Summary Judgment on IBM's
                                    Second, Third, Fourth, and Fifth Counterclaims (REDACTED VERSION) filed by
                                    Defendant International Business Machines Corporation. (Shaughnessy, Todd) (Entered:
                                    11122/2006)
   11122/2006              883      MEMORANDUM in Opposition re 775 MOTION for Summary Judgment on SCO's
                                    Third Cause ofAction, For Breach of Contract (REDACTED VERSION) filed by
                                    Defendant International Business Machines Corporation. (Shaughnessy, Todd) (Entered:
                                    11122/2006)
   11129/2006              884 ORDER re 539 Objections to Magistrates Order Granting in Part IBMs Motion to Limit
                               SCOs Claims filed by SCO Group. Objections are OVERRULED - Magistrate Judges
                               Order is AFFIRMED and ADOPTED in its entirety. Trial set for 2/26/07 is VACATED.
                               Oral Argument is set for pending motions for summary jgm as follows: 311107 from
                               3:00p.m. to 5:00p.m., 315/07 from 2:30p.m. to 5:00p.m., and 3/7107 from 2:30p.m. to
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             741103
Appellate Case: 16-4040                          Document: 01019681126                              Date Filed: 08/31/2016   Page: 117
6129/2016                                                                CM/ECF - U.S. District Court:utd

                                    5 :OOp.m... Signed by Judge Dale A. Kimball on 11129/06. (blk, ) (Entered: 11129/2006)
   11129/2006              885      NOTICE OF HEARING ON MOTION re: 777 MOTION for Summary Judgment on
                                    IBM's Sixth, Seventh, and Eighth Counterclaims, 775 MOTION for Summary Judgment
                                    on SCQ's Third Cause ofAction, For Breach of Contract, 784 MOTION for Summary
                                    Judgment on IBM's Eighth Counterclaim, 782 MOTION for Summary Judgment on
                                    SCQ's Unfair Competition Claim, 783 MOTION for Summary Judgment on SCQ's
                                    Interference Claims, 780 MOTION for Summary Judgment on SCQ's Contract Claims,
                                    776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 785 MOTION for Summary Judgment on IBM's Tenth Counterclaim,
                                    781 MOTION for Summary Judgment on SCQ's Copyright Claim: Motion Hearing set
                                    for 3/11200703:00 PM in Room 220 before Judge Dale A. Kimball. (blk,) (Entered:
                                    11129/2006)
   11129/2006              886 NOTICE OF HEARING ON MOTION re: 777 MOTION for Summary Judgment on
                               IBM's Sixth, Seventh, and Eighth Counterclaims, 775 MOTION for Summary Judgment
                               on SCQ's Third Cause ofAction, For Breach of Contract, 784 MOTION for Summary
                               Judgment on IBM's Eighth Counterclaim, 782 MOTION for Summary Judgment on
                               SCQ's Unfair Competition Claim, 783 MOTION for Summary Judgment on SCQ's
                               Interference Claims, 780 MOTION for Summary Judgment on SCQ's Contract Claims,
                               776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                               Counterclaims, 785 MOTION for Summary Judgment on IBM's Tenth Counterclaim,
                               781 MOTION for Summary Judgment on SCQ's Copyright Claim: Motion Hearing set
                               for 3/5/200702:30 PM in Room 220 before Judge Dale A. Kimball. (blk,) (Entered:
                               11129/2006)
   11129/2006              887      NOTICE OF HEARING ON MOTION re: 777 MOTION for Summary Judgment on
                                    IBM's Sixth, Seventh, and Eighth Counterclaims, 775 MOTION for Summary Judgment
                                    on SCQ's Third Cause ofAction, For Breach of Contract, 784 MOTION for Summary
                                    Judgment on IBM's Eighth Counterclaim, 782 MOTION for Summary Judgment on
                                    SCQ's Unfair Competition Claim, 783 MOTION for Summary Judgment on SCQ's
                                    Interference Claims, 780 MOTION for Summary Judgment on SCQ's Contract Claims,
                                    776 MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims, 785 MOTION for Summary Judgment on IBM's Tenth Counterclaim,
                                    781 MOTION for Summary Judgment on SCQ's Copyright Claim: Motion Hearing set
                                    for 3/7/200702:30 PM in Room 220 before Judge Dale A. Kimball. (blk,) (Entered:
                                    11129/2006)
   11130/2006              888      Minute Entry for proceedings held before Judge Brooke C. Wells : Court heard oral
                                    arguments. Courtgranted 695 MOTION to Strike Allegations in Excess of the Final
                                    Disclosures filed by International Business Machines Corporation. Written Order to be
                                    prepared by Mr. Marriott.Attorney for Plaintiff: Brad Hatch, Attorney for Defendant
                                    David Marriott. Court Reporter: Becky Janke. (mlp, ) (Entered: 11130/2006)
   12/0112006              889 NOTICE OF CONVENTIONAL FILING of Reply Memorandum in Further Support of
                               SCO's Motion for Relief For IBM's Spoliation of Evidence filed by Plaintiff SCO Group
                               (Hatch, Brent) (Entered: 12/0112006)
   12/0112006              890      Ex Parte (Not Sealed) MOTION for Leave to File Over-length Reply Memorandum
                                    filed by PlaintiffSCO Group. (Attachments: # 1 Text of Proposed Order)(Hatch, Brent)
                                    (Entered: 12/0112006)
   12/01/2006              891      **SEALED DOCUMENT** REPLY MEMORANDUM in Further Support re 778
                                    MOTION for Relief for IBM's Spoliation of Evidence filed by PlaintiffSCO Group.
                                    (blk, ) (Entered: 12/0412006)
   12/06/2006              892      ORDER granting 890 Motion for Leave to File overlength reply memorandum. Signed
https:ffecf.utd.uscourts.gov/cgi-binfDktRpt.pl?153746270523261-L_1_1-1                                                             751103
   Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 118
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                                    by Judge Dale A. Kimball on 12/6106.(blk,) (Entered: 12/06/2006)
   12113/2006              893      NOTICE OF CONVENTIONAL FILING of MOTION FOR RECONSIDERATION
                                    OF NOVEMBER 29TH ORDER and MEMORANDUM IN SUPPORT OF MOTION
                                    FOR RECONSIDERATION OF NOVEMBER 29TH ORDER filed by Plaintiff SCO
                                    Group (Hatch, Brent) (Entered: 12/13/2006)
   12/13/2006              894      SEALED MOTION for Reconsideration of November 29th Order # 884 filed by
                                    Plaintiff SCO Group. (blk, ) (Entered: 12114/2006)
   12/13/2006              895      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 894 SEALED
                                    MOTION to Reconsider Order # 884 dated 11129/06, filed by Plaintiff SCO Group.
                                    (blk, ) (Entered: 12/14/2006)
   12/14/2006              896 NOTICE OF HEARING ON MOTION re: 845 MOTION for Protective Order
                               Regarding Dr. Jeffrey Leitzinger's Personal Financial Iriformation and Certificate of
                               Compliance with Rule 37(c) FILED IN REDACTED FORM (Originally Filed Under
                               Seal), 842 SEALED MOTION, 778 MOTION for Relieffor IBM's Spoliation of
                               Evidence: Motion Hearing set for 1118/2007 09:30 AM in Room 102 before Magistrate
                               Judge Brooke C. Wells. Gwd,) (Entered: 12114/2006)
   12114/2006              897 REQUEST for Reconsideration of November 29th Order filed by PlaintiffSCO Group.
                               (Hatch, Brent) (Entered: 12114/2006)
   12/14/2006              898      SUPPORTING MEMORANDUM BRIEF re 897 Requestfor Reconsideration of
                                    November 29th Order filed by Plaintiff SCO Group. (Hatch, Brent) (Entered:
                                    12114/2006)
   12114/2006              899 OBJECTION TO MAGISTRATE JUDGE DECISION to District Court by SCO Group
                               (Hatch, Brent) (Entered: 12114/2006)
   12/18/2006              900 NOTICE OF DEFICIENCY re 897 Request. The document was filed as a request and
                               would be better filed as a motion. The court asks the filer of the original document to
                               file the pleading again. The new pleading will receive a new document number on the
                               docket. Gmr) (Entered: 1211812006)
   12/18/2006              901      Stipulated MOTION for Extension of Time to file reply memoranda in further support
                                    of pending motions for summary judgment filed by Defendant International Business
                                    Machines Corporation. (Attachments: # 1 Text of Proposed Order)(Shaughnessy, Todd)
                                    (Entered: 12118/2006)
   12/19/2006              902      REDACTION to 894 SEALED MOTION for Reconsideration ofNovember 29th Order
                                    by Plaintiff SCO Group. (James, Mark) (Entered: 1211912006)
   12/20/2006              903      REDACTION to 869 Sealed Document SCO's Memorandum in Opposition to IBM's
                                    "Motion for Summary Judgment on SCO's Copyright Claim (SCO's Fifth Cause of
                                    Action)" by Plaintiff SCO Group. (Attachments: # 1 Part 2: pages 30-64# 2. Appendix
                                    A)(Hatch, Brent) (Entered: 12/20/2006)
   12/20/2006              904      ORDER granting 901 Motion for Extension of Time to file reply memoranda in further
                                    support of pending motions for summary judgment. Reply Memoranda Due: 1112/07.
                                    Signed by Judge Dale A. Kimball on 12119/06.(blk,) (Entered: 12/2112006)
   12/21/2006              905      MOTION for Admission Pro Hac Vice ofSashi Bach Boruchow Registration fee $ 15,
                                    receipt number 436957. filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Application for Admission# 2. Electronic Case Filing Registration
                                    Form#;2 Text of Proposed Order)(James, Mark) (Entered: 12/2112006)
   12/26/2006              906      WRITTEN ORDER FOLLOWING 888 Minute Entry granting Motion to Strike (oral

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                                    order of 11/30106). Signed by Judge Brooke C. Wells on 12/21106 (alt) (Entered:
                                    12/26/2006)
   12/27/2006              907     REDACTION to 861 Sealed Document Memorandum in Opposition to IBM's Motion
                                   for Summary Judgment on SCO's Unfair Competition Claim by Plaintiff SCO Group,
                                   Counter Defendant SCO Group. (Hatch, Brent) Modified on 12/28/2006 by sealing
                                   document for re-filed redaction see document # 909 (blk,). (Entered: 12/27/2006)
   12/27/2006              908     REDACTION to 868 Sealed Document, Memorandum in Opposition to IBM's Motion
                                   for Summary Judgment on SCO's Interference Claims by Plaintiff SCO Group, Counter
                                   Defendant SCO Group. (Hatch, Brent) Modified on 12/28/2006 by sealing document,
                                   please refer to refiled redaction # 910 (blk,). (Entered: 12/27/2006)
   12/28/2006              909      REDACTION to 861 Sealed Document REFILE ofDocument #907: Memorandum in
                                    Opposition to IBM's Motion for Summary Judgment on SCO's Unfair Competition
                                    Claim by Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1
                                    Appendix A)(Hatch, Brent) (Entered: 12/28/2006)
   12/2812006              910 REDACTION to 868 Sealed Document, REFILE ofDocument #908:Memorandum in
                               Opposition to IBM's Motion for Summary Judgment on SCO's Interference Claims by
                               PlaintiffSCO Group, Counter Defendant SCO Group. (Attachments: # 1 Appendix A)
                               (Hatch, Brent) (Entered: 12/28/2006)
   0110212007               911    MOTION for Extension of Time to File ResponselReply as to 894 SEALED MOTION
                                   for Reconsideration filed by Defendant International Business Machines Corporation.
                                   (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                   (Wheatley, Nathan) (Entered: 01102/2007)
   01/03/2007              912      ORDER granting 911 Motion for Extension of Time to File ResponselReply re 894
                                    SEALED MOTION. Replies due by 1119/2007. Signed by Judge Dale A. Kimball on
                                    1/3/07. (kla) (Entered: 01104/2007)
   01109/2007              913      MOTION to Amend/Correct DECEMBER 2005 SUBMISSION filed by Plaintiff SCO
                                    Group, Counter Defendant SCO Group. (Attachments: # 1 Text of Proposed Order)
                                    Motions referred to Brooke C. Wells.(Hatch, Brent) (Entered: 01109/2007)
   01109/2007              914      MEMORANDUM in Support re 913 MOTION to Amend/Correct DECEMBER 2005
                                    SUBMISSION filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Exhibit 1-3 FILED UNDER SEAL# 2 Exhibit 4#.3. Exhibit 5# ~
                                    Exhibit 6# ~ Exhibit 7)(Hatch, Brent) (Entered: 01109/2007)
   01109/2007              915      NOTICE OF CONVENTIONAL FILING of EXHIBITS 1,2 AND 3 TO
                                    MEMORANDUM IN SUPPORT OF SCO'S MOTION TO AMEND DECEMBER
                                    SUBMISSION filed by Plaintiff SCO Group, Counter Defendant SCO Group (Hatch,
                                    Brent) (Entered: 01109/2007)
   0110912007              916 NOTICE OF CONVENTIONAL FILING of SCO'S MEMORANDUM IN SUPPORT
                               OF ITS OBJECTIONS TO THE MAGISTRATE ruDGE'S ORDER ON IBM'S
                               MOTION TO CONFINE filed by Plaintiff SCO Group, Counter Defendant SCO Group
                               (Hatch, Brent) (Entered: 01109/2007)

   01109/2007              917      Plaintiff's MOTION for Leave to File OVER LENGTH MEMORANDUM IN
                                    SUPPORT OF ITS OBJECTIONS TO THE MAGISTRATE ruDGE'S ORDER ON
                                    IBM'S MOTION TO CONFINE filed by Plaintiff SCO Group, Counter Defendant SCO
                                    Group. (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                    (Hatch, Brent) (Entered: 01/09/2007)
   01/09/2007              920      ORDER granting 905 Motion for Admission Pro Hac Vice of Sashi Bach Boruchow for
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                             771103
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                                    SCO Group.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    . Signed by Judge Dale A. Kimball on 118/07. (blk) (Entered: 01110/2007)
   01109/2007              921      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 899 Objection to
                                    Magistrate Judge Decision to District Court filed by Plaintiff SCO Group. (Clerks Note:
                                    Exhibits are oversized and not attached to this entry. They will be retained in the Clerks
                                    Office 5th floor sealed room for viewing by authorized persons only.) (blk) (Entered:
                                    01110/2007)
   01109/2007              922      **SEALED DOCUMENT** EXHIBITS 1,2 & 3 to 914 Memorandum in Support of
                                    913 MOTION to Amend/Correct DECEMBER 2005 SUBMISSION, filed by Plaintiff
                                    SCO Group. (Clerks Note: Oversized - not attaches. Retained in sealed room.) (blk)
                                    (Entered: 01/10/2007)
   01110/2007              918      Stipulated MOTION for Extension of Time of Deadlines filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells.(Shaughnessy, Todd) (Entered: 0111012007)
   0111012007              919      ORDER granting 2.l1 Motion for Leave to File overlength memo. Signed by Judge Dale
                                    A. Kimball on 1110/07. (blk) (Entered: 01110/2007)
   01112/2007              923      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pages filed by Defendant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells.(Shaughnessy, Todd) (Entered: 01112/2007)
   01112/2007              924 NOTICE OF CONVENTIONAL FILING of(1) IBM's Reply Memorandum in Further
                               Support of its Motion for Summary Judgment on SCO's Contract Claims (SCO's First,
                               Second, Third and Fourth Causes of Action); (2) IBM's Reply Memorandum in Further
                               Support ofIts Motion for Summary Judgment on SCO's Copyright Claim (SCO's Fifth
                               Cause of Action); (3) IBM's Reply Memorandum in Further Support ofIts Motion for
                               Summary Judgment on SCO's Unfair Competition Claim (SCO's Sixth Cause of
                               Action); (4) IBM's Reply Memorandum in Further Support ofIts Motion for Summary
                               Judgment on SCO's Interference Claims (SCO's Seventh, Eighth and Ninth Causes of
                               Action); (5) IBM's Reply Memorandum in Further Support ofIts Motion for Summary
                               Judgment Regarding Its Claim for Declaratory Judgment of Non-Infringement (IBM's
                               Tenth Counterclaim); (6) IBM's Reply Memorandum in Further Support ofIts Motion
                               for Summary Judgment on Its Claim for Copyright Infringement Claim (IBM's Eighth
                               Counterclaim); (7) Declaration of Todd M. Shaughnessy; (8) Supplemental Declaration
                               of Todd M. Shaughnessy filed by Defendant International Business Machines
                               Corporation (Shaughnessy, Todd) (Entered: 01112/2007)
   01112/2007              925      NOTICE OF CONVENTIONAL FILING of SCO'S REPLY MEMORANDUM IN
                                    FURTHER SUPPORT OF ITS MOTION FOR SUMMARY JUDGMENT ON SCO'S
                                    THIRD CAUSE OF ACTION, FOR BREACH OF CONTRACT filed by Plaintiff SCO
                                    Group, Counter Defendant SCO Group (Hatch, Brent) (Entered: 01112/2007)
   01112/2007              926 NOTICE OF CONVENTIONAL FILING of PLAINTIFFICOUNTERCLAIM-
                               DEFENDANT SCO'S REPLY IN SUPPORT OF MOTION FOR SUMMARY
                               JUDGMENT ON IBM'S SECOND, THIRD, FOURTH AND FIFTH
                               COUNTERCLAIMS filed by Plaintiff SCO Group, Counter Defendant SCO Group
                               (Hatch, Brent) (Entered: 0111212007)
   01112/2007              927 MOTION for Leave to File SCO's Over length Reply Memorandum in Further Support
                               of its Motion for Partial Summary Judgment on SCO's Third Cause of Action, For
                               Breach of Contract filed by Plaintiff SCO Group, Counter Defendant SCO Group.

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                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.(Hatch,
                                    Brent) (Entered: 01112/2007)
   01112/2007              928      Ex Parte (Not Sealed) MOTION for Leave to File Over Length Reply Memorandum in
                                    Support of its Motion for Summary Judgment on IBM's Sixth, Seventh and Eighth
                                    Counterclaims filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.(Hatch,
                                    Brent) (Entered: 01112/2007)
   01112/2007              929      Ex Parte (Not Sealed) MOTION for Leave to File Over Length Reply Memorandum in
                                    Support of Motion for Summary Jugment on IBM's Second, Third, Fourth and Fifth
                                    Counterclaims filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.(Hatch,
                                    Brent) (Entered: 01112/2007)
   01112/2007              930      REPLY to Response to Motion re 777 MOTION for Summary Judgment on IBM's
                                    Sixth, Seventh, and Eighth Counterclaims filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group. (Hatch, Brent) (Entered: 01112/2007)
   01112/2007              938      **SEALED DOCUMENT** REPLY MEMORANDUM in support of780 MOTION
                                    for Summary Judgment on SCQ's Contract Claims filed by Defendant International
                                    Business Machines Corporation. Part 1 of2.(Oversized - no document attached.) (blk)
                                    (Entered: 01118/2007)
   01112/2007              939      **SEALED DOCUMENT**REPLY MEMORANDUM in support of780 MOTION
                                    for Summary Judgment on SCQ's Contract Claims filed by Defendant International
                                    Business Machines Corporation. Part 2 of2. (Oversized - no document attached.) (blk)
                                    (Entered: 01118/2007)
   01112/2007              940      **SEALED DOCUMENT** REPLY MEMORANDUM in support of785 MOTION
                                    for Summary Judgment on IBM's Tenth Counterclaim filed by Defendant International
                                    Business Machines Corporation. (Oversized - no document attached.) (blk) (Entered:
                                    01118/2007)
   0111212007              941      **SEALED DOCUMENT** DECLARATION of Todd M. Shaughnessy filed by
                                    Defendant International Business Machines Corporation. (blk) (Entered: 01118/2007)
   01112/2007              942      **SEALED DOCUMENT** REPLY MEMORANDUM in support of781 MOTION
                                    for Summary Judgment on SCQ's Copyright Claim filed by Defendant International
                                    Business Machines Corporation. (blk) (Oversized - no document attached.) (Entered:
                                    01118/2007)
   01112/2007              943      **SEALED DOCUMENT** REPLY MEMORANDUM in Support of775 MOTION
                                    for Summary Judgment on SCQ's Third Cause ofAction, For Breach of Contract filed
                                    by Plaintiff SCO Group. (Oversized - no document attached.) (blk) (Entered:
                                    01118/2007)
   01112/2007              944      **SEALED DOCUMENT** REPLY MEMORANDUM in support re 776 MOTION
                                    for Summary Judgment on IBM's Second, Third, Fourth, and Fifth Counterclaims filed
                                    by Plaintiff SCO Group. (blk) (Oversized - no document attached.) (Entered:
                                    01118/2007)

   01112/2007              945      **SEALED DOCUMENT** REPLY MEMORANDUM in support of784 MOTION
                                    for Summary Judgment on IBM's Eighth Counterclaim filed by Defendant IBM. (blk)
                                    Modified on 1118/2007 by correcting filer information(blk). (Entered: 01118/2007)
   01112/2007              946      **SEALED DOCUMENT** REPLY MEMORANDUM in support of783 MOTION
                                    for Summary Judgment on SCQ's Interference Claims filed by Defendant International
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                            79/103
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                                    Business Machines Corporation. (Oversized - no document attached.) (b1k) (Entered:
                                    01118/2007)
   01112/2007               947     **SEALED DOCUMENT** REPLY MEMORANDUM in support of782 MOTION
                                    for Summary Judgment on SCO's Unfair Competition Claim filed by Defendant
                                    International Business Machines Corporation. (b1k) (Entered: 01118/2007)
   01112/2007               948     **SEALED DOCUMENT** SUPPLEMENTAL DECLARATION of Todd M.
                                    Shaughnessy filed by Defendant International Business Machines Corporation. (blk)
                                    (Entered: 01118/2007)
   01116/2007               931     ORDER granting 918 Stipulated Motion for Extension of Time regarding deadlines.
                                    Signed by Judge Dale A. Kimball on 1116/07. (blk) (Entered: 01116/2007)
   01116/2007              932      ORDER granting 923 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 1116/07. (blk) (Entered: 01116/2007)

   01116/2007               933     ORDER granting 927 Motion for Leave to File overlength reply memo. Signed by
                                    Judge Dale A. Kimball on 1116/07. (blk) (Entered: 01/16/2007)
   01116/2007              934      ORDER granting 929 Motion for Leave to File overlength reply memo. Signed by
                                    Judge Dale A. Kimball on 1116/07. (blk) (Entered: 01116/2007)
   01116/2007              935      ORDER granting 928 Motion for Leave to File overlength reply memo. Signed by
                                    Judge Dale A. Kimball on 1116/07. (blk) (Entered: 01116/2007)
   0111612007              936      MOTION for Admission Pro Hac Vice of Michael P. Burke, Registration fee $ 15,
                                    receipt number 4681015650, Fee Status: paid. filed by Defendant International Business
                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (blk) (Entered: 01116/2007)
   01116/2007              937      ORDER granting 936 Motion for Admission Pro Hac Vice of Michael P. Burke for
                                    International Business Machines Corporation.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District ofUtahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    . Signed by Judge Dale A. Kimball on 1116/07. (blk) (Entered: 01116/2007)
   01119/2007              950 MEMORANDUM in Opposition re 894 SEALED MOTION FOR
                               RECONSIDERATION OF THE COURT'S ORDER OF NOVEMBER 29, 2006 filed by
                               Defendant International Business Machines Corporation. (Attachments: # 1 Exhibit A#
                               2: Exhibit B# .3. Exhibit C# :1 Exhibit D# ~ Exhibit E# QExhibit F# 1 Exhibit G# £
                               Exhibit H# .2. Exhibit 1# 10 Exhibit J# 11 Exhibit K)(Shaughnessy, Todd) (Entered:
                               01/19/2007)
   01124/2007              951      Stipulated MOTION for Extension of Time for IBM to file its opposition to (i) SCO's
                                    Objections to the Magistrate Judge's Order on IBM's Motion to Confine, and (ii) SCO's
                                    Motion to Amend/Correct December 2005 Submission filed by Defendant International
                                    Business Machines Corporation. (Attachments: # 1 Text of Proposed Order) Motions
                                    referred to Brooke C. Wells.(Shaughnessy, Todd) (Entered: 01124/2007)
   01129/2007              952      ORDER granting 951 Motion for Extension of Time. Signed by Judge Dale A. Kimball
                                    on 1126107. (blk) (Entered: 01129/2007)
   02/02/2007              953      Ex Parte (Not Sealed) MOTION for Leave to File SCO's Over Length Reply
                                    Memorandum in Support oflts Motion for Reconsideration of the Court's Order of
                                    November 29, 2009 filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells. (James,
                                    Mark) (Entered: 02/02/2007)

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   0210212007               954     REDACTION to 862 Sealed Document SCO's Memorandum in Opposition to IBM's
                                    Motion for Summary Judgment on Its Claim for Copyright Infringement (IBM's Eighth
                                    Counterclaim) by Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments:
                                    # 1 Appendix A)(Nonnand, Edward) (Entered: 0210212007)
   0210212007               955     REPLY to Response to Motion re 894 SEALED MOTION FOR RECONSIDERATION
                                    filed by Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1
                                    Exhibit A)(James, Mark) (Entered: 0210212007)
   0210612007               956     REDACTION to 870 Sealed Document SCO's Memorandum in Opposition to IBM's
                                    Motion for Summary Judgment on Its Claim for Declaratory Judgment of Non-
                                    Infringement (IBM's 10th Counterclaim) by Plaintiff SCO Group, Counter Defendant
                                    SCO Group. (Attachments: # 1 Redacted Brief Part 2# 2. Appendix Part 1#.3. Appendix
                                    Part 2# 1: Appendix Part 3# ~ Appendix Part 4)(Nonnand, Edward) (Entered:
                                    0210612007)
   02108/2007               957     MOTION for Extension of Time to File ResponselReply as to 913 MOTION to
                                    Amend/Correct DECEMBER 2005 SUBMISSION, 899 Objection to Magistrate Judge
                                    Decision to District Court filed by Defendant International Business Machines
                                    Corporation. (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C.
                                    Wells.(Shaughnessy, Todd) (Entered: 02108/2007)
   02/1212007               958     ORDER Granting SCOs Motion for a Protective Order Regarding Dr. Jeffrey
                                    Leitzingers Personal Financial Infonnation re 842 SEALED MOTION filed by SCO
                                    Group, 845 Redacted MOTION for Protective Order Regarding Dr. Jeffrey Leitzinger's
                                    Personal Financial Information and Certificate of Compliance with Rule 37(c) FILED
                                    IN REDACTED FORM (Originally Filed Under Seal) MOTION for Protective Order
                                    Regarding Dr. Jeffrey Leitzinger's Personal Financial Information and Certificate of
                                    Compliance with Rule 37(c) FILED IN REDACTED FORM (Originally Filed Under
                                    Seal) filed by SCO Group. Signed by Judge Brooke C. Wells on 2/12107. (blk) (Entered:
                                    02113/2007)
   02/13/2007              959      ORDER granting 957 Motion for Extension of Time to File Response/Reply re:
                                    Objections and Motion to Amend Decision. Replies due by 211612007. Signed by Judge
                                    Dale A. Kimball on 2/13/07. (blk) (Entered: 02113/2007)
   02/1612007              960      REDACTION to 872 Sealed Document SCO's Memorandum in Opposition to IBM's
                                    Motion for Summary Judgment on SCO's Contract Claims by Plaintiff SCO Group,
                                    Counter Defendant SCO Group. (Attachments: # 1 Opposition Part 2# 2. Opposition Part
                                    3#.3. Opposition Part 4# 1: Appendix Part 1# ~ Appendix Part 2# QAppendix Part 3)
                                    (Nonnand, Edward) (Entered: 02/1612007)
   0211612007              961      MEMORANDUM in Opposition re 913 MOTION to Amend/Correct DECEMBER
                                    2005 SUBMISSION and re 899 Objection to Magistrate Judge Decision filed by
                                    Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Attachments: # 1 Exhibit Addendum A#
                                    2. Exhibit Addendum B# .3. Exhibit Addendum C# 1: Exhibit Addendum D# ~ Exhibit
                                    Addendum E# QExhibit Addendum F# 1 Exhibit Addendum G# .8. Exhibit Addendum
                                    H#.2. Exhibit Addendum I (under seal)# 10 Exhibit Addendum J (under seal)# 11
                                    Exhibit Addendum K (Unpublished Opinions»(Sorenson, Amy) (Entered: 0211612007)
   0211612007              962      Ex Parte (Not Sealed) MOTION for Leave to File Excess Pagesfor Docket No. 961
                                    (Memorandum in Opposition) filed by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                    (Sorenson, Amy) (Entered: 0211612007)


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   02116/2007              963      ADDENDUM K to 961 Memorandum in Opposition to Motion, filed by Defendant
                                    International Business Machines Corporation. (Clerks Note: Full document not scanned
                                    and attached due to size. Complete document will be retained in the clerks office for
                                    viewing.) (blk) (Entered: 02/20/2007)
   02/16/2007              964      **SEALED DOCUMENT** ADDENDUM J - re 961 Memorandum in Opposition to
                                    Motion, filed by Defendant International Business Machines Corporation. (blk)
                                    (Entered: 02/20/2007)
   0211612007              965      **SEALED DOCUMENT** ADDENDUM I - re 961 Memorandum in Opposition to
                                    Motion, filed by Defendant International Business Machines Corporation. (blk)
                                    (Entered: 02/20/2007)
   02/20/2007              966      ORDER granting 962 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 2/20107. (blk) (Entered: 02/20/2007)
   02/2112007              967      Stipulated MOTION for Extension of Time to File Response/Reply to IBM's
                                    Memorandum in Opposition to SCO's Objections to the Magistrate Judge's Order on
                                    IBM's Motion to Confine and SCO's Motion to Amend its December 2005 Submission
                                    filed by Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1 Text
                                    of Proposed Order) Motions referred to Brooke C. Wells. (Normand, Edward) (Entered:
                                    02/2112007)

   02/2112007              968      MEMORANDUM in Opposition re 913 MOTION to Amend/Correct DECEMBER
                                    2005 SUBMISSION and re 899 Objection to Magistrate Judge Decision
                                    (CORRECTED) filed by Defendant International Business Machines Corporation,
                                    Counter Claimant International Business Machines Corporation. (Attachments: # 1
                                    Exhibit Addendum A# 2. Exhibit Addendum B# .3. Exhibit Addendum C# 1: Exhibit
                                    Addendum D# ~ Exhibit Addendum E# Q Exhibit Addendum F# 1 Exhibit Addendum
                                    G# li Exhibit Addendum H#.2 Exhibit Addendum I (under seal)# 10 Exhibit Addendum
                                    J (under seal)# 11 Errata Addendum K (Unpublished Opinions))(Sorenson, Amy)
                                    (Entered: 02/2112007)
   02/22/2007              969      ORDER granting 967 Motion for Extension of Time to File Response/Reply re:
                                    Objections to Magistrate Judges Order.Replies due by 3112/2007 .. Signed by Judge Dale
                                    A. Kimball on 2/22/07. (blk) (Entered: 02122/2007)
   02/2812007              970 AMENDED NOTICE OF HEARING ON MOTION re: 782 MOTION for Summary
                               Judgment on SCO's Unfair Competition Claim, 776 MOTION for Summary Judgment
                               on IBM's Second, Third, Fourth, and Fifth Counterclaims, 780 MOTION for Summary
                               Judgment on SCO's Contract Claims, 777 MOTION for Summary Judgment on IBM's
                               Sixth, Seventh, and Eighth Counterclaims, 775 MOTION for Summary Judgment on
                               SCO's Third Cause ofAction, For Breach of Contract, 781 MOTION for Summary
                               Judgment on SCO's Copyright Claim, 131 MOTION for Summary Judgment on IBM's
                               Eighth Counterclaim, 953 Ex Parte (Not Sealed) MOTION for Leave to File SCO's
                               Over Length Reply Memorandum in Support ofIts Motion for Reconsideration of the
                               Court's Order of November 29, 2009Ex Parte (Not Sealed) MOTION for Leave to File
                               SCO's Over Length Reply Memorandum in Support of Its Motion for Reconsideration
                               of the Court's Order of November 29,2009, li21 SEALED MOTION, 133. MOTION for
                               Summary Judgment on SCO's Interference Claims, 785 MOTION for Summary
                               Judgment on IBM's Tenth Counterclaim, 913 MOTION to Amend/Correct DECEMBER
                               2005 SUBMISSION: Motion Hearing reset for 3/112007 02:30 PM in Room 220 before
                               Judge Dale A. Kimball. Please note time change from 3:00 PM to 2:30 PM.(kmj)
                               (Entered: 02/28/2007)

   02/28/2007              971      DECLARATION of Brent O. Hatch filed by SCO Group, SCO Group. (Attachments: #
https:/Iecf.utd.uscourts.gov/cgi-binIDktRpt.pl?153746270523261-L_1_1-1                                                            621103
   Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 125
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                                    1 Exhibit)(Hatch, Brent) (Entered: 02/28/2007)
   03/0112007               972     Minute Entry for proceedings held before Judge Dale A. Kimball: Motion Hearing held
                                    on 311/2007 re 775 MOTION for Summary Judgment on SCO's Third Cause ofAction,
                                    For Breach of Contract filed by SCO Group, 781 MOTION for Summary Judgment on
                                    SCO's Copyright Claim filed by International Business Machines Corporation, 780
                                    MOTION for Summary Judgment on SCO's Contract Claims filed by International
                                    Business Machines Corporation. After hearing the arguments of counsel, the Court took
                                    the motions under advisement.Attorneys for Plaintiff: Stuart Singer, Edward Normand,
                                    Brent Hatch. Attorneys for Defendant: David Marriott, Amy Sorensen, Michael Burke,
                                    Todd Shaughnessy. Court Reporter: Ed Young. (kmj) (Entered: 03/02/2007)
   03/02/2007               973     ORDER denying 778 MOTION for Relief for IBM's Spoliation of Evidence filed by
                                    SCO Group. Follows oral order on motion in hearing on 1118/07. Signed by Judge
                                    Brooke C. Wells on 3/2/07. (blk) (Entered: 03/02/2007)
   03/05/2007               974     Minute Entry for proceedings held before Judge Dale A. Kimball: Motion Hearing held
                                    on 3/5/2007 re 782 MOTION for Summary Judgment on SCO's Unfair Competition
                                    Claim filed by International Business Machines Corporation, 783 MOTION for
                                    Summary Judgment on SCO's Interference Claims filed by International Business
                                    Machines Corporation. After hearing the arguments of counsel, the Court took the
                                    motions under advisement.Attorneys for Plaintiff: Brent Hatch, Edward Normand,
                                    Stuart Singer, Mark James; Attorneys for Defendant: David Marriott, Todd Shaunessey,
                                    Amy Sorensen, Michael Burke, Gregory Limbrich. Court Reporter: Ed Young & Kelly
                                    Hicken. (kmj) (Entered: 03/07/2007)
   03/07/2007              975      Minute Entry for proceedings held before Judge Dale A. Kimball: Motion Hearing held
                                    on 3/7/2007 re 776 MOTION for Summary Judgment on IBM's Second, Third, Fourth,
                                    and Fifth Counterclaims filed by SCO Group, 784 MOTION for Summary Judgment on
                                    IBM's Eighth Counterclaim filed by International Business Machines Corporation, 785
                                    MOTION for Summary Judgment on IBM's Tenth Counterclaim filed by International
                                    Business Machines Corporation, 777 MOTION for Summary Judgment on IBM's Sixth,
                                    Seventh, and Eighth Counterclaims filed by SCO Group. After hearing the arguments of
                                    counsel, the Court took the motions under advisement.Attorneys for Plaintiff: Brent
                                    Hatch, Stuart Singer, Edward Normand; Attorneys for Defendant: David Marriott, Amy
                                    Sorensen, Peter Donaldson, Todd Shaughnessy, Joseph Kroetsch, Jefferson Bell. Court
                                    Reporter: Kelly Hicken. (kmj) (Entered: 03/09/2007)
   0311212007              976      Stipulated MOTION for Extension of Time to File ResponselReply reply memorandum
                                    to (i) IBMs Memorandum in Opposition to SCOs Objections to the Magistrate Judges
                                    Order on IBMs Motion to Confine and (ii) IBMs Memorandum in Opposition to SCOs
                                    Motion to Amend its December 2005 Submission filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group. (Attachments: # 1 Text of Proposed Order) Motions referred to
                                    Brooke C. Wells. (Normand, Edward) (Entered: 03112/2007)
   03112/2007              977      REDACTION to 942 Sealed Document IBM's Reply Memorandum in Further Support
                                    ofIts Motion for Summary Judgment on SCO's Copyright Claim (SCO's Fifth Cause of
                                    Action) by Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Attachments: # 1 Exhibit Addendum A#
                                    2. Exhibit Addendum B# 1 Exhibit Addendum C# ~ Exhibit Addendum D# ~ Exhibit
                                    Addendum E# Q Exhibit Addendum F# 1 Exhibit Addendum G# .8. Exhibit Addendum
                                    H# 2 Supplement Addendum 1# 10 Exhibit Addendum J# 11 Exhibit Addendum K# 12
                                    Exhibit Addendum L# U Supplement Addendum M# 14 Exhibit Addendum N# U
                                    Exhibit Addendum O)(Sorenson, Amy) (Entered: 03/12/2007)
   0311212007              978      REDACTION to 947 Sealed Document IBM's Reply Memorandum in Further Support
                                    of its Motion for Summary Judgment on SCO's Unfair Competition Claim (SCO's Sixth
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                              831103
 Appellate Case: 16-4040                         Document: 01019681126                              Date Filed: 08/31/2016   Page: 126
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                                    Cause ofAction) by Defendant International Business Machines Corporation, Counter
                                    Claimant International Business Machines Corporation. (Attachments: # 1 Exhibit
                                    Addendum A# ~ Exhibit Addendum B# J. Exhibit Addendum C# 1 Exhibit Addendum
                                    D# 2 Exhibit Addendum E)(Sorenson, Amy) (Entered: 03112/2007)
   03/13/2007               979     REDACTION to 946 Sealed Document IBM's Reply Memorandum in Further Support
                                    of its Motion for Summary Judgment on SCO's Interference Claims (SCO's Seventh,
                                    Eighth, and Ninth Causes ofAction) by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit Addendum A# ~ Exhibit Addendum B# .3. Exhibit Addendum
                                    C# :l Exhibit Addendum D# 5. Exhibit Addendum E)(Sorenson, Amy) (Entered:
                                    03/13/2007)

   03/1312007               980     REDACTION to 945 Sealed Document IBM's Reply Memorandum in Further Support
                                    of its Motion for Summary Judgment on its Claim for Copyright Infringement (IBM's
                                    Eighth Counterclaim) by Defendant International Business Machines Corporation,
                                    Counter Claimant International Business Machines Corporation. (Attachments: # 1
                                    Exhibit Addendum A# ~ Exhibit Addendum B)(Sorenson, Amy) (Entered: 03/13/2007)
   03/1312007               981     REDACTION to 938 Sealed Document IBM's Reply Memorandum in Further Support
                                    of its Motion for Summary Judgment on SCO's Contract Claims (SCO's First, Second,
                                    Third and Fourth Causes ofAction) by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit Addendum A - Part 1# ~ Exhibit Addendum A - Part 2#.3.
                                    Exhibit Addendum B# 1 Exhibit Addendum C# 2 Exhibit Addendum D# QExhibit
                                    Addendum E# 1 Exhibit Addendum F# .8. Exhibit Addendum G# 2 Exhibit Addendum
                                    H# 10 Exhibit Addenda I through GG (Unpublished Opinions))(Sorenson, Amy)
                                    (Entered: 0311312007)
   03114/2007               982     ORDER granting 976 Motion for Extension of Time to File Response/Reply re 913
                                    MOTION to Amend/Correct DECEMBER 2005 SUBMISSION Replies due by
                                    3119/2007. Signed by Judge Dale A. Kimball on 3114/07. (blk) (Entered: 03114/2007)
   03/16/2007               983     REDACTION to 940 Sealed Document IBM's Reply Memorandum in Further Support
                                    of its Motion for Summary Judgment on its Claim for Declaratory Judgment ofNon-
                                    Infringement (IBM's Tenth Counterclaim) by Defendant International Business
                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit Addendum A - Part 1# ~ Exhibit Addendum A - Part 2# J.
                                    Exhibit Addendum B# :l Exhibit Addendum C# 2 Exhibit Addendum D# QExhibit
                                    Addenda E through BB (Unpublished Opinions))(Sorenson, Amy) (Entered:
                                    03/16/2007)
   0311612007              984 NOTICE OF CONVENTIONAL FILING of I.SCOs Memorandum in Support of its
                               Motion for Reconsideration by the Magistrate Court of the Order Denying SCOs
                               Motion for Relieffor IBMs Spoliation of Evidence and Exhibits thereto; 3.SCOs
                               Memorandum in Support of its Objections to the Magistrate Courts Order Denying
                               SCOs Motion for Relief for IBMs Spoliation of Evidence and Exhibits thereto;
                               5.Declaration of Mark F. James Regarding SCOs Objections to the Magistrate Courts
                               Order Denying SCOs Motion for Relief for IBMs Spoliation of Evidence; 6.Declaration
                               of Mark F. James Regarding SCOs Memorandum in Support of its Objections to the
                               Magistrate Courts Order Denying SCOs Motion for Relief for IBMs Spoliation of
                               Evidence; 7.Declaration of Dr. Evan Ivie in Support ofSCOs Motion for
                               Reconsideration by the Magistrate Court of the Order Denying SCOs Motion for Relief
                               for IBMs Spoliation of Evidence; 8.Declaration of Mark Rockhind in Support of SCOs
                               Motion for Reconsideration by the Magistrate Court of the Order Denying SCOs

https:llecf.uld.uscourts.gov/cgi-binlDktRpl.pl?153746270523261-L_1_1-1                                                             84/103
 Appellate Case: 16-4040                         Document: 01019681126                              Date Filed: 08/31/2016   Page: 127
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                                    Motion for Relief for IBMs Spoliation of Evidence filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group (James, Mark) (Entered: 03/1612007)
   0311612007               985     MOTION for Leave to File Excess Pages FOR SCOS MEMORANDUM IN SUPPORT
                                    OF ITS MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.(James,
                                    Mark) (Entered: 03/1612007)
   03/1612007               986     MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.(James,
                                    Mark) Modified on 3/2012007 by linking to order(blk). Modified on 611612015:
                                    corrected carry-forward text (alt) (Entered: 0311612007)
   03/1612007               987     MOTION for Leave to File Excess Pages FOR MEMORANDUM IN SUPPORT OF ITS
                                    OBJECTIONS TO THE MAGISTRATE COURTS ORDER DENYING SCOS MOTION
                                    FOR RELIEF FROM IBMS SPOLIATION OF EVIDENCE filed by Plaintiff SCO
                                    Group, Counter Defendant SCO Group. (Attachments: # 1 Text of Proposed Order)
                                    Motions referred to Brooke C. Wells.(James, Mark) (Entered: 03/1612007)
   03/16/2007              990      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 986 MOTION FOR
                                    RECONSIDERATION BY THE MAGISTRATE COURT OF THE ORDER
                                    DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit A-C)(blk)
                                    (Entered: 03/19/2007)
   03/1612007               995     **SEALED DOCUMENT** MEMORANDUM IN SUPPORT OF OBJECTIONS TO
                                    ORDER re 986 MOTION FOR RECONSIDERATION BY THE MAGISTRATE
                                    COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS
                                    SPOLIATION OF EVIDENCE filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit
                                    A-C)(blk) (Entered: 03/2012007)
   03/16/2007              996      **SEALED DOCUMENT** DECLARATION OF MARK F. JAMES re 986
                                    MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Plaintiff SCO Group. (blk) (Entered: 03/2012007)
   03/1612007              998      **SEALED DOCUMENT** REPLY MEMORANDUM in Support of Cross Motion
                                    for Partial Summary Judgment on Novell's Fourth Counterclaim filed by Plaintiff SCO
                                    Group. (blk) ENTERED ON WRONG CASE DOCKET - PLEASE DISREGARD.
                                    Clerk has entered it on the correct case #2:04cv139 DAK. Modified on 3/21/2007
                                    (blk). (Entered: 03/20/2007)
   03/1612007              999      **SEALED DOCUMENT** DECLARATION of Mark F. James filed by Plaintiff
                                    SCO Group. (Attachments: # 1 Exhibit 1-8# 2. Exhibit 9# .3. Exhibit 10# 4. Exhibit 11)
                                    (blk) (Entered: 03/2012007)
   03/1612007             1000 **SEALED DOCUMENT** DECLARATION of Dr. Evan Ivie re 973 Order filed by
                               Plaintiff SCO Group. (blk) (Entered: 03/20/2007)
   03/1612007             1001      **SEALED DOCUMENT** DECLARATION of Marc Rochkind re 986 MOTION
                                    FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE ORDER
                                    DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Plaintiff SCO Group. (blk) (Entered: 03/2012007)

https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                             85/103
  Appellate Case: 16-4040                          Document: 01019681126                             Date Filed: 08/31/2016   Page: 128
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   03/1912007               988     ORDER granting 987 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 3/19107. (blk) (Entered: 03/19/2007)
   03/19/2007               989     ORDER granting 985 Motion for Leave to File Excess Pages. Signed by Judge Dale A.
                                    Kimball on 3/19/07. (blk) (Entered: 03/1912007)
   03/1912007               991     REPLY to Response to Motion re 913 MOTION to Amend/Correct DECEMBER 2005
                                    SUBMISSION filed by Plaintiff SCO Group, Counter Defendant SCO Group. (James,
                                    Mark) (Entered: 03/19/2007)
   03/19/2007               992     REPLY to Response to Motion re 917 Plaintiffs MOTION for Leave to File OVER
                                    LENGTH MEMORANDUM IN SUPPORT OF ITS OBJECTIONS TO THE
                                    MAGISTRATE JUDGE'S ORDER ON IBM'S MOTION TO CONFINE Re: Docket
                                    No. 916 (Original Objection Not Available on Docket to Link to While Filing) filed by
                                    Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1 Exhibit 1# 2
                                    Exhibit A: unpublished case)(James, Mark) (Entered: 03/19/2007)
   03/1912007               993     NOTICE of CORRECTED FILING by SCO Group, SCO Group re 991 Reply
                                    MemorandumlReply to Response to Motion to Amend/Correct DECEMBER 2005
                                    SUBMISSION (Normand, Edward) (Entered: 03/1912007)
   03/19/2007               994 REPLY to Response to Motion re 913 MOTION to Amend/Correct DECEMBER 2005
                                SUBMISSION CORRECTED filed by Plaintiff SCO Group, Counter Defendant SCO
                                Group. (Attachments: # 1 Exhibit A - C: Unpublished Cases)(Normand, Edward)
                                (Entered: 03/19/2007)
   03/2012007               997     **SEALED DOCUMENT** DECLARATION of Mark F. James RE OBJECTIONS
                                    TO ORDER re 986 MOTION FOR RECONSIDERATION BY THE MAGISTRATE
                                    COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS
                                    SPOLIATION OF EVIDENCE filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit
                                    1# 2 Exhibit 2-8)(blk) (Entered: 0312012007)
   03/2012007             1002 REDACTION to 995 Sealed Document, SCO's Memorandum in Support ofIts
                               Objections to the Magistrate Court's Order Denying SCO's Motion for Relieffor IBM's
                               Spoliation ofEvidence by Plaintiff SCO Group, Counter Defendant SCO Group.
                               (Attachments: # 1 Appendix)(James, Mark) (Entered: 03/2012007)
   03/2012007             lO03      DECLARATION of Dr. Evan Ivie re 986 MOTION FOR RECONSIDERATION BY
                                    THE MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR
                                    RELIEF FROM IBMS SPOLIATION OF EVIDENCE CORRECTED filed by SCO
                                    Group, SCO Group. (Normand, Edward) (Entered: 03/2012007)
   03/2012007             lO04 NOTICE of CORRECTED FILING by SCO Group, SCO Group re 1000 Sealed
                               Document DECLARATION ofDr. Evan Ivie, correctly filed under docket entry 1003
                               (Normand, Edward) (Entered: 03/2012007)
   0312012007             1005      REDACTION to 999 Sealed Document Declaration ofMark F. James Regarding SCO's
                                    Objections to the Magistrate Court's Order Denying SCO's Motion for Relieffor IBM's
                                    Spoliation of Evidence by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Attachments: # 1 Exhibit)(James, Mark) (Entered: 03/20/2007)
   0312012007             1006 DECLARATION of Marc Rochkind re 986 MOTION FOR RECONSIDERATION BY
                               THE MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR
                               RELIEF FROM IBMS SPOLIATION OF EVIDENCE CORRECTED filed by SCO
                               Group. (Attachments: # 1 Exhibit A)(Normand, Edward) (Entered: 03/2012007)
   03/20/2007             1007 NOTICE of CORRECTED FILING by SCO Group re 1001 Sealed Document
                               DECLARATION ofMarc Rochkind, correctly filed under docket entry 1006 (Normand,
                               Edward) (Entered: 03120/2007)
https:llecf.utd.uscourts.gov/cgi-binIDktRpt.pI?153746270523261-L_1_1-1                                                             861103
   Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 129
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   03/2112007             1008      Modification of Docket: Docket entry #998, SCO's Sealed Reply Memorandum was
                                    entered by the clerk in the wrong case. Correction: Clerk has modified the docket text
                                    and entered this filing in SCO v. Novell, 2:04cv139, as docket #251, re 998 Sealed
                                    Document. (blk) (Entered: 03/2112007)
   03/21/2007             1009 REDACTION to 990 Sealed Document, seo's Memorandum in Support ofIts Motion
                               for Reconsideration of the Order Denying seo's Motion for Relieffor IBM's Spoliation
                               ofEvidence by Plaintiff SCO Group. (Boruchow, Sashi) (Entered: 03/2112007)
   03/2112007             1010 REDACTION to 996 Sealed Document Declaration ofMark James Regarding seo's
                               Motion for Reconsideration of the Order Denying seo's Motion for Relieffor IBM's
                               Spoliation ofEvidence by Plaintiff SCO Group. (Attachments: # 1 Exhibit 1-9)
                               (Boruchow, Sashi) (Entered: 03/2112007)
   03/23/2007             1011      NOTICE: It has come to the attention ofthe Clerk's Office that certain attachments to a
                                    SEALED DOCUMENT filed in this case were inadvertently left unprotected during the
                                    Court's docketing process. Therefore, these sealed, confidential attachments were
                                    accessible for a short period of time to anyone who attempted to electronically access
                                    the contents of this docket entry, which clearly stated that it contained a SEALED
                                    DOCUMENT. This notice serves as a reminder that, regardless of whether SEALED
                                    DOCUMENTS are actually electronically protected from being accessed, all documents
                                    marked CONFIDENTIAL are subject to the Protective Order entered by the Court on
                                    September 16, 2003. (kmj) (Entered: 03/23/2007)
   03/23/2007             1012 NOTICE FROM THE CLERK'S OFFICE: From this day forward, sealed
                               submission in this case will not be scanned for internal court use but will be
                               maintained in the court's sealed room not to be accessed except by court personnel.
                               (ce) (Entered: 03/23/2007)
   03/28/2007             1013      MOTION for Extension of Time to Respond to SCO's Motion for Reconsideration of
                                    the Order Denying seo's Motion Regarding Spoliation and to SCO's Objections
                                    Thereto filed by Defendant International Business Machines Corporation, Counter
                                    Claimant International Business Machines Corporation. (Attachments: # 1 Text of
                                    Proposed Order) Motions referred to Brooke C. Wells.(Sorenson, Amy) (Entered:
                                    03/28/2007)
   03/29/2007             1014      ORDER granting 1013 Motion for Extension of Time. Oppositions due: 4/18/07. Signed
                                    by Judge Dale A. Kimball on 3/29/07. (blk) (Entered: 03/29/2007)

   03/29/2007             1015      Stipulated MOTION for Extension of Time for Extension of Deadlines filed by
                                    Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells.(Sorenson, Amy) (Entered: 03/29/2007)
   04/02/2007             1016 MOTION TO DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED
                               LITIGATION TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL filed by
                               Plaintiff SCO Group, Counter Defendant SCO Group. (Attachments: # 1 Text of
                               Proposed Order) Motions referred to Brooke C. Wells.(James, Mark) (Entered:
                               04/02/2007)
   04/02/2007             1017 NOTICE OF CONVENTIONAL FILING of SCOS MEMORANDUM IN SUPPORT
                               OF ITS MOTION TO DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN
                               RELATED LITIGATION TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL
                               filed by Plaintiff SCO Group, Counter Defendant SCO Group re 1016 MOTION TO
                               DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED LITIGATION
                               TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL (James, Mark) (Entered:
https:/Iecf.utd.uscourts.gov/cgi-binlDktRp\.pl?15374627OS23261-L_1_1-1                                                             87/1 03
   Appellate Case: 16-4040                         Document: 01019681126                            Date Filed: 08/31/2016   Page: 130
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                                    04/0212007)
   04/02/2007             1018      REDACTION to 1017 Notice of Conventional Filing, SCO's Memorandum in Support
                                    of its Motion to Deem a Prospective Third-Party Deposition in Related Litigation to be
                                    a Deposition Taken in This Case as Well by Plaintiff SCO Group, Counter Defendant
                                    SCO Group. (Attachments: # 1 Exhibit 1# 2 Exhibit 2# .3. Exhibit 3# 1: Exhibit 4# 2
                                    Exhibit 5# .6 Exhibit 6# 1 Exhibit 7# E Exhibit 8# 2. Exhibit 9# lQ. Exhibit 10# 11
                                    Exhibit 11# 12 Exhibit 12# 1.3. Exhibit 13# 14 Exhibit 14# 12 Exhibit 15# 1.6 Exhibit
                                    16# 17 Exhibit 17#.lli Exhibit 18 Part 1# 12 Exhibit 18 Part 2# 2Q Exhibit 18 Part 3# 21
                                    Exhibit 19 Part 1# 22 Exhibit 19 Part 2# 23 Exhibit 20# 24 Exhibit 21 # 25 Exhibit 22#
                                    2.6 Exhibit 23# 21 Exhibit A - C: Unpublished Cases)(Normand, Edward) (Entered:
                                    04/02/2007)

   04/02/2007             1019      **SEALED DOCUMENT** MEMORANDUM IN SUPPORT re 1016 MOTION TO
                                    DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED LITIGATION
                                    TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL filed by Plaintiff SCO
                                    Group. Note: No document attached. This document will be retained in the Clerk's
                                    Office sealed room for viewing by authorized persons only. (blk) (Entered: 04/03/2007)
   04/02/2007             1020 **SEALED DOCUMENT** EXHIBITS 18-23 re 1019 Sealed Document, filed by
                               Plaintiff SCO Group. Note: No document attached. This document will be retained in
                               the Clerk's Office sealed room for viewing by authorized persons only. (blk) (Entered:
                               04/03/2007)
   04/05/2007             1021      NOTICE OF CONVENTIONAL FILING of SCO's Corrected Memorandum in Support
                                    of its Motion to Deem a Prospective Third-Party Deposition in Related Litigation to be
                                    a Deposition Taken in this Case as Well filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group (James, Mark) (Entered: 04/05/2007)

   04/06/2007             1022 REDACTION to 1023 SCO's Corrected Memorandum in Support of its Motion to Deem
                               a Prospective Third-Party Deposition in Related Litigation to be a Deposition Taken in
                               This Case as Well by Plaintiff SCO Group, Counter Defendant SCO Group.
                               (Attachments: # 1 Exhibit 1# 2 Exhibit 2# .3. Exhibit 3# 1: Exhibit 4# 2 Exhibit 5# .6
                               Exhibit 6# 1 Exhibit 7# .8. Exhibit 8# 2. Exhibit 9# 10 Exhibit 10# 11 Exhibit 11 # 12
                               Exhibit 12# 1.3. Exhibit 13# 14 Exhibit 14# U Exhibit 15# 16 Exhibit 16# 17 Exhibit
                               17# .lli Exhibit 18 Part 1# 12 Exhibit 18 Part 2# 20 Exhibit 18 Part 3# 21 Exhibit 19
                               Part 1# 22 Exhibit 19 Part 2# 23 Exhibit 20# 24 Exhibit 21 # 25 Exhibit 22# 26 Exhibit
                               23# 27 Exhibit A-C: Unpublished Cases)(Normand, Edward) Modified on 4/912007 by
                               linking to correct document (blk). (Entered: 04/06/2007)
   04/0912007             1023      **SEALED DOCUMENT** CORRECTED MEMORANDUM IN SUPPORT re 1016
                                    MOTION TO DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED
                                    LITIGATION TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL filed by
                                    Plaintiff SCO Group. Note: No document attached. This document will be retained in
                                    the Clerk's Office sealed room for viewing by authorized persons only. (blk) (Entered:
                                    04/0912007)
   04/10/2007             1024 MOTION for Admission Pro Hac Vice of David Boies, Registration fee $ 15, receipt
                               number 490581, filed by PlaintiffSCO Group, Counter Defendant SCO Group.
                               (Attachments: # 1 Exhibit A: Application for Admission# 2. Exhibit B: ECF
                               Registration#.J. Text of Proposed Order)(James, Mark) (Entered: 04110/2007)
   0411112007             1025      ORDER granting 1024 Motion for Admission Pro Hac Vice of David Boies for SCO
                                    Group.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District of Utahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov.

https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                            881103
 Appellate Case: 16-4040                          Document: 01019681126                            Date Filed: 08/31/2016   Page: 131
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                                    Signed by Judge Dale A. Kimball on 4/11107. (blk) (Entered: 04/1112007)
   04/13/2007             1026      Stipulated MOTION for Extension of Time to Repond to Requests for Admission filed
                                    by Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells.(Shaughnessy, Todd) (Entered: 04/13/2007)
   04/16/2007             1027      ORDER granting 1026 Motion for Extension of Time to respond to outstanding requests
                                    for admission. Responses due: 5/25107. Signed by Judge Brooke C. Wells on 4116107.
                                    (blk) (Entered: 04116/2007)
   04117/2007             1028      Stipulated MOTION for Extension of Time to File ResponselReply as to 1016
                                    MOTION TO DEEM A PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED
                                    LITIGATION TO BE A DEPOSITION TAKEN IN THIS CASE AS WELL, 995 Sealed
                                    Document, 986 MOTION FOR RECONSIDERATION BY THE MAGISTRATE
                                    COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS
                                    SPOLIATION OF EVIDENCE filed by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                    (Sorenson, Amy) (Entered: 04117/2007)

   04118/2007             1029      ORDER granting 1028 Motion for Extension of Time to File ResponselReply re 986
                                    MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE. Replies due by 4/27/2007. Signed by Judge Brooke C. Wells on 4118107.
                                    (blk) (Entered: 04/18/2007)
   04/20/2007             1030      ORDER granting 1015 Motion for Extension of Time regarding scheduling order
                                    deadlines. See order for deadlines set. Signed by Judge Brooke C. Wells on 4119/07.
                                    (blk) (Entered: 04/20/2007)
   04/20/2007             1031      MOTION for Leave to File Sur-reply filed by Defendant International Business
                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                    (Sorenson, Amy) (Entered: 04/20/2007)
   04/20/2007             1032      MEMORANDUM in Opposition re 1031 MOTION for Leave to File Sur-reply filed by
                                    Plaintiff SCO Group. (Normand, Edward) (Entered: 04/20/2007)
   04/20/2007             1033      DOCKET TEXT ORDER granting 1031 IBM's Motion for Leave to File Sur-Reply. In
                                    addition, SCO may file a response to IBM's sur-reply memorandum within 14 days.
                                    Signed by Judge Dale A. Kimball on 4/2012007. No attached document. (awm)
                                    (Entered: 04/20/2007)
   04/20/2007             1034 REPLY to Response to Motion re 913 MOTION to AmendiCorrectDECEMBER 2005
                               SUBMISSION and re 899 SCO's Objection to the Magistrate Judge's Decision on IBM's
                               Motion to Confine (Sur-reply Memorandum) filed by Defendant International Business
                               Machines Corporation, Counter Claimant International Business Machines Corporation.
                               (Attachments: # 1 Exhibit Addendum A# 2. Exhibit Addendum B (filed under seal)# .J.
                               Exhibit Addendum C (filed under seal)# 1 Exhibit Addendum D# ~ Exhibit Addendum
                               E# Q Exhibit Addendum F (unpublished opinions)# 1 Exhibit Addendum G (filed under
                               seal))(Sorenson, Amy) (Entered: 04/20/2007)
   04/20/2007             1035      **SEALED DOCUMENT** ADDENDUM B re 1034 SUR-REPLY Reply
                                    Memorandum/Reply to Response to Motion, filed by Defendant International Business
                                    Machines Corporation. (blk) (Entered: 04123/2007)
   04/20/2007             1036      **SEALED DOCUMENT** ADDENDUM C re 1034 SUR-REPLY Reply
https:llecf.utd.uscourts.gov/cgi-binIDktRpt.pI?153746270523261-L_1_1-1                                                            891103
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                                    MemorandumJReply to Response to Motion" filed by Defendant International Business
                                    Machines Corporation. (blk) (Entered: 04123/2007)
   04/20/2007             1037      **SEALED DOCUMENT** ADDENDUM G re 1034 SUR-REPLY Reply
                                    Memorandum/Reply to Response to Motion, filed by Defendant International Business
                                    Machines Corporation. (blk) (Entered: 04/23/2007)
   04/27/2007             1038 MEMORANDUM in Opposition re 1016 MOTION TO DEEM A PROSPECTIVE
                               THIRD-PARTY DEPOSITION IN RELATED LITIGATION TO BE A DEPOSITION
                               TAKEN IN THIS CASE AS WELL filed by Defendant International Business
                               Machines Corporation, Counter Claimant International Business Machines Corporation.
                               (Attachments: # 1 Exhibit Addendum A# 2. Exhibit Addendum B# 1 Exhibit Addendum
                               C# 1: Exhibit Addendum D (Unpublished Opinions»(Sorenson, Amy) (Entered:
                               04/27/2007)
   04/27/2007             1039 MOTION for Leave to File Excess Pagesfor Memorandum in Opposition to SCO's
                               Motion for Reconsideration of the Order Denying SCO's Motion for Relieffor IBM's
                               Alleged Spoliation ofEvidence filed by Defendant International Business Machines
                               Corporation, Counter Claimant International Business Machines Corporation.
                               (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                               (Sorenson, Amy) (Entered: 04/27/2007)
   04/27/2007             1040 MOTION for Leave to File Excess Pages on Memorandum in Opposition to SCO's
                               Objections to the Magistrate Judge's Order Denying SCO's Motion for Relieffor IBM's
                               Alleged Spoliation ofEvidence filed by Defendant International Business Machines
                               Corporation, Counter Claimant International Business Machines Corporation.
                               (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                               (Sorenson, Amy) (Entered: 04/27/2007)
   04/27/2007             1043      **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 986 MOTION
                                    FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE ORDER
                                    DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by Defendant International Business Machines Corporation. Note: No
                                    document attached. This document will be retained in the Clerk's Office sealed room for
                                    viewing by authorized persons only. (blk) (Entered: 04/30/2007)
   04/27/2007             1044 **SEALED DOCUMENT** MEMORANDUM IN OPPOSITION re 899 Objection
                               to Magistrate Judge Decision to District Court filed by Defendant International Business
                               Machines Corporation. Note: No document attached. This document will be retained in
                               the Clerk's Office sealed room for viewing by authorized persons only. (blk) (Entered:
                               04/30/2007)
   04/30/2007             1041      ORDER granting 1039 Motion for Leave to File Excess Pages. Signed by Judge Dale
                                    A. Kimball on 4/30107. (blk) (Entered: 04/30/2007)
   04/30/2007             1042      ORDER granting 1040 Motion for Leave to File Excess Pages. Signed by Judge Dale
                                    A. Kimball on 4/30107. (blk) (Entered: 04/30/2007)
   05/02/2007             1045      Stipulated MOTION for Extension of Time to File ResponselReply to IBM's Sur-Reply
                                    Memorandum in Further Opposition to SCO's Objections to the Magistrate Judge's
                                    Order on IBM's Motion to Confine and SCO's Motion to Amend its December 2005
                                    Submission filed by Plaintiff SCO Group. (Attachments: # 1 Text of Proposed Order)
                                    Motions referred to Brooke C. Wells. (Normand, Edward) (Entered: 05/02/2007)

   05/04/2007             1046      ORDER granting 1045 Motion for Extension of Time to File Response/Reply. Replies
                                    due by 5/1112007. Signed by Judge Dale A. Kimball on 5/3/07. (blk) (Entered:
                                    05/04/2007)

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   05/08/2007             1047      Stipulated MOTION for Extension of Time to File ResponselReply as to 986 MOTION
                                    FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE ORDER
                                    DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE Jointly filed by Plaintiff SCO Group. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells.(Boruchow, Sashi) (Entered: 05/08/2007)
   05/10/2007             1048      Stipulated MOTION for Extension of Time for Extension of Deadlines filed by Plaintiff
                                    SCO Group. (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C.
                                    Wells. (Normand, Edward) (Entered: 05/1 0/2007)
   05/1112007             1049 DISREGARD - SEE ENTRY 1052 for correct order on motion. ORDER granting 1048
                               Motion for Extension of Time. Signed by Judge Dale A. Kimball on 5/9/07. (blk)
                               Modified on 5/1112007 SEE ENTRY 1052 for correct order on motion (blk). (Entered:
                               05/1112007)
   05/1112007             1050      Stipulated MOTION for Extension of Time to File ResponselReply filed by Plaintiff
                                    SCO Group, Counter Defendant SCO Group. (Attachments: # 1 Text of Proposed
                                    Order) Motions referred to Brooke C. Wells. (Normand, Edward) (Entered: 05/1112007)
   05/1112007             1051      DISREGARD- WRONG ORDER ENTERED FOR THIS MOTION THIS MOTION IS
                                    NOT RULED ON YET. ORDER granting 1050 Motion for Extension of Time to File
                                    ResponselReply Replies due by 5/18/2007 .. Signed by Judge Dale A. Kimball on
                                    5/11107. (blk) Modified on 5/1112007 (BLK). (Entered: 05/1112007)
   05/1112007             1052      ORDER granting 1048 Motion for Extension of Time. Rule 26(a)(3) Disclosures due
                                    6/13/07. Exchange of Jury Instructions due 6/27/07. Motions in Limine due 7/9/07.
                                    Signed by Judge Dale A. Kimball on 5/11107. (blk) (Entered: 05/1112007)
   05/1112007             1053      ORDER granting 1047 Motion for Extension of Time to File ResponselReply re 986
                                    MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE. Replies due by 5/18/2007. Signed by Judge Dale A. Kimball on 5/11107.
                                    (blk) (Entered: 05/1112007)
   05/1112007             1054 Modification of Docket: Error: Clerk initially docketed orders on wrong motions.
                               Correction: Clerk has corrected this and re-entered the orders with the correct motions.
                               They have been sent out to all counsel as usual. re 1051 Order on Motion for Extension
                               of Time to File ResponselReply, 1053 Order on Motion for Extension of Time to File
                               Response/Reply, 1049 Order on Motion for Extension of Time, 1048 Stipulated
                               MOTION for Extension of Time for Extension of Deadlines, 1052 Order on Motion for
                               Extension of Time, 1047 Stipulated MOTION for Extension of Time to File
                               ResponselReply as to .2.8.6. MOTION FOR RECONSIDERATION BY THE
                               MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF
                               FROM IBMS SPOLIATION OF EVIDENCE JointlyStipulated MOTION for Extension
                               of Time to File ResponselReply as to 2.8..6. MOTION FOR RECONSIDERATION BY
                               THE MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR
                               RELIEF FROM IBMS SPOLIATION OF EVIDENCE Jointly. (blk) (Entered:
                               05/1112007)

   05/1112007             1055      REPLY to Response to Motion re 913 MOTION to AmendiCorrectDECEMBER 2005
                                    SUBMISSION (SCO's Sur-Surreply Memorandum) filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group. (Attachments: # 1 Exhibit A-B)(Normand, Edward)
                                    (Entered: 05/1112007)
   05/1112007             1056 REPLY to Response to Motion re 917 Plaintiffs MOTION for Leave to File OVER
                               LENGTH MEMORANDUM IN SUPPORT OF ITS OBJECTIONS TO THE
                               MAGISTRATE JUDGE'S ORDER ON IBM'S MOTION TO CONFINE No correct
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                              91/103
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                                    entry to link to:SCO's Sur-surreply re: Docket Entry 921 - MEMORANDUM IN
                                    SUPPORT re 899 Objection to Magistrate Judge Decision to District Court filed by
                                    Plaintiff SCO Group. filed by Plaintiff SCO Group, Counter Defendant SCO Group.
                                    (Normand, Edward) (Entered: 05/1112007)
   05/15/2007             1057 ORDER granting 1050 Motion for Extension of Time to File ResponselReply re:
                               Objections to Magistrate Decision; 986 MOTION FOR RECONSIDERATION BY
                                    THE MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR
                                    RELIEF FROM IBMS SPOLIATION OF EVIDENCE; 1016 MOTION TO DEEM A
                                    PROSPECTIVE THIRD-PARTY DEPOSITION IN RELATED LITIGATION TO BE
                                    A DEPOSITION TAKEN IN THIS CASE AS WELL. Replies due by 5125/2007.
                                    Signed by Judge Dale A. Kimball on 5/14107. (blk) (Entered: 05/15/2007)
   05/25/2007             1058 Stipulated MOTION for Extension of Time of Deadlines filed by Defendant
                                    International Business Machines Corporation, Counter Claimant International Business
                                    Machines Corporation. (Attachments: # 1 Text of Proposed Order) Motions referred to
                                    Brooke C. Wells.(Sorenson, Amy) (Entered: 05/25/2007)
   05/25/2007             1059 NOTICE OF CONVENTIONAL FILING filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group (James, Mark) (Entered: OS/2512007)
   05/25/2007             1060 Plaintiff's MOTION for Leave to File Excess Pages filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group. (Attachments: # 1) Motions referred to Brooke C.
                                    Wells.(James, Mark) (Entered: 05/25/2007)
   05/25/2007             1061 Plaintiff's MOTION for Leave to File Excess Pages filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group. (Attachments: # 1) Motions referred to Brooke C.
                                    Wells. (James, Mark) (Entered: 05/25/2007)
   05/25/2007             1062 **SEALED DOCUMENT** SEALED REPLY MEMORANDUM IN FURTHER
                               SUPPORT OF 986 MOTION FOR RECONSIDERATION BY THE MAGISTRATE
                                    COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS
                                    SPOLIATION OF EVIDENCE filed by Plaintiff SCO Group Note: No document
                                    attached. This document will be retained in the Clerk's Office sealed room for viewing
                                    by authorized persons only (alt) (Entered: 05/29/2007)
   05/25/2007             1066 **SEALED DOCUMENT** SEALED REPLY MEMORANDUM In Further Support
                                    of Objections to the Mag Judges Order Denying Motion for Relief for IBMs Spoilation
                                    of Evidence, filed by Plaintiff SCO Group Note: No document attached. This document
                                    will be retained in the Clerk's Office sealed room for viewing by authorized persons
                                    only (alt) Modified on 5/30/2007: added info re: document retention (alt) (Entered:
                                    05/30/2007)
   05/29/2007             1063 ORDER granting 1060 Motion for Leave to File Excess Pages. Signed by Judge Dale
                               A. Kimball on 5/29107 (alt) (Entered: OS/29/2007)
   05/29/2007             1064 ORDER granting 1061 Motion for Leave to File Excess Pages. Signed by Judge Dale
                                    A. Kimball on 5/29107 (alt) (Entered: 05/29/2007)
   05/29/2007             1065 ORDER granting 1058 Motion for Extension of Time. Signed by Judge Dale A.
                                    Kimball on 5/29107 (alt) (Entered: OS/29/2007)
   06/13/2007             1067 NOTICE OF FILING of Certificate of Service ofSCO's Objections and Responses to
                                    IBM's Requests for Admissions Sets 2-12 filed by Plaintiff SCO Group. (Boruchow,
                                    Sashi) (Entered: 06/13/2007)
   06/13/2007             1068 CERTIFICATE OF SERVICE by International Business Machines Corporation of
                                    Responses to Requests for Admission (Sorenson, Amy) (Entered: 06/1312007)

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   06115/2007             1069 REPLY to Response to Motion re 1016 MOTION TO DEEM A PROSPECTIVE
                               THIRD-PARTY DEPOSITION IN RELATED LITIGATION TO BE A DEPOSITION
                               TAKEN IN THIS CASE AS WELL filed by Plaintiff SCO Group. (Nonnand, Edward)
                               (Entered: 0611512007)
   06118/2007             1070 Disregard this entry. Wrong case number was placed on document. This will be filed in
                               case number 2:04cv139. **SEALED DOCUMENT** EXHIBITS to SCO's
                               Memorandum in Opposition to Novell's Evidentiary Objections to SCO's Exhibits
                               Submitted in Support of its Summary Judgment Oppsitions Filed May 18, 2007
                               Incorporating by Reference Novell's Evidentiary Objections to SCO's Summary
                               Judgment Exhibits filed by Plaintiff SCO Group. No attachment - document retained in
                               the sealed room. (blk) Additional attachment(s) added on 6119/2007 - cover sheet of
                               document (blk). (Entered: 06/19/2007)
   0611912007             1071      Modification of Docket: Document 1070 was entered on this case because it is the case
                                    number put on the pleading by counsel. The clerk has been infonned that the case
                                    number is incorrect. Counsel are advised to review pleadings before filing them to
                                    ensure that the case infonnation is correct, as the clerk will docket it on the case number
                                    given on the document. re 1070 Sealed Document. The Clerk will docket this document
                                    on case number 2:04cv139. (blk) (Entered: 06119/2007)
   07113/2007             1072 MOTION for Extension of Time of Deadlines in May 29,2007 Order filed by
                               Defendant International Business Machines Corporation, Counter Claimant
                               International Business Machines Corporation. (Attachments: # 1 Text of Proposed
                               Order) Motions referred to Brooke C. Wells.(Shaughnessy, Todd) (Entered: 07/13/2007)
   07116/2007             1073      MEMORANDUM in Opposition re 1072 MOTION for Extension of Time of Deadlines
                                    in May 29, 2007 Order filed by Plaintiff SCO Group. (Nonnand, Edward) (Entered:
                                    07116/2007)
   07116/2007             1074      ORDER granting 1072 Motion for Extension of Time of deadlines set in the Court's
                                    5/29/07 Order. Signed by Judge Dale A. Kimball on 7/16/07. (blk) (Entered:
                                    07116/2007)
   07/26/2007             1075      Stipulated MOTION for Scheduling Order (Pretrial Schedule) filed by Plaintiff SCO
                                    Group. (Attachments: # 1 Text of Proposed Order) Motions referred to Brooke C. Wells.
                                    (Nonnand, Edward) (Entered: 07/26/2007)
   07/30/2007             1076      ORDER granting 1075 Motion for Extension of Deadlines. See order for new
                                    dates/deadlines .. Signed by Judge Dale A. Kimball on 7/27/07. (blk) (Entered:
                                    07/30/2007)
   08/10/2007             1077 NOTICE OF DECISION AND REQUEST FOR STATUS UPDATE. Signed by Judge
                               Dale A. Kimball on 8-10-07. (sih) (Entered: 08/10/2007)
   08/3112007             1078      RESPONSE re 1077 Order, filed by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Sorenson, Amy) (Entered: 08/3112007)
   08/3112007             1079      STATUS REPORT IN COMPLIANCE WITH THE COURTS NOTICE OF DECISION
                                    AND REQUEST FOR STATUS UPDATE DATED AUGUST 10,2007 by SCO Group.
                                    (Nonnand, Edward) (Entered: 08/3112007)
   09114/2007             1080 NOTICE of Filing for Bankruptcy by SCO Group, SCO Group (Attachments: # 1
                               Exhibit Exhibit A to Notice ofBankruptcy)(James, Mark) (Entered: 09114/2007)
   09/20/2007             1081      ORDER Administratively Closing this Case. Case may be reopened upon motion of
                                    pla(s) or dft(s). Judge Brooke C. Wells no longer assigned to case. Signed by Judge
                                    Dale A. Kimball on 9/20107. (jwt) (Entered: 09/2112007)
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                              931103
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   06/30/2009             1082      MOTION to Amend/Correct 38 Protective Order filed by Plaintiff SCO Group.
                                    (Attachments: # 1 Text of Proposed Order, # 2. Exhibit 1, #.3. Exhibit 2)(Normand,
                                    Edward) (Entered: 06/30/2009)
   07/21/2009             1083      **SEALED DOCUMENT** IBM'S MEMORANDUM IN OPPOSITION re 1082
                                    MOTION to Amend/Correct 38 Protective Order filed by Defendant International
                                    Business Machines Corporation. (las) (Entered: 07/2112009)
   08/2112009             1084 DOCUMENTS LODGED consisting of a Letter from Defense Counsel re: SCO's
                               Motion for Modification of the Stipulated Protective Order. (las) (Entered: 08/21/2009)
   08/2112009             1085      ORDER denying 1082 Motion to Amend/Correct the Stipulated Protective Order.
                                    Signed by Judge Dale A. Kimball on 8/21109. (jwt) (Entered: 08/2412009)
   08/24/2009             1086      ORDER OF RECUSAL Judge Dale A. Kimball recused. Case reassigned to Judge Tena
                                    Campbell for all further proceedings. Signed by Judge Dale A. Kimball on 8/24/09.
                                    Gwt) (Entered: 08/24/2009)
   12/10/2009             1087      Ex Parte (Not Sealed) MOTION to Withdraw as Attorney filed by Plaintiff SCO Group.
                                    (Attachments: # 1 Text of Proposed Order)(Hatch, Brent) (Entered: 12110/2009)
   12114/2009             1088      ORDER granting 1087 Motion to Withdraw as Attorney. Attorney John J. Brogan
                                    withdrawn from case for SCO Group. Signed by Judge Tena Campbell on 12112/09 (alt)
                                    (Entered: 12114/2009)
   07/30/2010             1089      MOTION for Hearing re Status Conference filed by Plaintiff SCO Group. (Normand,
                                    Edward) (Entered: 07/30/2010)
   08/05/2010             1090      NOTICE OF HEARING: (Notice generated by Mary Jane McNamee) Status
                                    Conference set for 811112010 at 3:00 PM in Room 230 before Judge Tena Campbell.
                                    (mjm) (Entered: 08/05/2010)

   08/10/2010             1091      MEMORANDUM in Opposition re 1089 MOTION for Hearing re Status Conference
                                    filed by Defendant International Business Machines Corporation, Counter Claimant
                                    International Business Machines Corporation. (Shaughnessy, Todd) (Entered:
                                    08/10/2010)
   08/12/2010             1092      Minute Entry for proceedings held before Judge Tena Campbell: Status Conference held
                                    on 8112/2010. Mr. Normand states there are 12 pending motions, but requests
                                    defendant's motion for summary judgment (docket #782) be decided first. The court
                                    hears from Mr. Marriott who believes motions should be decided as a whole. The court
                                    takes this matter under advisement. Attorney for Plaintiff: Brent Hatch, Esq; Ted
                                    Normand, Esq., Attorney for Defendant: Todd Shaughnessy, Esq; David R. Marriott,
                                    Esq. Court Reporter: Ray Fenlon. (tab) (Entered: 08/12/2010)
   0911012010             1093      ORDER: court declines to re-open the case and resolve any motions - when the IOCCA
                                    has issued its decision in the Novell litigation (No. 10-4122), either party may move the
                                    court to re-open the case. Signed by Judge Tena Campbell on 9110/10 (alt) (Entered:
                                    09110/2010)
   07/27/2011             1094 NOTICE OF WITHDRAWAL OF COUNSEL of Todd M. Shaughnessy on behalf of
                               International Business Machines Corporation (Shaughnessy, Todd) (Entered:
                               07/27/2011)
   11104/2011             1095      MOTION to Reopen Case filed by Plaintiff SCO Group. (Hatch, Brent) (Entered:
                                    11104/2011)
   11104/2011             1096 NOTICE OF CONVENTIONAL FILING of The SCO Group, Inc.'s Memorandum in
hllps://ecf.utd.uscourts.gov/cgi-binIDktRpI.pI?153746270523261-L_1_1-1                                                            94/103
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                                    Support of Its Motion to Reopen the Case filed by Plaintiff SCO Group re 1095
                                    MOTION to Reopen Case (Hatch, Brent) (Entered: 11104/2011)
   11/04/2011             1097 MEMORANDUM in Support re 1095 MOTION to Reopen Case REDACTED filed by
                               Plaintiff SCO Group. (Attachments: # 1 Exhibit A - Filed Under Seal)(Hatch, Brent)
                               (Entered: 11104/2011)
   11104/2011             1098      **SEALED DOCUMENT** SEALED MEMORANDUM IN SUPPORT OF 1095
                                    MOTION to Reopen Case filed by Plaintiff SCO Group (Attachments: # 1 Exhibit A)
                                    (alt) (Entered: 11107/2011)
   11/09/2011                       Judge Clark Waddoups added. Judge Tena Campbell no longer assigned to case. (alt)
                                    (Entered: 1111 0/20 11 )
   11109/2011             1099      ORDER OF RECUSAL: Judge Tena Campbell recused. Case reassigned to Judge Clark
                                    Waddoups for all further proceedings. Case number is now 2:03cv00294 CWo Signed by
                                    Judge Tena Campbell on 1118111 (alt) (Entered: 1111 0/20 11)
   11/2112011             1100 Defendant's MEMORANDUM in Opposition re 1095 MOTION to Reopen Case filed
                               by Defendant International Business Machines Corporation. (Sorenson, Amy) (Entered:
                               1112112011)
   11128/2011             1101      NOTICE OF HEARING ON MOTION re: 1095 MOTION to Reopen Case: (Notice
                                    generated by jwt) Motion Hearing set for 4/18/201203:30 PM in Room 102 before
                                    Judge Clark Waddoups. Gwt) (Entered: 11/28/2011)

   12/08/2011             1102 REPLY to Response to Motion re 1095 MOTION to Reopen Case filed by Plaintiff
                               SCO Group. (Hatch, Brent) (Entered: 12/08/2011)
   12/09/2011             1103      ORDER OF RECUSAL-Judge Clark Waddoups recused. Case reassigned to Judge
                                    David Sam for all further proceedings. Signed by Judge Clark Waddoups on 12/9/11.
                                    Gmr) (Entered: 12/09/2011)
   1211412011             1104 ORDER OF RECUSAL Judge David Sam recused. Case reassigned to Judge Dee
                               Benson for all further proceedings. Signed by Judge David Sam on 12/13/11. Gmr)
                               (Entered: 12114/2011)
   02/0712012             1105      ***AMENDED*** NEW DATE AND TIME NOTICE OF HEARING ON
                                    MOTION re: 1095 MOTION to Reopen Case: Motion Hearing set for 4/23/201202:30
                                    PM in Room 246 before Judge Dee Benson. (reb) (Entered: 02/07/2012)
   03/3112012             1106 REASSIGNMENT to Newly Appointed District Judge. Case Reassigned to District
                               Judge David Nuffer (DJ). Judge Dee Benson no longer assigned to the case. Case
                               number will now read 2:03-cv-00294-DN. Please make changes to document captions
                               accordingly. (asp) (Entered: 03/3112012)
   04/02/2012                       NOTICE VACATING MOTION REOPEN CASE HEARING set for 4123112 at 2:30
                                    p.m. before Judge David Nuffer (moved from Judge Benson's calendar after
                                    reassignment) (asb) (Entered: 04/02/2012)
   04/02/2012                       DeadlineslHearings terminated. (asb) (Entered: 04/02/2012)
   0611412012             1107 REQUEST to Submit for Decision re 1095 MOTION to Reopen Case filed by Plaintiff
                               SCO Group. (Attachments: # 1 Exhibit A - TSG Order Granting IBM Stay
                               Modification)(Hatch, Brent) (Entered: 06114/2012)
   03/2512013             1108      MOTION for Hearing re 1095 MOTION to Reopen Case filed by PlaintiffSCO Group.
                                    (Hatch, Brent) (Entered: 03/2512013)
   04/2412013             1109      MEMORANDUM DECISION AND ORDER denying 1095 Motion to Reopen Case;
https:llecf.utd.uscourts.gov/cgi-binlDktRpt.pl?153746270523261-L_1_1-1                                                              951103
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                                    denying 1108 Motion for Hearing. Signed by Judge David Nuffer on 4/22/13 (alt)
                                    (Entered: 04/24/2013)
   05/0712013             1110      MOTION for Reconsideration ofthe Court's Order Denying Motion to Reopen the Case
                                    re 1109 Order on Motion to Reopen Case, Order on Motion for Hearing, Memorandum
                                    Decision and Memorandum in Support filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # .3. Exhibit C)
                                    (Hatch, Brent) (Entered: 05/07/2013)
   05/24/2013             1111      RESPONSE to Motion re 1110 MOTION for Reconsideration of the Court's Order
                                    Denying Motion to Reopen the Case re 1109 Order on Motion to Reopen Case, Order
                                    on Motion for Hearing, Memorandum Decision filed by Defendant International
                                    Business Machines Corporation, Counter Claimant International Business Machines
                                    Corporation. (Attachments: # 1 Exhibit A - IBM's Memorandum Responding to SCO's
                                    Request to Reopen)(Sorenson, Amy) (Entered: 05/24/2013)
   0611012013             1112      RE-FILED AS 1114 REPLY - REPbY fa R::espaftse fa Mafiaft re 1118 M8H8!'t fflr
                                    R::eeaftsiaerffiiaft at: the Gattft's 8raer BeflYiftg Mafiaft fa R::eapeft the Gase re 1189
                                    8raer aft Mafiaft fa R-eapeft Gase, 8raer aft Maftaft far I1ea:ffftg, Meffiaffifl:atlffi Beeisiaft
                                    file a b~y PiaimiifSG8 Gffitlp. (I1ffieh, Breftf) Modified on 611012013 by adding error
                                    text per call from counsel. They will re-file the correct reply (jlw). Modified on
                                    6/12/2013 (alt) (Entered: 06/10/2013)
   06/1012013             1113      Modification of Docket: Please disregard document 1112 . The correct document will be
                                    filed. (jlw) (Entered: 06/1012013)
   06/1012013             1114 REPLY to Response to Motion re 1110 MOTION for Reconsideration of the Court's
                               Order Denying Motion to Reopen the Case re 1109 Order on Motion to Reopen Case,
                               Order on Motion for Hearing, Memorandum Decision filed by Plaintiff SCO Group.
                               (Hatch, Brent) (Entered: 0611 0120 13)
   06/1412013             1115      ORDER granting 1110 Motion to Reconsider 1109 the court's order denying the 1095
                                    motion to reopen this case. The motion to reconsider is granted, the motion to reopen is
                                    granted and the parties are directed to make submissions as stated in the order.
                                    (DN) (Entered: 06/14/2013)
   0611712013             1116 NOTICE of Appearance by Amber M. Mettler on behalf ofInternational Business
                               Machines Corporation (Mettler, Amber) (Entered: 06117/2013)
   06/2112013             1117      MOTION for Admission Pro Hac Vice of Owen J.M. Roth, Registration fee $ 15,
                                    receipt number 1088-1856314, filed by Defendant International Business Machines
                                    Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Exhibit A - Application for Admission Pro Hac Vice, # 2 Exhibit B -
                                    Electronic Case Filing Form, #.3. Text of Proposed Order)(Mettler, Amber) (Entered:
                                    0612112013)

   06124/2013             1118      DOCKET TEXT ORDER granting 1117 Motion for Admission Pro Hac Vice of Owen
                                    J.M. Roth for International Business Machines Corporation.
                                    Attorneys admitted Pro Hac Vice may download a copy of the District ofUtahs local
                                    rules from the courts web site at http://www.utd.uscourts.gov
                                    So ordered by Judge David Nuffer on 6/24/13 (docket text only - no attached document)
                                    (alt) (Entered: 06124/2013)
   06124/2013             1119 NOTICE OF FILING of The SCO Group, Inc.'s Statement in Compliance with the
                               Court's Order Reopening the Case re 1115 Order on Motion for Miscellaneous Relief,
                               filed by Plaintiff SCO Group. (Attachments: # 1 Exhibit A - Proposed Judgment
                               Dismissing SCO's Claims Mooted by the Final Judgment in SCO v. Novell)(Hatch,

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                                    Brent) (Entered: 06/24/2013)
   06/28/2013             1120 RESPONSE re 1119 Notice of Filing" filed by International Business Machines
                               Corporation. (Attachments: # 1 Exhibit A - Proposed Judgment (Clean), # 2. Exhibit B -
                               Proposed Judgment (Blackline), #.3. Exhibit C - Delaware Dkt. No. 1291, #:l Exhibit D
                               - Delaware Dkt. No. 1439)(Sorenson, Amy) (Entered: 06/28/2013)
   07/0112013             1121      DOCKET TEXT ORDER re 1120 Response (NOT to motion), filed by International
                                    Business Machines Corporation No attached document. SCO is directed to file a
                                    response to IBM's Objections to seo's Proposed Partial Judgment by Monday July 8,
                                    2013 at 5:00 p.m. Signed by Judge David Nuffer on 7/1/13. (mb) (Entered: 07/0112013)
   07/08/2013             1122 RESPONSE re 1120 Response (NOT to motion)"re IBM's Objections to seo's
                               Proposed Partial Judgment filed by SCO Group. (Attachments: # 1 Exhibit A - Updated
                               Judgment Form, # 2. Exhibit B - Updated Judgment Form (Blackline Version))(Hatch,
                               Brent) (Entered: 07/08/2013)
   07110/2013             1123      PARTIAL JUDGMENT dismissing certain claims with prejudice. Signed by Judge
                                    David Nuffer on 7110113 (alt) (Entered: 07/1012013)
   0711112013             1124      Stipulated MOTION for Extension of Time For DefendantiCounterc1aim-PlaintiffIBM
                                    to File a Motion for Summary Judgment filed by Defendant International Business
                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (Attachments: # 1 Text of Proposed Order)(Sorenson, Amy) (Entered: 07/11/2013)
   07112/2013             1125      ORDER granting 1124 Motion for Extension of Time: IBM shall have until 7/22/13 to
                                    file a motion for summary judgment. Signed by Judge David Nuffer on 7/12/13 (alt)
                                    (Entered: 07112/2013)
   07/22/2013             1126 MOTION for Partial Summary Judgment and Memorandum in Support filed by
                               Defendant International Business Machines Corporation, Counter Claimant
                               International Business Machines Corporation. (Sorenson, Amy) (Entered: 0712212013)

   07/22/2013             1127 AFFIDAVITIDECLARATION of Amy F. Sorenson in Support re 1126 MOTION for
                               Partial Summary Judgment and Memorandum in Support filed by Defendant
                               International Business Machines Corporation, Counter Claimant International Business
                               Machines Corporation. (Sorenson, Amy) (Entered: 07/2212013)
   08/20/2013             1128      Stipulated MOTION for Extension of Time to File Response/Reply as to 1126
                                    MOTION for Partial Summary Judgment filed by Plaintiff SCO Group, Counter
                                    Defendant SCO Group. (Attachments: # 1 Text of Proposed Order)(Hatch, Brent)
                                    (Entered: 08/20/2013)
   08/21/2013             1129      ORDER granting 1128 Motion for Extension of Time to File ResponselReply re 1126
                                    MOTION for Partial Summary Judgment: Response due by 8/29/2013. Signed by Judge
                                    David Nuffer on 8/21/13 (alt) (Entered: 0812112013)
   08/29/2013             1130 MEMORANDUM in Opposition re 1126 MOTION for Partial Summary Judgment filed
                               by Plaintiff SCO Group. (Hatch, Brent) (Entered: 08/29/2013)
   0911612013             1131      REPLY to Response to Motion re 1126 MOTION for Partial Summary Judgment filed
                                    by Defendant International Business Machines Corporation. (Attachments: # 1 Text of
                                    Proposed Order Granting IBMs Motion for Partial Summary Judgment on the Basis of
                                    the Novell Judgment)(Sorenson, Amy) (Entered: 09/16/2013)
   12115/2014             1132 MEMORANDUM DECISION AND ORDER granting in part and denying in part 1126
                               Motion for Partial Summary Judgment. Signed by Judge David Nuffer on 12115114 (alt)
                               (Entered: 12/15/2014)

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   03/02/2015             1133      DOCKET TEXT ORDER No attached document. Court orders the parties file a joint
                                    status report by Noon, Friday, March 13,2015. Signed by Judge David Nuffer on
                                    3/2/2015. (asb) (Entered: 03/0212015)
   03/1312015             1134      STATUS REPORT (Joint) by SCO Group, SCO Group. (Hatch, Brent) (Entered:
                                    03/13/2015)
   04/13/2015             1135      NOTICE OF HEARING:

                                    Status Conference set for Thursday, 6111/2015 at 02:30 PM in Rm 3.100 before Judge
                                    David Nuffer. (asb) (Entered: 04/13/2015)
   04115/2015             1136 DOCKET TEXT ORDER No attached document
                               In their 1134 joint status report, the parties requested the opportunity to apprise the court
                               of relevant case law decided since the pending motions were filed. The movant may file
                               no more than five pages of additional authority on each of its pending motions on or
                               before May 22, 2015, and the non-movant may respond (in no more than five pages as
                               to each motion) on or before June 5, 2015.
                               According to 1134 , SCO is the movant in 782 , 783 , and 986 , and IBM is the movant
                               in 775 and 776 .
                               Signed by Judge David Nuffer on 4/15/2015. (mec) (Entered: 04/15/2015)
   05/22/2015             1137 MEMORANDUM in Support re 776 MOTION for Summary Judgment on IBM's
                               Second, Third, Fourth, and Fifth Counterclaims filed by Plaintiff SCO Group, Counter
                               Defendant SCO Group. (Hatch, Brent) (Entered: 05/22/2015)
   05/22/2015             1138      MEMORANDUM in Support re 777 MOTION for Summary Judgment on IBM's Sixth,
                                    Seventh, and Eighth Counterclaims filed by Plaintiff SCO Group, Counter Defendant
                                    SCO Group. (Hatch, Brent) (Entered: 05/22/2015)
   05/22/2015             1139 MEMORANDUM in Support re 986 MOTION FOR RECONSIDERATION BY THE
                               MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF
                               FROM IBMS SPOLIATION OF EVIDENCE filed by Plaintiff SCO Group, Counter
                               Defendant SCO Group. (Hatch, Brent) (Entered: 05/22/2015)
   05/22/2015             1140 MEMORANDUM in Support re 782 MOTION for Summary Judgment on SCQ's
                               Unfair Competition Claim, 783 MOTION for Summary Judgment on SCQ's
                               Inteiference Claims filed by Defendant International Business Machines Corporation,
                               Counter Claimant International Business Machines Corporation. (Sorenson, Amy)
                               (Entered: 05/22/2015)
   05/27/2015             1141      ERRATA to 1137 Memorandum in Support of Motion filed by Plaintiff SCO Group,
                                    Counter Defendant SCO Group Corrected. (Hatch, Brent) (Entered: 05/27/2015)
   05/28/2015             1142 DOCKET TEXT ORDER No attached document
                               1136 Docket Text Order incorrectly listed pending motions as follows: SCO was listed
                               as the movant in 182 , 18.3. , and.2.8.Q , while IBM was listed as the movant in ill and
                               776.
                               The corrected listing of pending motions is as follows: SCO is the movant in 776, 777 ,
                               and 986 ; IBM is the movant in 782 , 783 , and 784 .
                               1136 Docket Text Order granted the parties' request to apprise the court of relevant case
                               law decided since the pending motions were filed. With the corrected addition of 784 to
                               the list of pending motions, IBM may file no more than five pages of additional
                               authority in support of1B1 on or before Wednesday, June 3, 2015, and SCO may
                               respond (in no more than five pages) on or before Monday, June 8, 2015. However, this
                               supplemental briefing on 1B1 is limited to authority not already provided in the
                               supplemental briefing on 777 , also regarding IBM's eighth counterclaim.

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                                    Signed by Judge David Nuffer on 4115/2015. (mec) (Entered: 05/28/2015)
   06/0312015             1143      MEMORANDUM in Support re 784 MOTION for Summary Judgment on IBM's
                                    Eighth Counterclaim filed by Defendant International Business Machines Corporation,
                                    Counter Claimant International Business Machines Corporation. (Sorenson, Amy)
                                    (Entered: 06/03/2015)
   06/05/2015             1144 RESPONSE to Motion re 782 MOTION for Summary Judgment on SCQ's Unfair
                               Competition Claim, 783 MOTION for Summary Judgment on SCQ's Interference
                               Claims filed by PlaintiffSCO Group. (Hatch, Brent) (Entered: 06/05/2015)
   06/05/2015             1145      RESPONSE to Motion re 776 MOTION for Summary Judgment on IBM's Second,
                                    Third, Fourth, and Fifth Counterclaims filed by Defendant International Business
                                    Machines Corporation, Counter Claimant International Business Machines Corporation.
                                    (Sorenson, Amy) (Entered: 06/05/2015)
   06/05/2015             1146 RESPONSE to Motion re 777 MOTION for Summary Judgment on IBM's Sixth,
                               Seventh, and Eighth Counterclaims filed by Defendant International Business Machines
                               Corporation, Counter Claimant International Business Machines Corporation.
                               (Sorenson, Amy) (Entered: 06/05/2015)
   06/05/2015             1147 RESPONSE to Motion re 986 MOTION FOR RECONSIDERATION BY THE
                               MAGISTRATE COURT OF THE ORDER DENYING SCOS MOTION FOR RELIEF
                               FROM IBMS SPOLIATION OF EVIDENCE filed by Defendant International Business
                               Machines Corporation, Counter Claimant International Business Machines Corporation.
                               (Sorenson, Amy) (Entered: 06/05/2015)
   06/08/2015             1148      RESPONSE to Motion re 784 MOTION for Summary Judgment on IBM's Eighth
                                    Counterclaim filed by Plaintiff SCO Group, Counter Defendant SCO Group. (Hatch,
                                    Brent) (Entered: 06/08/2015)
   0611112015             1149 DOCKET TEXT ORDER No attached document
                               The parties shall exchange offers to settle the case by 4: 00 p.m. on 6/2212015. The
                               parties shall file notice by 4:00 p.m on 6/22/2015 (a) of their agreement on the
                               magistrate judge to whom mediation should be referred or (b) that no agreement has
                               been reached. If no agreement is reached, a magistrate judge will be appointed.
                               By 6/22/2015 the parties shall submit to dj.nuffer@ utd.uscourts.gov electronic versions
                               of their slide decks used in (a) the status conference held on 6/1112015 and (b) the 2007
                               oral argument related to motion 782 .
                               Signed by Judge David Nuffer on 6111/2015. (me c) (Entered: 06/11/2015)

   0611112015             1150 Minute Order. Proceedings held before Judge David Nuffer:
                               Counsel present for parties. Mr. Marriott provided a chart of what is currently before the
                               court and the relationships of those items. Court found the motion to reconsider 986
                               moot based on the discussion with counsel that SCO relies on its objection 995. Court
                               instructed counsel that its review of the magistrates ruling underlying the objections 995
                               will be on the existing record and not on any new record.
                               Mr. Singer gave a narrative on the SCO v. Novell case. Mr. Marriott responded. Counsel
                               gave brief educational and factual background summaries on the unresolved claims and
                               motions in this case. Sequence of motions 776, 777 , 782 , 783 , and 784 discussed. 782
                               and 783 will be resolved first. Court suggested that counsel might attempt to reconcile
                               the facts on motions 782 and 783 . Counsel agreed to do so. Counsel were ordered to
                               reconcile facts on the 782 motion within 30 days. Thereafter, the process will be
                               evaluated before proceeding with 783 .
                               Mediation possibilities discussed and with whom it should be held. SCO prefers a
                               magistrate judge to conduct the mediation. IBM prefers parties manage settlement on

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                                    their own, then if ineffective, then involve a mediator as they select. Discussion heard.
                                    Court took the matter under advisement.
                                    Court adjourned.
                                    Status Conference held on 6111/2015, Motion Hearing held on 6/11/2015 re 776
                                    MOTION for Summary Judgment on IBM's Second, Third, Fourth, and Fifth
                                    Counterclaims filed by SCO Group, 782 MOTION for Summary Judgment on SCQ's
                                    Unfair Competition Claim filed by International Business Machines Corporation, 986
                                    MOTION FOR RECONSIDERATION BY THE MAGISTRATE COURT OF THE
                                    ORDER DENYING SCOS MOTION FOR RELIEF FROM IBMS SPOLIATION OF
                                    EVIDENCE filed by SCO Group, 784 MOTION for Summary Judgment on IBM's
                                    Eighth Counterclaim filed by International Business Machines Corporation, 777
                                    MOTION for Summary Judgment on IBM's Sixth, Seventh, and Eighth Counterclaims
                                    filed by SCO Group, 783 MOTION for Summary Judgment on SCQ's Interference
                                    Claims filed by International Business Machines Corporation. Attorney for Plaintiff:
                                    Brent Hatch, Stuart Singer, Edward Normand, Jason Cyrulnik, Attorney for Defendant
                                    David Marriott, Amy Sorenson, Amber Mettler. (asb) (Entered: 06112/2015)
   06116/2015             1151      NOTICE OF FILING OF OFFICIAL TRANSCRIPT of Status Conference held on June
                                    11, 2015, before Judge David Nuffer. Court Reporter/Transcriber Kelly Brown Hicken
                                    CSR, RPR, RMR.

                                    NOTICE RE REDACTION OF TRANSCRIPTS: Within 7 business days of this
                                    filing, each party shall inform the Court, by filing a Notice of Intent to Redact, of
                                    the parties intent to redact personal data identifiers from the electronic transcript
                                    of the court proceeding. To redact additional information a Motion to Redact must
                                    be filed. The policy and forms are located on the court's website at
                                    www.utd.uscourts.gov. Please read this policy carefully. If no Notice of Intent to
                                    Redact is filed within the allotted time, this transcript will be made electronically
                                    available on the date set forth below.

                                    Transcript may be viewed at the court public terminal or purchased through the Court
                                    Reporter/Transcriber before the deadline for Release of Transcript Restriction. After
                                    that date it may be obtained through PACER. Redaction Request due 717/2015.
                                    Redacted Transcript Deadline set for 7/17/2015. Release of Transcript Restriction set for
                                    9114/2015 (alt) Modified on 9/15/2015 by removing restricted text (las). (Entered:
                                    06116/2015)

   06/22/2015             1153      NOTICE of Parties' Agreement on Appointment of Magistrate for Mediation by
                                    International Business Machines Corporation re 1149 Order" (Sorenson, Amy)
                                    (Entered: 06/22/2015)
   06/23/2015             1154 DOCKET TEXT ORDER REFERRING CASE to Magistrate Judge Paul M. Warner
                               under 28:636 (b)(l) for Settlement. So ordered by Judge David Nuffer on 6/23/15
                               (docket text only - no attached document) (alt) (Entered: 06/23/2015)
   07/07/2015             1155      ORDER re Settlement Conference Referral. Signed by Magistrate Judge Paul M.
                                    Warner on 717/15 (alt) (Entered: 07/07/2015)
   07/14/2015             1156 DOCUMENTS LODGED consisting of a letter from IBM's counsel requesting
                               additional time to reconcile facts for 782 Motion. (mec) (Entered: 07/14/2015)
   07114/2015             1157 DOCKET TEXT ORDER taking under advisement 782 Motion for Summary
                               Judgment.
                               On 7113/2015, counsel for IBM submitted 1156 letter regarding the Court's 1150 order
                               to reconcile the facts on 782 IBM's Motion for Summary Judgment. Counsel have failed
                               to reach an agreement on the facts by the original deadline and request an additional
https:/Iecf.utd.uscourts.gov/cgi-binlDktRpt.pI?153746270523261-L_1_1-1                                                           1001103
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                   CERTIFICATE OF DIGITAL SUBMISSION
        The undersigned certifies with respect to this filing that no privacy

  redactions were necessary. This SEALED APPENDIX submitted in digital form

  is an exact copy of the written document filed with the Clerk. The digital

  submission has been scanned for viruses with the most recent version of a

  commercial virus scanning program (using Symantec Antivirus which is updated

  weekly) and, according to the program, is free of viruses.


  Dated: August 31, 2016

                                         /s/ Edward Normand
                                         Edward Normand
                                         Boies, Schiller & Flexner LLP
                                         333 Main Street
                                         Armonk, NY 10504
                                         Telephone: 914-749-8200
                                         Facsimile: 914-749-8300
                                         enormand@bsfllp.com
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                           CERTIFICATE OF SERVICE

         I hereby certify that a true and correct copy of the Sealed Appendix was served
  on this 31st day of August 2016 by the CM/ECF filing system to the following:
  David Marriott
  Evan Chesler
  Cravath, Swaine & Moore
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  echesler@cravath.com

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  15 West South Temple, Suite 1200
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  amettler@swlaw.com
  asorenson@swlaw.com
  asullivan@swlaw.com
  Counsel for Appellee
  On the same day as above, I served 1 copy of the within Sealed Appendix though
  the Overnight Next Day Air Federal Express, postage prepaid, upon

  David Marriott (Counsel of Record)
  Roger G. Brooks
  Thomas G. Rafferty
  Cravath, Swaine & Moore
  825 Eighth Avenue
  New York, NY 10019-7475
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         I also hereby certify that on this day I caused one (1) true and correct copy
  of the Sealed Appendix to be transmitted to the Clerk of this Court by a third-party
  commercial carrier for delivery within two (2) business days.


                                             /s/ Edward Normand
                                             Edward Normand
